      2:17-cr-20037-JES-JEH # 102         Page 1 of 122                                       E-FILED
                                                                  Friday, 24 August, 2018 05:23:11 PM
                                                                          Clerk, U.S. District Court, ILCD

                          UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF ILLINOIS
                                URBANA DIVISION

UNITED STATES OF AMERICA,                 )
                                          )
       Plaintiff,                         )
                                          )
vs.                                       )       Crim. No. 17-20037
                                          )
BRENDT A. CHRISTENSEN,                    )       Hearing Requested
                                          )
       Defendant.                         )

           MOTION TO STRIKE THE NOTICE OF INTENT TO SEEK THE
               DEATH PENALTY ON THE GROUNDS THAT THE
           FEDERAL DEATH PENALTY ACT IS UNCONSTITUTIONAL
                       AS APPLIED TO THIS CASE

       NOW COMES the Defendant, BRENDT A. CHRISTENSEN, by and through his

attorneys, and pursuant to the Fifth, Sixth, and Eighth Amendments to the United

States Constitution, moves this Court for the following relief:

          1. An order striking the Notice of Intent (NOI) to seek a sentence of death,

          because the Supreme Court’s decisions in Ring v. Arizona and Hurst v. Florida

          have rendered the Federal Death Penalty Act of 1994 (“FDPA”)

          unconstitutional as applied to this case;

          2. An order striking the NOI to seek a sentence of death, because even if the

          FDPA can be rendered constitutional by a finding by the grand jury of

          gateway and statutory aggravating factors, the “notice of special findings” in

          the superseding indictment and the notice of the non-statutory aggravating

          factors in the NOI should be stricken, because the government has not
                                              1
       2:17-cr-20037-JES-JEH # 102        Page 2 of 122



          obtained an indictment consistent with the requirements of the Fifth

          Amendment;

       3. An order striking the NOI seeking a sentence of death, because the FDPA

          fails to provide a structure which permits jurors to make a reasoned choice

          between execution and a sentence of life in prison without the possibility of

          release.

       In support thereof, Mr. Christensen submits the following memorandum of law

challenging various aspects of the Federal Death Penalty Act as unconstitutional as

applied in this case.

I.     Procedural History

       On July 12, 2017, Defendant BRENDT A. CHRISTENSEN was charged by

Indictment with one count of kidnapping in violation of 18 U.S.C. § 1201(a)(1). (R. 13) A

Superseding Indictment was filed on October 3, 2017, alleging one count of kidnapping

resulting in death in violation of 18 U.S.C. § 1201(a)(1) and two counts of false

statements in violation of 18 U.S.C. § 1001(a)(2). The Superseding Indictment also

contained a Notice of Special Findings listing four gateway intent factors under 18

U.S.C. § 3591(a)(2) and three statutory aggravating factors under 18 U.S.C. § 3592(c):

that Y.Z.’s death occurred during the commission of a kidnapping (Section 3592(c)(1));

that the defendant committed the offense in an especially heinous, cruel or depraved

manner (Section 3592(c)(6)); and that the defendant committed the offense after

substantial planning and premeditation (Section 3592(c)(9)). (R. 26)

                                             2
       2:17-cr-20037-JES-JEH # 102         Page 3 of 122



       Count 1 of the Superseding Indictment was a death-eligible charge, and on

January 19, 2018, the government filed its Notice of Intent to seek the death penalty

(NOI). (R. 54) The NOI re-alleged the four intent factors as well as the three statutory

aggravating factors contained in the Superseding Indictment, and added six non-

statutory aggravating factors: victim impact evidence, future dangerousness, lack of

remorse, other serious acts of violence, vulnerable victim, and obstruction of justice. (R.

54)

II.    Argument

                                        POINT ONE

 THE SUPREME COURT’S RING AND HURST DECISIONS HAVE RENDERED THE
  FEDERAL DEATH PENALTY ACT UNCONSTITUTIONAL, AND THE ACT MAY
   NOT BE SAVED BY A JUDICIAL “CONSTRUCTION” THAT CREATES A NEW
  CRIMINAL OFFENSE WHOSE ELEMENTS AND INTERTWINED PROCEDURES
HAVE NEITHER BEEN CONSIDERED, NOR ENACTED INTO LAW, BY CONGRESS.

       A. Introduction and Summary of Argument

       In enacting the FDPA in 1994, and the predecessor ADDA scheme in 1988,

Congress granted exclusive statutory authority to allege aggravating factors to the

prosecutor. If that aspect of the FDPA is not operative, the statute lacks any

congressionally-approved method of alleging aggravating factors. But that is exactly the

case. In the wake of Ring v. Arizona, 536 U.S. 584 (2002), the FDPA lacks any legislatively-

selected method of initiating a capital prosecution. While the Constitution requires that

the elements of capital murder be presented to a grand jury and charged in an

indictment, Congress, in passing the FDPA, chose another route. And it is up to Congress

                                              3
        2:17-cr-20037-JES-JEH # 102               Page 4 of 122



to make the necessary corrections. Thus, the Federal Death Penalty is presently

unconstitutional and this court should resist and reject the government’s efforts to

invent a “Ring fix.”

        It is fundamental to our system of government that “[i]t is the legislature which

is to define a crime and ordain its punishment.” United States v. Wiltberger, 18 U.S. 76, 93

(1820) (Marshall, C.J.). In Ring v. Arizona, 536 U.S. 584 (2002), the Court heldthat, with

respect to the framework of Arizona’s death penalty statute, the “enumerated aggravating

factors operate as ‘the functional equivalent of an element of a greater offense’. . . .” , 536

U.S. at 585(quoting Apprendi v. New Jersey, 530 U.S. 466, 494 n.19 (2000)).1 That holding,

coupled with the Court’s earlier holding in Jones v. United States, 526 U.S. 227, 251-52

(1999), that all elements of a federal offense “must be charged in the indictment,

submitted to a jury, and proven by the Government beyond a reasonable doubt[,]”2

see also Harris v. United States, 536 U.S. 545 (2002) (“those facts setting the outer limits of

a sentence and of the judicial power to impose it are elements of the crime for

constitutional analysis”), in effect rendered the FDPA unconstitutional because under


1
  The FDPA and Arizona capital schemes are similar in that each establishes death as a possible sentence
in the statute defining the offense, and then sets forth the further fact-finding and procedural steps
necessary to establish a particular defendant’s – and the set of relevant facts’ – eligibility for a capital
sentence. As in the Arizona system addressed and invalidated in Ring, under the FDPA the fact that a jury
returns a guilty verdict in a case of capital murder does not, without more, allow for imposition of a death
sentence. It is the further fact-finding, and intertwined procedures, that determine, in the post-Ring era,
that constitute the new elements of “federal capital murder,” a crime that presently exists only by judicial
fiat.
2
  Ring did not discuss the grand jury issue because the case arose in the context of a state statute to which
the Fifth Amendment’s Indictment Clause does not apply. See Hurtado v. California, 110 U.S. 516
(1884).

                                                      4
        2:17-cr-20037-JES-JEH # 102              Page 5 of 122



Ring the statute’s aggravating factors, like the factors at issue in the Arizona statute, are

necessary for a death sentence, are elements of the capital offense, and must be charged

in the indictment and proved to a jury beyond a reasonable doubt. Under the FDPA,

and for the purposes of this discussion only, the “elements” of capital murder are at

least3 murder + intent + one or more statutory aggravating factors.

        The FDPA, of course, nowhere provides for presentation of aggravating factors

to a grand jury. But neither is the statute silent on the issue of how such factors are to be

alleged. On that score, the FDPA explicitly reserves the selection and notice of

aggravating factors to the exclusive discretion of the prosecutor. This Court must not

allow the government to re-write the FDPA to its own liking. Instead, the FDPA must be

declared unconstitutional pending further congressional action.

        In a closely analogous circumstance, the Supreme Court, in United States v.

Jackson, 390 U.S. 570 (1968), condemned the very practice now at issue, i.e., where a

district court was asked to engage in the judicial amendment of a capital statute in order

to preserve its constitutionality. In that case, the court declined to do so. As a result, the

Supreme Court’s admonition in Jackson is equally powerful and appropriate here:



3
 Elsewhere in this Motion, counsel argue that the elements of capital murder include decisions reached
by the jury right up to and including the point where it makes a fact-finding that the aggravating
circumstances outweigh the mitigating circumstances. In truth, the final “selection” or ultimate sentencing
decision is not made until the jury reaches the final decision-point of determining, factually, “whether all
the aggravating factors found to exist sufficiently outweigh all the mitigating factors found to exist to
justify a sentence of death.” 18 U.S.C. § 3593(e) (emphasis added). A simple “outweighing” is
insufficient. Obviously, there are enormous practical difficulties in devising a system where a grand jury
can consider and weigh both aggravating and mitigating factors. That is precisely why the legislature
needs to amend this statute, not the courts or the Department of Justice.
                                                     5
     2:17-cr-20037-JES-JEH # 102        Page 6 of 122




              It is unnecessary to decide here whether this conclusion
              [the Government’s proposed “fix” of the death-penalty
              aspects of the federal kidnapping statute] would follow
              from the statutory scheme the Government envisions, for it
              is not the scheme that Congress enacted.

390 U.S. at 573.

      The principles which flow logically and inexorably to the conclusion that the

FDPA cannot survive Ring and Hurst will be presented below in the following order:


      (1)    in Ring and related cases such as Jones, Harris, and Hurst, the Supreme
             Court held that aggravating factors necessary to a capital verdict are
             essential elements of the capital offense, and must be pleaded in the
             indictment and proved to a jury beyond a reasonable doubt;

      (2)    the FDPA does not provide for presentation of aggravating factors to a
             grand jury (and thereby inclusion of them in an indictment), but instead
             vests authority to identify aggravating factors exclusively with the
             prosecutor;

      (3)    the FDPA cannot be amended by the prosecutor or the courts to permit
             presentation of aggravating factors to a grand jury because, as the
             Supreme Court held in Jackson, and consistent with centuries of
             constitutional jurisprudence and statutory construction, it is for the
             legislature, not the courts or the prosecutor, to define crimes and
             punishment and the contours of a statute, and the presentation of
             aggravating factors to a grand jury is contrary to the unambiguous intent
             of Congress as expressed in the FDPA; and

      (4)    contrary decisions from courts of appeals have been wrongly decided
             because they have failed either to (a) address Jackson and the fundamental
             separation of powers principles incorporated therein; and/or (b)
             acknowledge, much less reconcile, the explicit allocation of authority to
             the prosecutor to determine the propriety of aggravating factors. Nor do
             severability analysis or the post-Apprendi drug cases, or the principle of
             “constitutional avoidance” save the FDPA; indeed, those doctrines and the

                                           6
       2:17-cr-20037-JES-JEH # 102          Page 7 of 122



              cases, as well as post-Ring Supreme Court cases, including United States v.
              Booker, 543 U.S. 220 (2005), and Blakely v. Washington, U.S. 542 U.S. 296
              (2004), establish that a judicially imposed solution cannot redefine or
              reconfigure a federal criminal statute to do what Congress has not
              intended.

       B.      Aggravating factors necessary to a capital verdict are essential elements
               of the capital offense and must be pleaded in the indictment and
               proved to a jury beyond a reasonable doubt.

       In Ring, in which the Supreme Court overruled Walton v. Arizona, 497 U.S. 639 (1990),

and in subsequent cases, the Court established beyond dispute that aggravating factors

necessary to imposition of the death penalty under the FDPA must be charged in the

indictment, and proved to the satisfaction of a jury beyond a reasonable doubt. As noted

earlier, the Supreme Court explained in both Ring and Harris that facts which increase

the maximum penalty faced by the defendant create new, different, and “greater

offense[s].” In Harris, 536 U.S. at 555-566, the Court noted repeatedly that any “fact”

which increases the maximum possible penalty beyond that authorized by the findings

implicit in the jury’s verdict of guilt is an element of an offense:

              [r]ead together, McMillan [v. Pennsylvania, 477 U.S. 79 (1986)]
              and Apprendi mean that those facts setting the outer limits of
              a sentence and of the judicial power to impose it are
              elements of the crime for constitutional analysis.

 536 U.S. at 567. Concurring in Ring, Justice Scalia famously observed:

              [All] facts essential to imposition of the level of punishment
              that the defendant receives – whether the statute calls them
              elements of the offense, sentencing factors, or Mary Jane –
              must be found by the jury beyond a reasonable doubt.

Ring, 436 U.S. at 610 (Scalia, J., concurring.)

                                                  7
       2:17-cr-20037-JES-JEH # 102           Page 8 of 122




       Similarly, in Apprendi, the Court had observed that, “[t]he judge’s role in

sentencing is constrained at its outer limits by the facts alleged in the indictment and

found by the jury. Put simply, facts that expose a defendant to a punishment greater than

that otherwise legally prescribed [are] by definition ‘elements’ of a separate legal

offense.” 530 U.S. at 483, n. 10. See also Harris, 536 U.S. at 560 (stating that the principle

“by which history determined what facts were elements . . . defined elements as ‘fact[s]

legally essential to the punishment to be inflicted’”) (quoting United States v. Reese, 92

U.S. 214, 232 (1876) (Clifford, J., dissenting)).

       In Jones, the Court had presaged what has since occurred by holding that all

elements of a federal offense “must be charged in the indictment, submitted to a jury, and

proven by the Government beyond a reasonable doubt.” 526 U.S. at 227. See also United

States v. Cotton, 535 U.S. 625 (2002) (in federal prosecutions, any fact increasing the

maximum punishment “must also be charged in the indictment”).

       Thus, Ring and Harris have established beyond dispute that the facts alleged in

the “Special Findings” section of the superseding indictment and the statutory and non-

statutory aggravating factors alleged in the NOI in this case constitute elements of an

offense, because they “are facts that expose [this] defendant to a punishment greater

than that otherwise legally prescribed . . . ,” i.e., the death penalty. That conclusion is

further confirmed by the Supreme Court’s subsequent decisions in Blakely and Booker, in

which first state and then federal sentencing guidelines factors, respectively, were held


                                                8
       2:17-cr-20037-JES-JEH # 102        Page 9 of 122



to constitute the functional equivalent of elements that required proof to a jury beyond

a reasonable doubt. 542 U.S. at 303; 543 U.S. at 244.

       Capital cases since Ring have continued in the same vein. For example, in

Sattazahn v. Pennsylvania, 537 U.S. 101 (2003), in which the Court considered whether

double jeopardy was a bar to the second prosecution of a capital case when the

Commonwealth of Pennsylvania again sought (and received) a sentence of death after a

divided jury at the first trial had spared the defendant’s life and the defendant then

succeeded in having the underlying conviction set aside on appeal, with the Court

ruling 5-4 that double jeopardy did not bar a second opportunity to seek a death

sentence, Justice Scalia – joined by the Chief Justice and Justice Thomas – discussed the

implications of the Court’s decision in Ring:

              [i]n Ring v. Arizona, 536 U.S. 584 (2002), we held that
              aggravating circumstances that make a defendant eligible for
              the death penalty “operate as ‘the functional equivalent of an
              element of a greater offense.’” Id. at [609] (emphasis added).
              That is to say, for purposes of the Sixth Amendment’s jury-
              trial guarantee, the underlying offense of “murder” is a
              distinct, lesser included offense of “murder plus one or more
              aggravating circumstances”: Whereas the former exposes a
              defendant to a maximum penalty of life imprisonment, the
              latter increases the maximum permissible sentence to death.

537 U.S. at 111.

       The three justices who joined that portion (Part III) of the main opinion

concluded that there could be no principled reason to distinguish between what

constitutes an offense for purposes of the Sixth Amendment and an “offence” for


                                             9
      2:17-cr-20037-JES-JEH # 102         Page 10 of 122



purposes of the Double Jeopardy Clause of the Fifth Amendment. Id.

       Yet even the four dissenting justices agreed with Justice Scalia’s proposition

with respect to capital murder constituting a greater offense based on the additional

elements – the aggravating factors – needed to prove that offense:

              [t]his Court has determined . . . that for the purposes of the
              Double Jeopardy Clause, capital sentencing proceedings
              involving proof of one or more aggravating factors are to be
              treated as trials of separate offenses, not mere sentencing
              proceedings. See, ante, at [537 U.S. at 736-738, 739-740]; Ring v.
              Arizona, 536 U.S. 584 (2002); Bullington v. Missouri, 451 U.S. 430
              (1981).

537 U.S. at 126 n. 6 (emphasis in original) (Ginsburg, J., dissenting).

       Thus, at least seven justices agreed that, under the principles set forth in Ring,

capital sentencing schemes that employ aggravating factors create, from a constitutional

perspective, new offenses, greater than ordinary willful homicide, that are

distinguished by the additional elements those aggravating factors represent. Pursuant

to Jones and Cotton, when those greater offenses are prosecuted under federal law in

federal court, it is beyond question that they must not only be proved to a jury beyond a

reasonable doubt, but that they must first be presented to a grand jury and included

within the indictment.

       And finally, in the Supreme Court’s most recent decision in Hurst v. Florida, ___

U.S.___, 136 S. Ct. 616 (2016), the Court held that, under Apprendi, 530 U.S. at 466, and

Ring, 536 U.S. at 584, sentencing procedures that Florida had used for more than forty

years violated the Sixth Amendment right to jury trial. Hurst has already led one

                                             10
      2:17-cr-20037-JES-JEH # 102        Page 11 of 122



jurisdiction to reexamine and alter its sentencing procedures in capital cases. The

Delaware Supreme Court, which had previously held that “Ring does not extend to the

weighing phase” of capital sentencing, Brice v. State, 815 A. 2d 314, 322 (Del. 2003), now

has held, relying on Hurst v. Florida, that the “weighing” of aggravating factors against

mitigating factors is a factual determination that only the jury, and not the judge, could

determine, and that determination must be unanimous and found by proof beyond a

reasonable doubt. See Rauf v. State of Delaware, 145 A.3d 430 (Del. 2016) (emphasis

added), attached as Exhibit 1.

       Significantly, in Hurst, Justice Sotomayor spoke for seven Justices in

characterizing the weighing required by Florida law as a finding of fact, which warrants

considering again the proper treatment under the Constitution of the weighing required

by the FDPA. In light of Hurst, there is no sound basis to treat that weighing as outside

the scope of the Apprendi doctrine.

       Further, in Hurst, the Supreme Court reversed a death sentence under Florida’s

sentencing scheme and declared that scheme unconstitutional. Under pre-Hurst Florida

law, after an evidentiary hearing, a jury made a “recommendation” of life or death. But

the judge was still required to hold a separate hearing and determine “whether

sufficient aggravating circumstances existed to justify imposing the death penalty” – the

jury’s recommended sentence was merely “advisory.” This, the Supreme Court held, is

forbidden, because “[t]he Sixth Amendment requires a jury, not a judge, to find each

fact necessary to impose a sentence of death.” 136 S. Ct. at 619-21 (emphasis added):

                                            11
      2:17-cr-20037-JES-JEH # 102           Page 12 of 122



              Florida concedes that Ring required a jury to find every fact
              necessary to render Hurst eligible for the death penalty. . . .
              [Yet t]he State fails to appreciate the central and singular role
              the judge plays under Florida law. . . . [T]he Florida
              sentencing statute does not make a defendant eligible for
              death until “findings by the court that such person shall be
              punished by death.” Fla. Stat. § 775.082(1) (emphasis added).
              The trial court alone must find “the facts ... [t]hat sufficient
              aggravating circumstances exist” and “[t]hat there are
              insufficient mitigating circumstances to outweigh the
              aggravating circumstances.” § 921.141(3); see Steele, 921
              So.2d, at 546. . . . The State cannot now treat the advisory
              recommendation by the jury as the necessary factual
              finding that Ring requires.

Id. at 622 (emphasis added). This demonstrates that the Court viewed the trial judge’s

weighing determination as a finding of a fact for purposes of Apprendi. The Fifth and

Sixth Amendments require that such finding be made beyond a reasonable doubt. See

Alleyne v. United States, -- U.S. --, 133 S. Ct. 2151, 2158 (2013); Ring, 536 U.S. at 610

(Scalia, J., concurring) (“[A]ll facts essential to imposition of the level of punishment

that the defendant receives – whether the statute calls them elements of the offense,

sentencing factors, or Mary Jane – must be found by the jury beyond a reasonable

doubt.”).

       Certainly the structure of the FDPA conforms with that conclusion. As with the

Arizona scheme at issue in Ring, and the Florida scheme at issue in Hurst, a jury’s

verdict finding a federal defendant guilty of murder cannot support a sentence of death

without additional fact-finding. For example, although a guilty verdict in a case of a

federal prison murder carries with it an authorized potential death sentence, such a


                                               12
      2:17-cr-20037-JES-JEH # 102          Page 13 of 122



defendant is not actually exposed to a death sentence unless and until the jury (or the

judge, where a jury has been waived) makes determinations, unanimously and beyond

a reasonable doubt, that the crime was committed with one of the four “intent” factors

listed at 18 U.S.C. § 3591(a)(2)(A-D) and that there is present in the case at least one of

the 16 statutory aggravating factors set forth at 18 U.S.C. § 3592(c)(1-16). In addition,

arguably, a defendant may not be sentenced to death unless it is also established that

the attorney for the Government believes that executing the defendant is justified, 18

U.S.C. § 3593(a), that the defendant was not less than 18-years old at the time of the

offense, 18 U.S.C. § 3591(a), and that he is not mentally-retarded, Atkins v. Virginia, 536

U.S. 304 (2002). It is also argued in this Motion, at Point Three, infra, that the ultimate

decision on whether aggravating factors substantially outweigh mitigating factors is

itself an element of capital murder.

       It thus follows that the aggravating factors the government has alleged in the

superseding indictment and in the NOI are viewed by the government, and for

purposes of statutory and constitutional analysis, as elements of a greater offense that

require the proof of those elements before a death sentence can be imposed.

       C. The FDPA does not provide for presentation of aggravating factors to a
          grand jury (and thereby including them in an indictment), but instead vests
          exclusive authority to identify aggravating factors exclusively with the
          prosecutor.

       With respect to federal capital offenses prosecuted in federal court, Ring and the

Fifth Amendment’s indictment clause require that aggravating factors necessary to a


                                              13
       2:17-cr-20037-JES-JEH # 102              Page 14 of 122



death sentence be presented to a grand jury and included in the indictment.4 The FDPA

neither contemplates affording, nor permits, the grand jury any role in determining

which aggravating factors are to be alleged in a federal capital prosecution. Pursuant to

the FDPA scheme chosen by Congress, a sentence of death may not be sought unless, as

set forth in the statute itself, “the attorney for the Government believes that the

circumstances of the offense are such that a sentence of death is justified.” 18 U.S.C. §

3593(a). If the “attorney for the government” believes death is warranted, the next step

in the legislatively-selected process is for that attorney to serve and file a notice, signed

by the attorney for the Government, stating, inter alia, that “the Government believes

that the circumstances of the offense are such that, if the defendant is convicted, a

sentence of death is justified . . . and that the Government will seek a sentence of death.”

18 U.S.C. § 3593(a)(1).

        Although not in and of themselves aggravating factors, the pre-Ring FDPA also

required proof – and allegation in the notice by government attorneys – of one or more

of four “gateway” state-of-mind factors. 18 U.S.C. § 3591(2). The notice, in addition, is

required to set forth the aggravating factors– statutory and non-statutory – the

government proposes to prove if the defendant is convicted which may include victim-

impact evidence. 18 U.S.C. § 3593(a). The ADAA scheme was similar. See 21 U.S.C. §



4
 The Fifth Amendment provides in pertinent part that “[n]o person shall be held to answer for a capital,
or otherwise infamous crime, unless on presentment or indictment of a Grand Jury[,]” including those
accused of felony offenses. See Stirone v. United States, 361 U.S. 212, 215 (1960) (“[t]he crime charged
here is a felony and the Fifth Amendment requires that prosecution be begun by indictment”).

                                                   14
      2:17-cr-20037-JES-JEH # 102        Page 15 of 122



848(h) (Repealed). Consequently, the unambiguous language of the FDPA statutes

themselves establishes that Congress, rightly or wrongly, elected to enact a scheme

where the decision to set the machinery of death in motion would be reserved to the

government’s attorneys and no one else, not grand juries, not the court, and not any

other individual or entity. Nonetheless, the government seeks to establish in this case a

substitute method for introducing aggravating factors now that Ring has rendered the

exclusive statutorily prescribed mechanism selected by Congress constitutionally

invalid. Fidelity to the fundamental principle of separation of powers, embedded

deeply in the constitutional form of government our nation has adopted, and detailed

below, is even more important when applied to the government’s efforts to execute one

of its citizens, thereby imposing “the most irremediable and unfathomable of penalties.”

Ford, supra, 477 U.S. at 411.

       D. Jackson and the Separation of Powers Doctrine demonstrate that the FDPA
          cannot be amended by the prosecutor or the courts to permit presentation
          of aggravating factors to a grand jury because it is for the legislature to
          define crimes and punishment, and presentation of aggravating factors to a
          grand jury is contrary to the unambiguous intent of Congress as expressed
          in the FDPA.

       As noted, this is not an instance in which congressional silence permits flexibility

in rescuing an otherwise unconstitutional statute from invalidation. Indeed, given the

express and unambiguous language and structure of the FDPA, if, prior to Ring, a

defendant had argued that the aggravating factors could not be applied unless they

were presented to and charged by a grand jury in the indictment, the government’s

response undoubtedly, and correctly, would have been that the statute does not ascribe
                                            15
      2:17-cr-20037-JES-JEH # 102          Page 16 of 122



any such role to the grand jury, and that the statute plainly reserves that authority

solely to the prosecutor.

           1.     Congress, not the courts or prosecutors, is vested with legislative
                  authority to define federal criminal offenses and the punishment for
                  such conduct.

       That view, of course, conforms with centuries of federal criminal jurisprudence.

Since at least as early as United States v. Hudson, 11 U.S. 32 (1812) (Marshall, C.J.), it has

been clear that the Constitution affords Congress the sole power to define and create all

offenses against the United States, and the punishment therefor. See also United States v.

Worrall, 2 U.S. (2 Dall.) 384, 393-4 (1798); United States v. Wiltberger, 18 U.S. 76, 93 (1820),

(“[i]t is the legislature, not the court, which is to define a crime and ordain its

punishment”); Hudson, 11 U.S. at 34 (“[t]he legislative authority of the Union must first

make an act a crime, fix a punishment to it, and declare the Court that shall have

jurisdiction of the offense” and “[t]he power of punishment is vested in the legislative,

not in the judicial department”). See also Bousley v. United States, 523 U.S. 614, 620-21 (1998)

(“under our federal system it is only Congress, and not the courts, which can make

conduct criminal”); Staples v. United States, 511 U.S. 600, 604 (1994) (“[t]he definition of

the elements of a criminal offense is entrusted to the legislature, particularly in the case

of federal crimes which are solely creatures of statute”) (citation omitted).

       As a result, “[o]ne may be subjected to punishment for crime in the federal courts

only for the commission or omission of an act defined by statute, or by regulation

having legislative authority, and then only if punishment is authorized by Congress.”
                                              16
      2:17-cr-20037-JES-JEH # 102           Page 17 of 122



Viereck v. United States, 318 U.S. 236, 241 (1943) (citations omitted). See also United States

v. Lanier, 520 U.S. 259, 267-68 n.6 (1997) (“[f]ederal crimes are defined by Congress, not

the courts, . . . .”); Logan v. United States, 144 U.S. 263, 283 (1982) (“[a]lthough the

constitution contains no grant, general or specific, to congress of the power to provide

for the punishment of crimes, [with certain exceptions] . . . no one doubts the power of

congress to provide for the punishment of all crimes and offenses against the United

States”). Applying these principles in Bouie v. City of Columbia, 387 U.S. 347 (1964), in

which the state courts of South Carolina, in an obvious effort to prosecute civil rights

protesters, had construed an existing statute in a manner that created a new crime, the

Supreme Court intervened and set aside the statute, as interpreted, as contrary to

Wiltberger. See also Crandon v. United States, 494 U.S. 152, 158 (1990) (“legislatures, not

courts, define criminal liability”).

           2.     Jackson provides a direct and “all fours” analogy to the circumstances
                  present herein, and compels invalidation of the FDPA.

       It is in that context that the Supreme Court’s decision in United States v. Jackson,

390 U.S. 570 (1968), provides precedent directly and specifically applicable to capital

statutes, and to improper attempts to cure them by judicial fiat rather than by legislative

action. As stated earlier, this is not the first time that the government has attempted to

enlist the judiciary in an effort to rescue, through ersatz construction, a constitutionally

flawed federal death penalty.




                                               17
       2:17-cr-20037-JES-JEH # 102               Page 18 of 122



        In Jackson, the Court held that when a particular federal sentencing statute is

unconstitutional, a court lacks authority to devise its own procedure, unauthorized by

statute or rule, simply because the procedure, if properly enacted by Congress, would

pass constitutional muster. In Jackson, the Court considered the federal kidnapping

statute, which contained a mandatory death penalty when a jury recommended it –

thereby making the death penalty possible only for those defendants who exercised

their right to trial by jury.

        In an effort to salvage the death penalty provision, the government proposed a

number of alternative “constructions” of the statute and cited ad hoc procedures

developed by other district courts as “cures” for the constitutional problems. However,

the Court, after finding the statute unconstitutional rejected the government’s proposed

remedy of directing the trial court to convene a special penalty phase jury after a guilty

plea, as well as every other approach proposed by the government because those

proposals represented judicial, rather than legislative action. Id. at 572–81.5

        In analyzing and explicating the limits of judicial authority to construe

legislation, even when such construction would “save” the legislation from a

declaration of unconstitutionality, the Jackson Court pointed out that the kidnapping



5
 For example, the government proposed a “construction” of the statute under which “even if the trial
judge accepts a guilty plea or approves a jury waiver, the judge remains free . . . to convene a special jury
for the limited purpose of deciding whether to recommend the death penalty.” Id. at 572. The Government
also suggested that the court might save the statute by reading it to make imposition of the death penalty
discretionary on the part of the sentencing judge. Id. at 575. The Court rejected these proposed
reconstructions and adhered, instead, to the plain language of the statute as the best evidence of Congress’
intent.
                                                     18
      2:17-cr-20037-JES-JEH # 102         Page 19 of 122



statute “sets forth no procedure for imposing the death penalty upon a defendant who

waives the right to jury trial or one who pleads guilty.” Id. at 571.

       Thus, the Court declined to read into the statute congressional authority for the

courts to develop such a procedure. The Court was concerned principally with

overreaching its authority by imposing the alternate sentencing scheme. According to

the Court, “it would hardly be the province of the courts to fashion [such] a remedy,”

id. at 579, absent “the slightest indication that Congress contemplated any such

scheme.” Id. at 578.

       Applying Jackson’s analysis to this case, it is manifest that once the provision

allocating to the prosecutor the power to charge aggravating factors is declared

unconstitutional, the FDPA “sets forth no procedure” for alleging aggravating factors.

Indeed, as the Jackson opinion explained, “[t]o accept the Government’s suggestion that

the jury’s sentencing role be treated as merely advisory would return to the judge the

ultimate duty that Congress deliberately placed in other hands.” Id. at 576.

       Here, as in Jackson, Congress has “deliberately placed in [the prosecution’s]

hands” the responsibility for alleging aggravating factors under the FDPA.

Consequently, in this case, “construing” the FDPA to allow the grand jury to assume

that responsibility would violate the FDPA and contravene Congressional intent

without “the slightest indication that Congress contemplated” according the grand jury

such a role in the federal capital decision-making process. Presented with the option,

Congress, in light of the change of law from Walton to Ring, might very well enact a

                                             19
       2:17-cr-20037-JES-JEH # 102               Page 20 of 122



comprehensive death penalty scheme that allocated a role to the grand jury. Congress

might also choose to enact a wholly new and different scheme, one which fully defined

the new offense of “capital murder,” specified its elements, and set forth comprehensive

procedures for trial of those offenses.6

        Jackson, however, proscribes a court from implementing what Congress might do,

or what the prosecutor proposes as a “fix” for a constitutionally deficient statute.

Instead, Jackson, requires that courts, under such circumstances, invalidate, and not

legislate:

                [i]t is unnecessary to decide here whether this conclusion
                would follow from the statutory scheme the Government
                envisions, for it is not the scheme that Congress enacted.

Id. at 573 (emphasis added).

        Also, the Court in Jackson recognized that the government’s proposal “would be

fraught with the gravest difficulties.” Id. at 579. As the Court explained, “it is one thing

to fill a minor gap in a statute,” but “quite another thing to create from whole cloth a

complex and completely novel procedure and thrust it upon unwilling defendants for

the sole purpose of rescuing a statute from a charge of unconstitutionality.” Id. at 580.

See also Blount v. Rizzi, 400 U.S. 410, 419 (1971) (statute that permitted the Postmaster

General to determine that material was obscene struck down by the Court which, in the



6. Indeed, the dangers of judicial legislation are patently evident from the divergent attempts, following
Ring, to salvage the FDPA despite the obvious defect in the method of factors. For example, in United
States v. Jackson, 327 F.3d 273, 284-87 (4th Cir. 2003), the court held that the presentation of but one
statutory aggravating factor to the grand jury (and inclusion in the indictment) was sufficient to permit the
government to seek death on the basis of several statutory aggravating factors not so included.
                                                     20
      2:17-cr-20037-JES-JEH # 102         Page 21 of 122



process of rejecting the government’s suggestion that Congress’s plain language could

be “construed” to allow a judge to make that determination instead of the Postmaster

General, explained that “it is for Congress, not this Court, to rewrite the statute”).

       The very same type of judicial and prosecutorial restructuring of a statute to

conform with constitutional imperatives was rejected by the Court in United States v.

Booker, 543 U.S. 220 (2005). In the course of invalidating the mandatory nature of the

federal sentencing guidelines because they permitted a judge to find, by a

preponderance of the evidence, facts necessary to an enhanced punishment, the Court

did not create a hybrid system, inconsistent with the Sentencing Reform Act

(hereinafter “SRA”), under which those sentencing factors would be incorporated in

indictments and presented to a jury. Rather, a separate majority in Booker (in what has

generally been denominated the “remedy opinion,” id. at 245-46, severed the offending

section – that which made the guidelines mandatory – but retained the essential

character of the remainder of the SRA. Indeed, in Blakely v. Washington, Booker’s

predecessor, Justice Breyer, who wrote the remedial opinion in Booker, recognized quite

clearly the practical and due process concerns attendant to charging sentencing

enhancement facts and submitting them to a jury. 542 U.S. 296, 334-35 (2004) (Breyer, J.,

dissenting). Justice Breyer’s admonition about the practical implications of

presenting sentencing factors to a jury absent any legislative or procedural framework

is mirrored by the issues raised by the submission of aggravating factors to a grand jury

in the similarly barren context of the FDPA – none of which the government recognizes

                                             21
       2:17-cr-20037-JES-JEH # 102        Page 22 of 122



or addresses. For example, there are questions regarding which aggravating factors

must be included in the indictment, whether the defendant must plead to those factors,

whether the lessened evidentiary standard of the FDPA remains applicable to some or

all aggravating factors, and, if so, to the presentation of mitigating evidence, and any

procedural changes in the two phases of the trial.

       Here, the government’s position, by implication, is that prosecutors can fashion

their own remedy independent of both Congress’ intent and clear and limiting

legislative language. This view, however, mirrors the position taken by the government,

and rejected by the Supreme Court, in Booker:

              Severing the requirement that judges, not juries, apply the
              Guidelines would require courts to make the legal and policy
              decisions necessary to resolve all of those questions. There is
              no indication that Congress delegated that role to the courts.
              It is one thing to recharacterize a single factor that increases a
              statutory maximum and treat it as an element of the crime. It
              is quite another to take an entire system expressly designed
              to channel sentencing discretion and treat it as if Congress
              was attempting to rewrite the criminal code.

Id. at 363.

       Accordingly, Jackson is precisely on point and controls this case. In enacting the

FDPA, Congress, relying on Walton, created a scheme in which the prosecutor was

granted the exclusive authority to make the threshold determination whether to seek

the death penalty, and, once a decision was made to pursue death, which aggravating

factors to allege. Allowing the government to seek indictment of what Congress

unambiguously defined as sentencing factors would give “to the [grand jury] the

                                             22
        2:17-cr-20037-JES-JEH # 102                   Page 23 of 122



ultimate duty that Congress deliberately placed in other hands,” i.e., those of the

government attorney – precisely the kind of end-run that Jackson forbids.

         As a result, if the FDPA’s treatment of aggravating factors is unconstitutional

after Ring, then it is undeniable, under Jackson and the doctrine of Separation of Powers,

that only Congress can cure the problem, and only by enacting – should it choose to do

so in light of the changed constitutional landscape augured by Ring – a new death

penalty scheme.

             3.       The Non-Delegation Doctrine provides further compelling support for
                      the conclusion that the FDPA’s defects cannot be cured by judicial
                      action.

         A corollary to the Separation of Powers problems posed by the prosecution’s

proposed unilateral Ring fix for the FDPA is the non-delegation doctrine’s 7 preclusion

of either Executive or the Judiciary action, whether separately or in tandem,

substituting either’s judgment for that of Congress in relation to prescribing the

elements and the procedures for application of the federal death penalty. As Justice

Scalia stated in his dissent in Mistretta v. United States, 488 U.S. 361 (1989):

                  It is difficult to imagine a principle more essential to
                  democratic Government than that upon which the doctrine
                  of unconstitutional delegation is founded: Except in a few
                  areas constitutionally committed to the Executive Branch,
                  the basic policy decisions governing society are to be made
                  by the Legislature.
                                                     * **
                  That Congress cannot delegate legislative power to the
                  President is a principle universally recognized as vital to the

7
 “The non-delegation doctrine originated in the principle of separation of powers that underlies our tripartite system
of Government.” Mistretta v. United States, 488 U.S. 361, 371 (1989); U.S. CONST., ART. 1, § 1.
                                                         23
      2:17-cr-20037-JES-JEH # 102           Page 24 of 122



               integrity and maintenance of the system of Government
               ordained by the Constitution.

488 U.S. at 415 (Scalia, J., dissenting).

       The majority in Mistretta ultimately found that the non-delegation doctrine had

not been violated by creation of the United States Sentencing Commission and the

guidelines it promulgated because, in constituting the Commission, Congress had

“[laid] down by legislative act an intelligible principle to which the [Sentencing

Commission] is directed to conform.” 488 U.S. at 372 (quoting N.W. Hampton, Jr., & Co.

v. United States, 276 U.S. 394, 409 (1928)). Nevertheless, the Court reaffirmed the

principle that “‘the integrity and maintenance of the system of Government ordained by

the Constitution’s mandate that Congress generally cannot delegate its legislative

power to another Branch.” Id. at 371-72 (quoting Field v. Clark, 143 U.S. 649, 692 (1892)).

       Thus, Mistretta involved the delegation only of authority to determine sentencing

factors within the limits of a legislatively determined “intelligible principle.” It did not

include the authority to determine the very elements of an offense, as would be the case

under a hypothetical post-Ring FDPA.

       Because Congress could not delegate to the Executive Branch the power to

rewrite the FDPA to its post-Ring liking, a fortiori the Executive Branch cannot simply

assume that power by attempting to substitute new procedures and elements for those

originally provided by Congress, but rendered constitutionally infirm by the Ring, Jones,

Apprendi trilogy.


                                              24
        2:17-cr-20037-JES-JEH # 102       Page 25 of 122



           4.     The grand jury lacks any authority to issue “special findings.”

        In this case, the superseding indictment contains a section labeled, “Notice of

Special Findings.” Grand juries are not, however, permitted to return anything

denominated as “Special Findings.” The Federal Rules of Criminal Procedure provide

that an indictment “shall be a plain, concise and definite written statement of the essential

facts constituting the offense charged.” F. R. Crim. P. 7(c)(1). In 1979, Rule 7 was amended

specifically to allow notice of criminal forfeitures to be alleged by indictment. Obviously,

nothing in the text of the Rule, and nothing in the Indictment Clause of the Fifth

Amendment, contemplates or permits a grand jury to make “Special Findings” that serve

the function of the triggering requirements of the FDPA that are now invalid in light of

Ring.

        In addition, while the Supreme Court’s decision in Schriro v. Summerlin, 542 U.S.

348, 354-55 (2004), held that, for purposes of collateral review, Ring involved issues of

procedure rather than substantive criminal law, that does not place the method of

alleging the FDPA’s aggravating factors within the purview of the government’s

authority or role in a three-branch form of government. Rather, the principles

established in Jackson continue to apply, and the express language of the statute remains

controlling and dispositive. Consequently, the prosecutor’s attempt to rescue the FDPA

via the grand jury’s “Special Findings” is void.




                                             25
      2:17-cr-20037-JES-JEH # 102          Page 26 of 122



       E.        Courts of appeals’ decisions to the contrary have been wrongly decided,
                 and neither severability analysis, nor the post-Apprendi drug cases, nor
                 the doctrine of “constitutional avoidance” can save the FDPA.

            1.      The decisions by the courts of appeal have been wrongly decided.

       While various courts of appeals have considered the issue herein and concluded

that there is no constitutional or statutory impediment to presenting the FDPA’s

aggravating factors to a grand jury in order to avoid unconstitutionality under Ring, the

cursory reasoning in each case is fatally flawed for two principal reasons:

                  (a)   the decisions all fail to address Jackson, and/or to distinguish its
                        clearly applicable holding and principles; and

                  (b)   the decisions ignore the plain language of the FDPA with respect
                        to whether the grand jury is authorized to allege aggravating
                        factors.

       For example, in United States v. Brown, 441 F.3d 1330 (11th Cir. 2006), the

Eleventh Circuit not only failed to mention Jackson at all, but also joined other circuits in

claiming that while “‘nothing in the FDPA requires prosecutors to charge aggravating

factors in an indictment . . . there is nothing in that law inhibiting such a charge.’” Id. at

1367 (quoting United States v. Robinson, 367 F.3d 278, 290 (5th Cir. 2004)). See also United

States v. LeCroy, 441 F.3d 914 (11th Cir. 2006) (“[t]he major flaw in LeCroy’s argument is

that nothing in the [FDPA] forbids, or is inconsistent with, prosecutors’ taking the

additional step of including the statutory aggravating factors in the indictment and

submitting same to the grand jury. Indeed, a statute will seldom expressly provide for

submitting elements of an offense to the grand jury”); United States v. Allen, 406 F.3d


                                              26
      2:17-cr-20037-JES-JEH # 102          Page 27 of 122



940, 949 (8th Cir. 2005) (“[w]hile it is true that the FDPA directs the government to

charge these factors in a notice of intent to seek the death penalty, nothing in the Act

precludes the government from also submitting them to the grand jury for inclusion in

the indictment”); United States v. Barnette, 390 F.3d 775, 789 (4th Cir. 2004) (“[a] review

of the statute itself reveals no language that restricts the government from submitting

aggravating factors to the grand jury. Neither does the legislative history indicate any

such intent”). The First Circuit’s attempt to distinguish Jackson is likewise flawed in

that, the reasoning requires that the plain language of the statute which ordains a

procedure completely at odds with presentment to a grand jury be ignored. See United

States v. Sampson, 486 F.3d 13 (1st Cir. 2007).

       That contention is wrong on two counts: (1) the FDPA not only does not

“require” prosecutors to present aggravating factors to the grand jury, it prescribes a

precise and exclusive method for alleging aggravating factors: the prosecutor’s

exclusive discretion and judgment; and (2) the assertion that “nothing in the [FDPA]

inhibit[s]” presentation of aggravating factors to the grand jury ignores the explicit and

exclusive statutory delegation to the prosecutor, the rules of statutory construction and

the clear and controlling precedent provided by Jackson.

       Again, this is not an instance in which a statute simply does not “expressly

provide for submitting elements of an offense to the grand jury;” rather, the FDPA

expressly and comprehensively provides for another, exclusive method for alleging

aggravating factors. Thus, the decisions upholding the validity of the FDPA were

                                              27
        2:17-cr-20037-JES-JEH # 102            Page 28 of 122



wrongly decided, and this Court should, consistent with Jackson and the clear language

of the FDPA, declare the statute unconstitutional as applied to Mr. Christensen in this

case.

            2.      The post-Apprendi drug-quantity cases do not authorize presenting the
                    FDPA’s aggravating factors to a grand jury.

        Nor can the FDPA find refuge in post-Apprendi cases that required drug quantity

in federal prosecutions under 21 U.S.C. § 841, previously deemed a sentencing factor to

be determined by a judge by a preponderance of evidence, to be pleaded in an

indictment and proved to a jury beyond a reasonable doubt. See, e.g., United States v.

Thomas, 274 F.3d 655 (2d Cir. 2001) (en banc). See also United States v. Cotton, 535 U.S. 625

(2002) (government concedes that it was error not to include drug quantity in all post-

Apprendi federal drug indictments, but conviction affirmed because the defendant failed

to object, and omission constituted harmless error).

        In fact, the difference between Title 21’s treatment of drug quantity and the

FDPA’s handling of aggravating factors is striking and dispositive. Regarding drug

quantity, Congress enacted statutes in which the penalty ranges increase directly with

the quantity of the specified drug. 8 For those statutes, though, Congress was silent on

whether drug quantities were elements of the offense or sentencing factors. Thus,

requiring drug quantities to be alleged by indictment did not alter the structure of the


8
 See, e.g., 21 U.S.C. § 841(b)(1)(A) (possession of one kilogram or more of heroin exposes a defendant
to a sentence of 10 years to life; possession of less than 50 grams of heroin exposes a defendant to a
sentence of 0 - 20 years, 21 U.S.C. § 841(b)(1)(c)).

                                                  28
       2:17-cr-20037-JES-JEH # 102               Page 29 of 122



drug laws, or offend Congressional intent.9

        In fundamental contrast, however, Congress clearly never intended the

aggravating factors in the FDPA to constitute elements of the offense. Rather, Congress,

relying on Walton, which permitted such aggravating factors to be treated as sentencing

factors, patently described them as such, and directed that they be determined and

identified in each case not by a grand jury (or any other body or institution), but by the

prosecutor alone.

        Moreover, when the Supreme Court has been required to determine whether a

statute sets forth elements-of-an-offense, as distinct from sentencing factors, it has

looked to Congressional intent. Accordingly, in Castillo v. United States, 530 U.S. 120

(2000), the Court explained that “[t]he question before us is whether Congress intended the

statutory references . . . to define a separate crime or simply to authorize an enhanced

penalty.”Id. at 123 (emphasis added). Accord, Jones, 526 U.S. at 232–39. See also

Almendarez-Torres v. United States, 523 U.S. 224, 228 (1998); Harris, 536 U.S. at 582.

        In both Harris and Almendarez-Torres, the Court found the aspects at issue to be

sentencing factors; in Castillo and Jones, they were found to be elements of the offense.

In both sets of cases, the Court proceeded by the same exhaustive statutory, not

constitutional, analysis, because the Constitution, though it places limits upon




9
 The same is true of the federal carjacking statute at issue in Jones, 526 U.S. at 239, 251-252. The statute,
18 U.S.C. § 2119, did not make any distinction with respect to whether serious bodily injury was an
element or a sentencing factor. Thus, including that factor in an indictment did not involve the redrafting
of a statute as is proposed by the government in this case with respect to the FDPA’s aggravating factors.
                                                     29
       2:17-cr-20037-JES-JEH # 102           Page 30 of 122



Congress’ ability to designate certain facts as sentencing factors, does not afford the

courts authority to recast statutes so that they fit within those limits.

       For example, in Harris, the Court comprehensively considered “the distinction

the law has drawn between the elements of a crime and factors that influence a criminal

sentence.” 536 U.S. at 549 The Court reaffirmed that the threshold question of statutory

construction is whether Congress intended relevant facts to be offense elements or

sentencing factors. Id. at 551. The Court further explained that the distinction is

significant because “[l]egislatures define crimes in terms of the facts that are their essential

elements, and constitutional guarantees attach to these facts.” Id. at 549 (emphasis

added).

       Here, Congress’s intent is plain and unmistakable. Consistent with the state of

the law pre-Ring (and governed by Walton), Congress structured the FDPA so that

aggravating factors were sentencing considerations that were within the exclusive

province of the prosecutor. As a result, the government is not empowered to subvert

Congressional intent and, in effect, create by prosecutorial fiat, a brand new criminal

statute.

           3.      Severability analysis cannot save the FDPA from unconstitutionality.

       Additionally, the severability cases also undercut any analogy to the drug cases

discussed earlier. Under those cases, the critical question is whether the statute at issue,




                                                30
       2:17-cr-20037-JES-JEH # 102             Page 31 of 122



upon removal of its unconstitutional portion, can function independently.10 For

example, in Booker, as noted, rather than cobble together a hybrid system that would

permit presentation of sentencing factors to both grand and petit juries, the Supreme

Court severed the sentencing guidelines’ mandatory nature because that preserved the

character of the SRA, and Congress’s intent in enacting it, as opposed to creating a new

system inconsistent with Congressional intent, and which raised more procedural

issues and questions than it resolved.

        The structure of the FDPA plainly requires that the government’s notice of

aggravating factors, and only that mechanism, triggers the entire operation of the

FDPA. Absent that enabling act by the prosecutor, the statute cannot function as a

capital statute, since without aggravating factors, the government cannot seek the death

penalty. The same conclusion was reached in Jackson, in which the Court found that

severing the unconstitutional death penalty provision of the Kidnapping Act left an

otherwise fully functional criminal statute, albeit one that could not carry with it a

potential sentence of death.

        Here, deciding what Congress intended with regard to the FDPA is an easy task

– it is obvious from the FDPA that Congress, relying on Walton, believed it was creating

sentencing factors. It is equally clear that, after Ring, aggravating factors constitute

elements of an offense. Accordingly, the statute may not be construed; it must be


10
  See, e.g., Minnesota v. Mille Lacs Band of Chippewa Indians, 526 U.S. 172 (1999); Leavitt v. Jane, 518
U.S. 137 (1990); Alaska Airlines, Inc. v. Brock, 480 U.S. 678 (1987).

                                                  31
      2:17-cr-20037-JES-JEH # 102         Page 32 of 122



voided.

          4.      The doctrine of “constitutional avoidance” is inapplicable.

       The doctrine of constitutional avoidance applies when “a statute is susceptible of

two constructions, by one of which grave and doubtful constitutional questions arise

and by the other of which such questions are avoided, [a court’s] duty is to adopt the

latter.” United States ex rel. Attorney General v. Delaware & Hudson Co., 213 U.S. 366, 408

(1909). Here, since the FDPA is, for the reasons set forth supra, plainly not “susceptible

of two constructions,” the simple answer is that the doctrine of constitutional avoidance

does not apply.

       In Harris, for example, the Court found the doctrine of constitutional avoidance

inapplicable because, at the time Congress enacted 18 U.S.C. § 924(c), Supreme Court

precedent allowed Congress to label as sentencing factors certain facts which increased

the minimum punishment for a crime. As the Court explained:

               The avoidance canon rests upon our “respect for Congress,
               which we assume legislates in the light of constitutional
               limitations.” Rust v. Sullivan, 500 U.S. 173, 191 (1991). The
               statute at issue in this case was passed when McMillan [v.
               Pennsylvania, 477 U.S. 79 (1986)] provided the controlling
               instruction, and Congress would have had no reason to
               believe that it was approaching the constitutional line by
               following that instruction. We would not further the canon’s
               goal of eliminating friction with our coordinate branch,
               moreover, if we alleviated our doubt about a constitutional
               premise we had supplied by adopting a strained reading of a
               statute that Congress had enacted in reliance on the premise.
               And if we stretched the text to avoid the question of
               McMillan’s continuing vitality, the canon would embrace a
               dynamic view of statutory interpretation, under which the
                                             32
      2:17-cr-20037-JES-JEH # 102          Page 33 of 122



                text might mean one thing when enacted yet another if the
                prevailing view of the Constitution later changed. We
                decline to adopt that approach.

536 U.S. at 556.

       Thus, the doctrine of constitutional avoidance was irrelevant to the Court’s

analysis, and the Court, in accord with Congress’ intent, concluded that “brandishing”

was a sentencing factor. Id. Here, too, Congress relied on the state of the law existing at

the time it enacted the FDPA – in Walton, 497 U.S. at 649 , the Court had permitted a

judge to decide sentencing factors in capital cases – and manifested that reliance in

reserving for the prosecutor the exclusive authority to allege aggravating factors.

Reconstructing the FDPA based on Ring’s precedence over Walton would constitute the

type of “dynamic” statutory interpretation that was precluded by Harris, and would

vitiate Congress’s clear intent.

       Consequently, the doctrine of constitutional avoidance is as inapplicable here as

it was in Harris. As with § 924(c), with the FDPA there is no ambiguity about Congress’s

choice. As stated in Miller v. French, 530 U.S. 327, 341 (2000) (quotations omitted),

“[w]here Congress has made its intent clear, we must give effect to that intent.”

       Similarly, in Commodity Futures Trading Comm’n v. Schor, 478 U.S. 833 (1986), the

Court stated:

                Federal statutes are to be so construed as to avoid serious
                doubt of their constitutionality. Where such serious doubts
                arise, a court should determine whether a construction of the
                statute is fairly possible by which the constitutional question
                can be avoided. It is equally true, however, that this canon of

                                              33
      2:17-cr-20037-JES-JEH # 102          Page 34 of 122



             construction does not give a court the prerogative to ignore the
             legislative will in order to avoid constitutional adjudication;
             although this Court will often strain to construe legislation so as to
             save it against constitutional attack, it must not and will not carry
             this to the point of perverting the purpose of a statute . . . or
             judicially rewriting it.

Id. at 841 (citations and internal quotations omitted) (emphasis added).

      Here, Congress made its intent clear in the FDPA – the allegation of aggravating

factors is the province solely of government attorneys. The Jones-Apprendi-Ring trilogy

has now altered the status of the law, and aggravating factors (and other aspects of the

FDPA) are now properly, and constitutionally, elements of an offense not yet enacted

by Congress and beyond the authority of the courts (or the prosecutor) to create via

“construction” that amounts to judicial and executive legislation.

      Accordingly, it is respectfully submitted that the FDPA cannot be rewritten to

permit presentation of aggravating factors to the grand jury, and that, because those

aggravating factors are elements pursuant to Ring, the FDPA is unconstitutional as

applied to Mr. Christensen. The capital aspects of this case should be dismissed.




                                              34
      2:17-cr-20037-JES-JEH # 102         Page 35 of 122



                                           POINT TWO

 EVEN IF THE FDPA CAN BE RENDERED CONSTITUTIONAL BY A FINDING BY
THE GRAND JURY OF GATEWAY AND STATUTORY AGGRAVATING FACTORS,
THE “SPECIAL FINDINGS” IN THE SUPERSEDING INDICTMENT AND THE NON-
  STATUTORY AGGRAVATING FACTORS ALLEGED IN THE NOI SHOULD BE
 STRICKEN, AND THE DEATH NOTICE SHOULD BE DISMISSED, BECAUSE THE
GOVERNMENT HAS NOT OBTAINED AN INDICTMENT CONSISTENT WITH THE
               REQUIREMENTS OF THE FIFTH AMENDMENT.

       A.     Introduction.

       As outlined above, the superseding indictment does not allege any non-statutory

aggravating factors. Nor does the superseding indictment allege that the “special

findings” should subject Mr. Christensen to the death penalty or otherwise indicate that

the grand jury intended to return an indictment charging a capital offense. Nor does the

superseding indictment allege that the aggravating factors present in this case outweigh

the mitigating factors and do so to an extent that is sufficient to justify imposition of a

sentence of death. Under these circumstances, the superseding indictment does not

comport with the Grand Jury Clause of the Fifth Amendment and does not charge a

capital offense.

       B.     The grand jury was not given the choice of holding Mr. Christensen to
              answer for a capital crime because it was (presumably) unaware of the
              consequences of its “Special Findings.”

       The Fifth Amendment provides that “no person shall be held to answer for a

capital, or otherwise infamous crime, unless on a presentment or indictment of a Grand

Jury.” U.S. Const. Amend. V. As the Supreme Court has explained:



                                             35
      2:17-cr-20037-JES-JEH # 102          Page 36 of 122



              [T]he grand jury is a central component of the criminal
              justice process. The Fifth Amendment requires the Federal
              Government to use a grand jury to initiate a prosecution....
              The grand jury, like the petit jury, ‘acts as a vital check
              against the wrongful exercise of power by the State and its
              prosecutors.’ It controls not only the initial decision to indict,
              but also significant decisions such as how many counts to
              charge and whether to charge a greater or lesser offense,
              including the important decision to charge a capital crime.

Campbell v. Louisiana, 523 U.S. 392, 398 (1998) (emphasis supplied). See also Vasquez v.

Hillary, 474 U.S. 254, 263 (1986) (power to charge capital or noncapital offense lies in the

hands of the grand jury); Fed. R. Crim. P. 7(a).

       When Congress adopted the Bill of Rights, only the indicting grand jury, by

choosing the offense to charge, could make an offense punishable by death. In 1789,

Congress sought to ratify the Fifth Amendment and also passed the first federal

criminal laws. Laws that authorized the death penalty mandated it; they left no other

sentencing option. See generally, Rory Little, The Federal Death Penalty: History and Some

Thoughts About the Department of Justice’s Role , 26 Ford. Urb. L. J. at 361-63. This practice

was consistent with that of the states, which at the time the Bill of Rights was adopted

in 1791, “followed the common-law practice of making death the exclusive and

mandatory sentence for certain specified offenses.” Woodson v. North Carolina, 428 U.S.

280, 289 (1976). Thus, the intent of the framers of the Fifth Amendment was that the

grand jury retain the power to choose which defendants would receive a sentence of

death upon conviction.

       The grand jury’s historical role in choosing which defendant would receive a

                                              36
      2:17-cr-20037-JES-JEH # 102           Page 37 of 122



death sentence upon conviction is well documented. See LaFave, W.R., et al., 1 Criminal

Procedure .5(b) (2d ed.) (noting that grand juries played a critical role in reducing the

number of offenses for which capital punishment could be imposed by downgrading

charges to non-capital offenses); Andrew Hirsch, The Rise of the Penitentiary (1992) (“[a]t

the indictment stage, grand juries often refused to charge person with capital crimes.

They simply downgraded indictments to non-capital charges of their own devising.”).

The Supreme Court has acknowledged this historical role, writing in Vasquez, 474 U.S.

at 263, that “the Grand Jury does not determine only that probable cause exists to

believe that a defendant committed a crime, or that it does not. In the hands of a grand

jury lies the power to charge a greater or lesser offense; numerous counts or a single count;

and perhaps the most significant of all, a capital offense or a noncapital offense.”

       In this case, the government presented to the grand jury some of the elements of

capital murder so as to make Mr. Christensen “death-eligible” for Eighth Amendment

purposes – the intent requirements under 18 U.S.C. § 3591(a)(2) and the alleged

statutory aggravating factors under 18 U.S.C. § 3592(c). On information and belief,

however, the government did not inform the grand jury of the consequences of those

special findings, i.e., that by returning the indictment, Mr. Christensen would be held to

answer to an offense punishable by death. Certainly nothing on the face of the

indictment shows that the grand jury was aware that it was being asked to determine if

Mr. Christensen should be held to answer for a capital offense. The model grand jury

charge of the Administrative Office of the United States Courts indicates that the jury

                                               37
      2:17-cr-20037-JES-JEH # 102        Page 38 of 122



would not have been told that Mr. Christensen would face the death penalty upon

conviction. That charge expressly instructs the jury: “When deciding whether or not to

indict, you should not be concerned about punishment in the event of conviction.

Judges alone determine punishment.” See Tomer, Ring Around the Grand Jury, supra.

Presumably, the grand jury that returned the indictment against Mr. Christensen was

given this instruction. By not informing the jury that it was returning an indictment

charging a capital offense, and misinforming the grand jury about who determines

punishment in a federal capital case, the government turned the proceeding into one

that gave only the appearance of complying with the Fifth Amendment, but that

deprived Mr. Christensen of his constitutional and statutory rights.

       The Supreme Court, in a related context, has refused to countenance such

disregard for the Fifth Amendment. In Smith v. United States, 360 U.S. 1, 9 (1959), the

Court reversed a kidnapping conviction initiated by information even though it was a

capital offense. The Court stated:

              [t]he Fifth Amendment made the [grand jury indictment]
              rule mandatory in federal prosecutions in recognition of the
              fact that the intervention of a grand jury was a substantial
              safeguard against oppressive and arbitrary proceedings . . .
              [T]o permit the use of informations where . . . the charge
              states a capital offense, would . . . make vulnerable to
              summary treatment those accused of . . . our most serious
              crimes.

Id. (citations omitted). Similarly, to permit the government to obtain from a grand jury

an indictment alleging the elements of a capital offense, but not informing the grand


                                            38
      2:17-cr-20037-JES-JEH # 102         Page 39 of 122



jury that by finding those elements it was holding the defendant to answer to a capital

crime, makes vulnerable those accused of the most serious crimes. If the grand jury is

not informed of the capital nature of the offense, it cannot express the conscience of the

community or perform its constitutionally assigned role as a “barrier . . . between the

liberties of the people and the prerogative of the [government]).” Harris, 536 U.S. at 564

(grand and petit juries “form a ‘strong and two-fold barrier’”).

       The grand jury’s constitutional and historical role in deciding whether a

defendant should face the death penalty is perhaps more critical now than ever. Few

checks exist on the federal government’s power to pursue the ultimate punishment

against one of its citizens and fewer opportunities exist for the local community to

express its desires about the appropriateness of the death penalty in any given case.

Prosecutorial decision making in capital cases is centralized at the Department of Justice

in Washington, D.C. See United States v. Navarro-Vargas, 367 F.3d 896, 902 (9th Cir. 2004)

(Kozinski, J., dissenting) (“[a]n independent grand jury – one that interposes the local

community’s values on prosecutorial decisions that are controlled by policies set in

Washington as to the enforcement of laws passed in Washington – seems like an

important safeguard that is entirely consistent with the grand jury’s traditional

function”).

       Nor is the petit jury in a capital case a meaningful barrier between “the liberties

of the people and the prerogative of the [government]).” Harris, 536 U.S. at 564. This is

because petit jurors, to-date, have been “death-qualified.” Individuals with

                                            39
       2:17-cr-20037-JES-JEH # 102                Page 40 of 122



disqualifying scruples against the death penalty, no matter how many exist in a given

community, have not been permitted to sit in judgment in a capital case. Instead, capital

juries consist exclusively of individuals who believe that the death penalty is an

appropriate punishment and who express a willingness to impose it. Empirical

evidence shows that such “death-qualified” jurors are more prone to believe

government witnesses, generally evaluate evidence differently than other jurors, and

give little meaning to the presumption of innocence, i.e., death qualified jurors are more

conviction prone.11 The death-qualifying process also tends to exclude women and

African-Americans from jury service. Id. The net effect of death qualification is that

capital jurors do not represent the conscience of the local community or its rich

diversity; at best, they represent only those members of the community who share

similar views on the death penalty. Jurors that represent such a small segment of the

community are ill-equipped to act as a barrier between the “liberties of the people” and

the power of a government, particularly a government so centralized that it can force

local prosecutors to take a capital case to trial against their will.12



11
  See Jesse Nason, Mandatory Voir Dire Questions in Capital Cases: A Potential Solution to the Biases
of Death Qualification, 10 Roger Williams U. L. Rev. 211, 219 (2004) (summarizing research on how
death-qualified jurors may presume guilt, resolve ambiguities against the defendant, more readily accept
the government’s version of events, distrust defense witnesses, fill evidentiary gaps with their beliefs that
defendant committed the crime; and were more likely to infer premeditation). See also United States v.
Green, 324 F. Supp. 2d 311, 329 (D. Mass. 2004) (citing studies that note death-qualified juries are more
conviction prone).
12
   Public opinion polls “consistently show that opposition to capital punishment runs around 45% to 55%
for black Americans, while for whites it is much lower, ranging from 17% in 1992 to 24% in 2000. That
is opposition to the death penalty is about twice as high among black Americans as among white, and a
much larger majority of whites than blacks support the death penalty.” Rory Little, What Federal
                                                     40
       2:17-cr-20037-JES-JEH # 102              Page 41 of 122



        Thus, the Constitution and the Bill of Rights sets up a carefully crafted system of

checks and balance. Under the Fifth Amendment, the grand jury, like the petit jury, is

supposed to “act[] as a vital check against the wrongful exercise of power by the State

and its prosecutors.” Campbell, 523 U.S. at 398 (citations omitted). Unless the grand jury

is aware of its capital charging power and the consequences of returning an indictment

with “special findings” like those in this case, it cannot perform its constitutionally

assigned function and make “the important decision to charge a capital crime. “ Id. Because

the grand jury did not perform its constitutionally assigned role of deciding whether

Mr. Christensen should be held to answer for a capital crime, the death notice should

be dismissed and the indictment’s “special findings” stricken.

        C.      The government did not obtain an indictment alleging all elements of a
                capital crime.

        Even if the grand jury had been aware that it its “special findings” would hold

Mr. Christensen to answer for a capital crime, the notices should be dismissed because

the government did not present further elements necessary for the grand jury to make

the decision as to whether Mr. Christensen should be subject to the death penalty, i.e.,

whether (1) the aggravating factors outweigh the mitigating factors and (2), whether

they outweighed the mitigating factors sufficiently to justify a sentence of death. The

failure of the grand jury to examine all relevant factors to determine if the death penalty

was justified conflicts with the framers’ intent, discussed above, that the grand jury


Prosecutors Really Think: The Puzzle of Statistical Race Disparity Versus Specific Guilt, and the Specter
of Timothy McVeigh, 53 DePaul L. Rev. 1591, 1596 (2004).
                                                   41
      2:17-cr-20037-JES-JEH # 102           Page 42 of 122



retain the power to decide which defendants should receive a sentence of death upon

conviction. Moreover, as argued earlier, the process that was followed violated Mr.

Christensen’s Fifth and Sixth Amendment rights to have all elements of the crime

submitted to the grand jury for its consideration. See Jones, 526 U.S. at 251-52.

       The elements of capital murder include decisions reached by the jury right up to

the point where it makes a fact-finding that the aggravating circumstances actually

outweigh the mitigating circumstances to a sufficient degree that a sentence of death is

justified. In truth, then, the “selection” decision is not made until the jury reaches the

final decision-point of determining “whether all the aggravating factors found to exist

sufficiently outweigh all the mitigating factors found to exist to justify a sentence of

death.” 18 U.S.C. § 3593(e) (emphasis added). A simple “outweighing” is not enough.

As a matter of human experience, one can imagine a conscientious juror reaching the

conclusion that, although the aggravating circumstances do barely tip the balance in

favor of death, the degree to which that balance tips is not sufficient to justify

imposition of a sentence of death. It is not until the moment that the finding of sufficient

outweighing is made that the defendant’s potential punishment increases to death.

Recall Justice Scalia’s point:

              [All] facts essential to imposition of the level of punishment
              that the defendant receives – whether the statute calls them
              elements of the offense, sentencing factors, or Mary Jane –
              must be found by the jury beyond a reasonable doubt.

Ring, 436 U.S. at 610 (Scalia, J., concurring.)


                                              42
      2:17-cr-20037-JES-JEH # 102          Page 43 of 122



       Obviously, there are enormous practical difficulties in devising a system where a

grand jury can consider and weigh both aggravating and mitigating factors. That is

precisely why, as argued in these motions, the legislature needs to amend this statute. It

is not the role of courts and prosecutors to “fix” a statute that no longer reflects what

congress intended. The grand jury’s failure to indict on all elements of capital murder –

even assuming the viability of a “Ring fix” – means the notice must be dismissed.

D.     The non-statutory aggravating factors alleged in the death notice must be
       dismissed because they are not supported by the indictment.

       In United States v. Green, 372 F. Supp. 2d 168 (D. Mass. 2005), Judge Gertner

examined the issue of whether a non-statutory aggravating factor of unadjudicated

criminal activity alleged in a death notice should be stricken under the Fifth

Amendment because the factor had not been previously found by the grand jury.

Holding that the factor must be stricken, she relied primarily on Blakely’s mandate that

“every defendant [has] · · · the right to insist that the prosecutor prove to a jury all facts

legally essential to the punishment.” Id. (emphasis added). She reasoned that “any

aggravating factor is ‘legally essential to punishment’ because, while not linearly

triggering a higher sentence within the statutory maximum, as Federal Sentencing

Guidelines factors do, it may effectively tip the scale from life to death in combination

with the other factors at play.” Id. at 177-178. She continued:

              The FDPA makes the death penalty jury a sentencing jury,
              not only conducting fact-finding, as any jury does, but also
              weighing aggravating and mitigating facts for the purpose
              of determining punishment, as judges typically do. The

                                              43
       2:17-cr-20037-JES-JEH # 102       Page 44 of 122



              penalty jury’s unique role muddies the distinction between
              offense facts, traditionally screened by grand juries, and
              sentencing facts, which traditionally went unscreened.

              The trilogy of Apprendi, Ring, and Blakely further conflates
              the line between sentencing facts and offense facts. Blakely
              explicitly rejected methodical distinctions between formal
              offense elements and sentencing factors, holding that all
              facts “essential” to punishment must be treated to the
              formalities of grand jury presentment and a jury trial. The
              Supreme Court specifically deemed it an “absurd result”
              that “the jury need only find whatever facts the legislature
              chooses to label elements of the crime, and that those it
              labels sentencing factors – no matter how much they may
              increase the punishment – may be found by the judge.”
              Blakely, 124 S.Ct. at 2539. Even the government agrees that
              certain “sentencing facts”– here the listed statutory
              aggravating factor – must be screened by a grand jury.

              Moreover, once a defendant is deemed death-eligible, the
              FDPA requires that the penalty jury impose the death
              penalty only if the aggravating factors “sufficiently
              outweigh” the mitigating factor or factors. 18 U.S.C. §
              3593(e). This burden is not optional. Even if the defendant
              presents no mitigating factors, to return a sentence of death
              after the first two death-eligibility burdens have been met,
              the jury must find that the aggravating factors “alone are
              sufficient to justify a sentence of death.” Id. Because we will
              never know exactly how each factor influences the jurors’
              ultimate punishment determination, logic dictates that all
              aggravating factors – together – be considered legally
              essential to the punishment. Indeed, the government’s
              argument that non-statutory factors are not essential is
              disingenuous; if the government does not require additional
              evidence to convince the jury to vote for death, why is it
              invoking non-statutory factors at all?

Id. at 177.

       Judge Gertner limited her holding to unadjudicated criminal activity, finding on


                                            44
       2:17-cr-20037-JES-JEH # 102         Page 45 of 122



the basis of Supreme Court precedent that unadjudicated criminal activity, in particular,

required the procedural protection of grand jury screening. Id. at 180-182. However, the

court’s logic is obviously applicable to all non-statutory aggravating factors, as is made

clear in United States v. Mills, 446 F. Supp. 2d 1115 (C.D. Cal. 2006).

       In Mills, Judge Carter considered whether the Confrontation Clause was

applicable to evidence offered to prove non-statutory aggravating factors. He concluded

that the Confrontation Clause was applicable based on his analysis that non-statutory

aggravating factors were elements under Apprendi, Ring, and Blakely. He began by

noting that “[w]hile the Court finds the reasoning in Green persuasive, Green fails to

consider Booker’s lesson that there are some facts – those which are not binding on the

court – that do not rise to the level of constitutional significance. From the Court’s

perspective, Booker and Blakely appear to present three potential applications to the

issue of confrontation during the selection portion of the penalty phase: (1) pure fact-

finding; (2) pure sentencing discretion; and (3) constitutionally significant fact-finding.”

Id. at 1133.

       Judge Carter acknowledged that if, as Green held, Booker and Blakely applied to

pure fact-finding, then the implication was that non-statutory aggravating factors, as

well as the ultimate weighing decision on penalty, were elements under the Ring line of

cases, as argued above:

               In Blakely, the Court relied on Apprendi in striking down
               Washington’s sentencing guideline scheme that permitted
               the judge to impose a sentence higher than the standard

                                              45
       2:17-cr-20037-JES-JEH # 102              Page 46 of 122



                range if he found certain aggravating factors justifying a
                departure. 542 U.S. at 299, 304-05, 124 S.Ct. 2531. The Court
                held: Our precedents make clear . . . that the “statutory
                maximum” for Apprendi purposes is the maximum sentence
                a judge may impose solely on the basis of the facts reflected in
                the jury verdict or admitted by the defendant. . . .” In other
                words, the relevant “statutory maximum” is not the
                maximum sentence a judge may impose after finding
                additional facts, but the maximum he may impose without
                any additional findings. When a judge inflicts punishment
                that the jury’s verdict alone does not allow, the jury has not
                found all the facts “which the law makes essential to the
                punishment,” . . . and the judge exceeds his proper
                authority. Id. at 303-04, 124 S. Ct. 2531 (internal citations
                omitted).

                As to pure fact finding, one could take Blakely literally, to
                mean that the judge may impose the death penalty “solely
                on the basis of the facts reflected in the jury verdict or
                admitted by the defendant.” Blakely, 542 U.S. at 303, 124 S.
                Ct. at 2531; see 18 U.S.C. § 3594 (requiring court to impose
                sentence on recommendation of jury). Thus, the Sixth
                Amendment’s protections would no longer stop once the
                jury has found a statutory aggravating factor and a statutory
                intent factor. Even if these facts have been found, the judge
                still cannot impose a death sentence under the FDPA until
                the jury has found that “all the aggravating factor or factors
                found to exist sufficiently outweigh all the mitigating factor
                or factors found to exist to justify a sentence of death, or, in
                the absence of a mitigating factor, whether the aggravating
                factor or factors alone are sufficient to justify a sentence of
                death.” See 18 U.S.C. §§ 3593(e), 3594. Thus, if steps three
                through six are fact finding, placement of the weighing after
                the jury has already engaged in the eligibility determination
                is not dispositive.

Id. at 1131-33.13


13
  In a footnote, the court noted that “[s]everal state supreme courts have determined that ‘weighing’ is a
factual determination” id. (citing State v. Whitfield, 107 S.W.3d 253, 261 (Mo. 2003); Woldt v. People, 64
P.3d 256, 265-66 (Colo. 2003); Johnson v. State, 59 P.3d 450 (2002). And in the case of Rauf v.
                                                   46
       2:17-cr-20037-JES-JEH # 102              Page 47 of 122



        Instead of reaching this issue, he focused instead on non-statutory aggravating

factors, which he reasoned were elements because they involved “constitutionally

significant fact finding”:

                Under the Act, the jury is required to find these facts
                unanimously and beyond a reasonable doubt. 18 U.S.C.
                §3593(c). The jury may consider only the factors upon which
                it has rendered such a finding when it weighs the factors in
                aggravation and mitigation. 18 U.S.C. § 3593(d). Further, a
                jury renders these findings after a contested adversarial
                hearing that bears many of the features of a trial. See 18
                U.S.C. § 3593(b)-(e). The Court finds that these features of
                the Act render steps three and four significantly different
                than the judicially found facts that inform a court’s
                calculation of the now non-binding Guidelines. In essence,
                the FDPA completely limits the jury’s discretion until it has
                rendered its findings on the aggravating factors (whether
                statutory or non-statutory). Only upon finding these facts is
                the jury permitted to move on to the more discretionary task
                of finding the mitigating factors, and the broadly
                discretionary task of weighing aggravation against
                mitigation. 18 U.S.C. § 3593(c)-(e). Because of these
                fundamental structural differences, findings on the
                aggravating factors bear many of the hallmarks of
                constitutionally significant facts falling under the ambit of
                Blakely.


                It is possible that the jury could return a verdict of death
                without finding any additional aggravating facts, provided
                the proven aggravator alone is sufficient to outweigh
                whatever mitigation has been found. See 18 U.S.C. § 3593(e).
                However, given the allocation of fact- finding and
                discretionary tasks under the FDPA, the Court finds that this
                possibility alone is not sufficient to render these facts


Delaware, 145 A.3d 430 (Del. 2016), the Delaware Supreme Court, relying on Hurst v. Florida, 136 S.
Ct. 616 (2016), held that the “weighing” of aggravating factors against mitigating factors is a factual
determination that only the jury, and not the judge, could determine, and that determination must be found
by proof beyond a reasonable doubt.
                                                   47
      2:17-cr-20037-JES-JEH # 102           Page 48 of 122



              constitutionally insignificant for the purposes of
              confrontation.

Id. at 1134-1135.

       The reasoning of Green and Mills is persuasive and should be followed here.

Although Green only addressed one particular class of non-statutory aggravating factors

and Mills addressed the Sixth Amendment Confrontation Clause, Green correctly points

out that “[t]he FDPA already complies with Ring’s holding in the sense that it requires a

jury to find both statutory and non-statutory aggravating factors. Although Ring does

not address the Fifth Amendment, other Supreme Court and circuit court opinions have

paired Fifth and Sixth Amendment protections. And, as Ring and some state courts

following it have suggested, these procedural protections apply to more than one

aggravating factor when the government presents multiple aggravating factors.” 372 F.

Supp. 2d at 179. See also United States v. Barrett, 496 F. 3d 1079, 1107 (10th Cir. 2007)

(“The Court’s Apprendi line of cases reveals that the reasonable doubt standard is

appurtenant to the right to jury trial.”)

       In this case, as indicated above, the death notice alleges numerous non-statutory

aggravating factors. None of them are alleged in the indictment. Because Mr.

Christensen was entitled under the Fifth Amendment Indictment Clause to grand jury

screening of these factors, the non-statutory aggravating factors alleged in the Notice of

Intent must be stricken. Id. (citations omitted). Similarly, to permit the government to

obtain from a grand jury an indictment alleging the elements of a capital offense, but


                                              48
      2:17-cr-20037-JES-JEH # 102          Page 49 of 122



not informing the grand jury that by finding those elements it was holding the

defendant to answer to a capital crime, makes vulnerable those accused of the most

serious crimes. If the grand jury is not informed of the capital nature of the offense, it

cannot express the conscience of the community or perform its constitutionally assigned

role as a “barrier . . . between the liberties of the people and the prerogative of the

[government]).” Harris, 536 U.S. at 564 (grand and petit juries “form a ‘strong and two-

fold barrier’”).

       For all of the foregoing reasons, the notice of aggravating factors should be

stricken.

                                      POINT THREE

   THE FPDA FAILS TO PROVIDE A STRUCTURE WHICH PERMITS JURORS TO
   MAKE A REASONED CHOICE BETWEEN A SENTENCE OF LIFE IN PRISON
         WITHOUT THE POSSIBILITY OF RELEASE AND EXECUTION.

       The FDPA has created a scheme that mixes concepts and burdens of proof, and

results in an overall process which is likely incomprehensible to jurors. In the penalty

phase of the trial, twelve jurors previously indoctrinated in the traditional culture of

unanimity will be expected to understand that, unlike in the guilt phase, a lack of

unanimity is not a failure but a legally cognizable outcome. Jurors schooled in the

burden of proof in the guilt phase, beyond a reasonable doubt, will be expected in the

penalty phase to apply that burden to aggravating factors and another burden,

preponderance of the evidence, to mitigating factors. Jurors will be expected to segregate

the mental state threshold factors from aggravating and mitigating factors, and from the

                                             49
      2:17-cr-20037-JES-JEH # 102        Page 50 of 122



weighing process, by not considering them in determining the appropriateness of a

death sentence. In the final analysis, jurors are asked, under the FDPA, to determine at

what point aggravating factors outweigh mitigating factors “sufficiently” to justify a

sentence of death. It is unreasonable to expect even the most conscientious and

reasonably intelligent jurors to parse this melange of concepts and come out with an

understanding of the process or a principled verdict. This very real possibility of

confusion causes the FDPA to be unconstitutional. In essence, the FDPA has returned

the process to an era of un-guided discretion.

       Because death is qualitatively different from other forms of punishment, the

greater need for the reliability of the process by which a death sentence is arrived at has

been long recognized. See, e.g., Woodson, 428 U.S. at 303-305. The Eighth and Fourteenth

Amendments therefore require that “where discretion is afforded a sentencing body on

a matter so grave as the determination of whether a human life should be taken or

spared, that discretion must be suitably directed and limited so as to minimize the risk

of wholly arbitrary and capricious action.” Gregg v. Georgia, 428 U.S. at 189 (opinion of

Stewart, Powell, and Stevens, JJ.).

       A death penalty sentencing scheme that creates an unreasonable risk that jurors

will misunderstand their role and their assignments violates the Eighth Amendment

and the Due Process Clause. See Simmons v. South Carolina, 512 U.S. 154 (1994). In order

for a jury’s decision to impose a death sentence to withstand Eighth Amendment

scrutiny, the jury’s discretion must be “suitably directed and limited so as to minimize

                                            50
      2:17-cr-20037-JES-JEH # 102           Page 51 of 122



the risk of wholly arbitrary and capricious action.” Godfrey v. Georgia, 446 U.S. 420, 427

(1980).

          Study after study shows that jurors, no matter how sincere and well-intentioned,

misunderstand what they are supposed to do during the penalty phase of a death

penalty trial. One such study was detailed in C. Haney, L. Sontag and S. Constanzo,

Deciding to Take a Life: Capital Juries, Sentencing Instructions, and the Jurisprudence of Death,

50 J. of Social Issues 149- 176 (1994). The authors interviewed 57 capital jurors from 19

death penalty trials conducted under a California system that was very similar to the

FDPA construct. Among the study’s findings were the following:

                  •      One third of the California jurors sampled focused in the penalty
                         phase discussion solely on the nature of the crime itself in a way
                         that essentially created a presumption of death;

                  •      For many of the jurors, the absence of mitigation was the only
                         reason given for the imposition of a death sentence, shifting the
                         burden to the accused;

                  •      The sampled jurors used their instructions to limit their
                         consideration of some of the evidence admitted during the
                         penalty phase, and to insulate themselves from the impact of
                         their decision;

                  •      Many of the sampled jurors dismissed mitigation evidence
                         outright because they believed that mitigation evidence failed to
                         “fit into” the rubric contained in the instructions, indicating a
                         failure to understand what constituted mitigating evidence;

                  •      80% of the sampled jurors rejected mitigation evidence from their
                         consideration because it did not directly reduce the defendant’s
                         responsibility for the crime

                  •      60% of the sampled jurors rejected mitigation evidence because
                                               51
       2:17-cr-20037-JES-JEH # 102               Page 52 of 122



                           it did not completely account for the defendant’s actions;

                   •       Less than one third of the interviewed jurors demonstrated a
                           workable understanding of what constituted mitigation evidence;
                           and

                   •       80% of the juries returning a death verdict did so believing that
                           life imprisonment without the possibility of parole did not really
                           mean life without parole.


        Other studies have demonstrated a similarly alarming and comprehensive

misunderstanding of the sentencing mission in general, and mitigation in particular,

among jurors deciding death penalty cases. See, e.g., C. Haney and M. Lynch,

Comprehending Life and Death Matters: A Preliminary Study of California’s Capital Penalty

Instructions, 18 L. and Hum. Behav. 411-436 (1994); P.M. Tiersma, Dictionaries and Death:

Do Capital Jurors Understand Mitigation?, Utah L. Rev. 1 (1995); J. Luginbuhl,

Comprehension of Judges’ Instructions in the Penalty Phase of a Capital Trial: Focus on

Mitigating Circumstances, 16 L. and Hum. Behav. 203 (April 1992); M. Constanzo and S.

Constanzo, Jury Decision Making in the Capital Penalty Phase: Legal Assumptions, Empirical

Findings and a Research Agenda, 16 L. and Hum. Behav. 185 (1992). Juries in actual death

penalty cases often believe, completely erroneously, that once an aggravating factor has

been found, death is mandatory. See, e.g., U. Bentele and W.J. Bowers, How Jurors Decide

on Death: Guilt is Overwhelming; Aggravation Requires Death; and Mitigation is No Excuse,

66 Brook. L. Rev. 1011, 1031-41 (2001).14


14
  The article draws on the findings of the Capital Jury Project, an ongoing study funded by the National
Science Foundation of decision-making actual jurors in actual capital cases. As noted in the article, at the
                                                     52
       2:17-cr-20037-JES-JEH # 102              Page 53 of 122



        Indeed, statistically valid surveys of capital-case jurors show that a substantial

number of jurors who actually serve on capital cases automatically vote for death if the

defendant is found guilty of murder. See, e.g., W. S. Geimer & J. Amsterdam, Why Jurors

Vote Life or Death: Operative Factors in Ten Florida Death Penalty Trials, 15 Am. J. Crim. L.

1, 41 (1989) (“A significant number of jurors in death penalty cases believed that the

death penalty was mandatory or presumed for first degree murder . . . In the cases in

which the jury recommended death, over half of the jurors believed that death was to be

the punishment for first degree murder, or at least that death was to be presumed

appropriate unless defendant could persuade the jury otherwise”); S. P. Garvey,

Aggravation and Mitigation in Capital Cases: What do Jurors Think? 98 Colum. L. Rev. 1538

(1998) (“Many jurors wrongly think they must return a death sentence if they find the

defendant’s crime was especially heinous, or the defendant is especially likely to

present a risk of future danger”); T. Eisenberg, S. P. Garvey & M. T. Wells, Jury

Responsibility in Capital Sentencing: An Empirical Study, 44 Buff. L. Rev. 339, 360 (1996)

(“Nearly one-third of the jurors were under the mistaken impression that the law

required a death sentence if they found heinousness or dangerousness, a result

replicated in the multi-state study of the interview data”); W. J. Bowers, The Capital Jury



time it was written the ongoing CJP had completed interviews of 1,155 capital jurors from 340 trials in 14
states. 66 Brook. L. Rev. at 1017. For a full description of the Project, and its methodology, see W.J.
Bowers, The Capital Jury Project: Rationale, Design & Preview of Early Findings, 70 Ind. L. J. 1043,
1079 (1995). Professor William J. Bowers, who holds a Ph.D. in Sociology, is a Principal Research
Scientist at the College of Criminal Justice, Northeastern University, and serves as the Principal
Investigator for the Capital Jury Project. Id. at 1011, n. ††.

                                                   53
      2:17-cr-20037-JES-JEH # 102          Page 54 of 122



Project: Rationale, Design and Preview of Early Findings, 70 Ind. L. J. 1043, 1091, n. 32 (1995)

(“Many jurors believe that the death penalty is mandatory if the crime is heinous or

vicious”); W. J. Bowers, M. Sandys & B. Steiner, Foreclosing Impartiality in Capital

Sentencing: Jurors’ Predispositions, Attitudes and Premature Decision-Making, 83 Cornell L.

Rev. 1476 (1998) (“There appears to be a presumption that clear unequivocal proof of

guilt justifies the death penalty); T. Eisenberg and M. T. Wells, Deadly Confusion: Juror

Instructions in Capital Cases, 79 Cornell L. Rev. 1, 12, 38n.12 (1992) (“There is a

‘presumption of death’”):

              [Our] data suggest that the sentencing phase of a capital trial
              commences with a substantial bias in favor of death. This is
              not in and of itself an indictment of the death trial phase. But
              the tilt towards death suggests that a defendant with a
              confused jury may receive the death sentence by default,
              without having a chance to benefit from the legal standards
              deigned to give him a chance for life.

Id. at 38 n. 12. These and other studies show that jurors in death penalty cases

misunderstand what they are permitted to consider much more often than not, and that

instructions rarely cure the profound misunderstandings.

      The most comprehensive study to date on the actual means by which death

sentences are meted out is, as noted earlier, the one undertaken by the Capital Jury

Project. The Capital Jury Project (“CJP”) is a consortium of studies of the methods of

death penalty juries over a long period of time. Supported by the National Science

Foundation, the CJP had, by 2003, interviewed 1201 members of 354 different juries

sitting in death penalty cases in 14 states. See W. J. Bowers and W. Foglia, Still Singularly
                                              54
       2:17-cr-20037-JES-JEH # 102           Page 55 of 122



Agonizing: Law’s Failure to Purge Arbitrariness from Capital Sentencing, 39 Crim. L. Bull. 51

(2003). In June of 2007, a New Mexico state district judge dismissed the death notice in a

case in part because of the findings of the CJP.15

      Those findings include the propensity (more than 50% of the time) by juries to

decide the penalty issues before the penalty phase begins, which means that the jurors

never allow mitigation into their deliberations; a comprehensive lack of understanding

of what constitutes mitigation and how it applies; a broad-based lack of understanding

of the instructions given by the judge; and that the jury decision-making process in

death penalty cases is so flawed that it violates constitutional principles. For example,

the CJP’s comprehensive, on-the-ground research on these issues demonstrate that even

in jurisdictions in which the jurors are specifically instructed that they do not have to

unanimously find mitigating factors, or that mitigating factors are not restricted to a

statutory list, a terrifying percentage of the jurors never grasped those critical features

of the law. Id. at 68-69.

       The CJP’s findings provide a window into a process which has been designed

with as much care as this politically sensitive issue permits, but which in practice is

grossly arbitrary, unfocused and very often influenced by racial factors. The CJP

underscores what seems obvious – that this process is insufficiently narrowed and

focused to be constitutional. A jury’s decision on whether or not a defendant should be



15
  State v. Dominguez, D-0101-CR 200400521, State v. Good, D-0101-CR- 00522, order entered June 8,
2007.
                                                55
      2:17-cr-20037-JES-JEH # 102         Page 56 of 122



put to death appears to have little to do with the instructions given by the court or the

care with which the process has been constructed or managed. The FDPA is

unconstitutional as applied.

       The Supreme Court’s decisions in various death penalty cases are based on

assumptions shown by the CJP’s research to be unfounded. For example, in Boyde v.

California, 494 U.S. 370 (1990), the Court’s decision was based on inaccurate assumptions

about how the jurors assessed categories of information presented during trial.

Likewise, the Court’s decision in Tuilaepa v. California, 512 U.S. 967 (1994), included the

conclusion that instructions given to the penalty phase jurors to guide their handling of

aggravating factors, mitigating factors and the various burdens of proof were “phrased

in conventional and understandable terms.” Id. at 976. Conventional as the instructions

may be, the CJP research clearly demonstrates that they are not understandable to

jurors. In Tuilaepa, the Court said that whether a penalty phase instruction is

constitutional depends on whether it has a “common sense core of meaning . . . that

criminal juries should be capable of understanding.” Id. at 975. The perhaps most

shocking lesson from the CJP is that criminal juries are incapable of understanding and

applying the trial court’s instructions. Underthe reasoning of Tuilaepa, the instructions,

and the process and overarching scheme which has produced them, is unconstitutional.

The Supreme Court’s decisions upholding the death penalty are based on assumptions

which are belied by the most reliable empirical evidence available. Rory Little, an

Associate Deputy Attorney General from 1996-1997 who served on the capital case

                                             56
      2:17-cr-20037-JES-JEH # 102          Page 57 of 122



review committee, wrote an article about this process. See R. Little, supra, 26 Fird.. Urb.

L. J. 347. In that article he writes that, given the “generality of these statutory

aggravating factors and their commonality in many murders [] considered together

with the added authority to invoke non-statutory aggravating factors, it is the rare

federal defendant that could not, in theory, be sentenced to death simply upon

conviction of any killing offense.” Id. at 402.

       This Court should declare the FDPA unconstitutional and permit this case to

proceed as a non-death penalty case. In the alternative, Mr. Christensen requests that an

evidentiary hearing be scheduled to permit the presentation of expert testimony and

empirical evidence in support of the argument that the FDPA is so incomprehensible to

jurors as to prevent, or substantially impair, their performance in the task of deciding

between a death sentence and a life sentence.

                                       CONCLUSION

       For the reasons set forth above, this Motion should be granted in all respects

together with any and all such other relief as the Court deems just and proper. A

hearing is requested on all disputed facts.




                                              57
2:17-cr-20037-JES-JEH # 102     Page 58 of 122



      Respectfully submitted,

      /s/Elisabeth R. Pollock               /s/ George Taseff
      Assistant Federal Defender            Assistant Federal Defender
      300 West Main Street                  401 Main Street, Suite 1500
      Urbana, IL 61801                      Peoria, IL 61602
      Phone: 217-373-0666                   Phone: 309-671-7891
      FAX: 217-373-0667                     Fax: 309-671-7898
      Email: Elisabeth_Pollock@fd.org       Email: George_Taseff@fd.org

      /s/ Robert Tucker                     /s/ Julie Brain
      Robert L. Tucker, Esq.                Julie Brain, Esq.
      7114 Washington Ave                   916 South 2nd Street
      St. Louis, MO 63130                   Philadelphia, PA 19147
      Phone: 703-527-1622                   Phone: 267-639-0417
      Email: roberttuckerlaw@gmail.com      Email: juliebrain1@yahoo.com
      2:17-cr-20037-JES-JEH # 102        Page 59 of 122



                              CERTIFICATE OF SERVICE

      I hereby certify that on August 24, 2018, I electronically filed the foregoing with

the Clerk of the Court using the CM/ECF system which will send notification of such

filing to Assistant United States Attorneys Bryan D. Freres and Eugene L. Miller and

Trial Attorney James B. Nelson. A copy was also mailed to the defendant.

                                         /s/Elisabeth R. Pollock
                                         Assistant Federal Public Defender
                                         300 West Main Street
                                         Urbana, IL 61801
                                         Phone: 217-373-0666
                                         FAX: 217-373-0667
                                         Email: Elisabeth_Pollock@fd.org
                                                             EXHIBIT A
            2:17-cr-20037-JES-JEH
	

                   # 102    Page 60 of 122


                                                                   3;4
"*
	
*
	$*	
"

*
*

                                                                   
     	

	


	


 !"	 #$	%& '(%&
                      	

                                 
	+	1*
	
                	
                                                                   
	 0 +	*	$		 	"	">
          !"#"                       	
? 00 6	
                         $	
         %%&"'#	                    >  0  +	  *	 $		  	 "	" 
	
                                                                   0 	
? 0 6	
                         (	
)"*+
                               ,
                                                                   @	"*  0  +	  $		 *	 	 $
 
                    -./"*+
                                                                   	
		$

                               ,
                    0.12*"*+
                                                                   @*" 0 +		
	$		
	


 ) $*
	 + +	
 	

	
*  +	
 + *   
" ++        /
>
A8B
+
 

 * 	
 	

	 
 , 
" 
"
$
	++
	
+	
"+
"*
*
 
"*$	*
 -*./ 0 
	+	               
1*
	+                                                                  

*
$		
                                                                            

                                                                                -*

"*$*
"
"
2                                      5$	

	

*
	

                                                                            
" 	C
" #
  	 
3%4   5     $	
    
	    

*
                   
	6*	$	
6*$	
*
	
*
	6*
+	
	                    	$
+
"6* 
+	
"C	

	*
+
"	"	$"7                                        +
		*
 

*

                                                                            

*
  
"
 "    
"
3'4   5      $	
    
	      

*
                

 + 	"	 	 
" 
	 $" +
*
	
*
	 +	 
 1*	 6* *		
                     
"$	

	$	D

	  
	 	*
 + 
" 	"	                #87%%E9'(<ABA%B
$" *		
 8(9#'&987
                                                                            &
"
	

"	"


3:4   5      $	
    
	       

*

*
	
*
	   6* 
" 
" 
" 6*             

 	" 
	  	
	
	 	*
                             

*
$		
*		
 &%;#':%9 	
 '&                  

#::8' 	
 &8<#''&; 	
 &%<                     -*
#':(; 	
 &%8#'=;=7
                                                                            5$	

	

*
	

                                                                            
" 	C
" #
  +		 
 1*	
394   5     $	
   
	   

*

                                                                            *		
 + 
" 6*5 +		  
*
	
*
	 +	 
 1*	 
" +		
                                                                              *
  +  
	

"
 
	 	*
 *
	" 	
	
	
                                                                            	*
 

*


*
 
"

	*

*
7
                                                                            "
"

+	"		
                                                                            
" 
	 $" + 
" $	
 
	



                	
 !                                              
            2:17-cr-20037-JES-JEH
	

            # 102         Page 61 of 122


      $	7 *	  	
   8(9                    *
	
*
	 D 
 # 87 %%
      #'&98D
#87%%                       E9'(<
      E9'(<ABA:BABA'B
                                                                         9
"
	

"	"

      '
"
	

"	"

                                                                  $    
!                                                                         
"$

             

*
$		                                        

      
                                              D		

          -*                                                      " 	C
" #
 	"
 
  6* 
	
      5$	

	

*
	
                     C

$"+
"$

      
" 	C
" #
  +		 
 1*	                     $	+	 
 
" *
	
 
	
      
" 6*  
" 
" 
" 
	 6*                   
	
	+"
"+
"*
      
 , 
" 	
	 +		 
"
 
"                        	  	   
"*" 

  	
      
	 	*
 *
	" 
"                          6*   	 
$	 
" ""
      	
	
	 	*
7 *	  	
                  +  6*  	 *	 $$
		

        &%; #' :%9   	
   '& #:                
"  
 C*
  +
 * 
      :8'   	
   &8< #' '&;   	
                6*"*	*
"

"
       &%<#':(; 	
 &%8                    +
"**++
"
+
A-
	
      #'=;=D
#87%%                       0 +6	
+
"*
BD

      E9'(<                                                            #8

      %
"
	

"	"
                                    :
"
	

"	"



"   
             

*
$		
                                                                 %
&

      

          -*                                              '

      5$	

	

*
	
             %%E9'(<
      
" 	C
" #
  	 
      +		   $$ + 
" 	           ("! 
	+	
	+1*
	++
"*$	
      
" 
"    *
                 *
F*
	)%;(<((<&;&
      
"

"
		*
*
	"
                                                                 )
*+,

      
" 	
	
	 	*
 D 

      #87%%E9'(<                             
	

	 G1*	A#*B .#,?	
                                                                 G1*	 	,,	 G1*	 !++	+
"-*	
      9
"
	

"	"

                                                                 + /		
 +#$$


#   
                                                   G	?
" .   G1*	  0" . /		
           		6*
	                                      G1*	   - H*  G1*	 A#*B  
                                                                 $

 + 0*
	  /		
   +
      " *
	
*
	 $* 	
                                                                 #$$
      5 $	
 
	 

*
 *
      
   + 
" 	 + 
"            G G1*	 
"
0	,
      

*
  * 
" $
	  + 
"         G1*	  	" 0 ."  G1*	  * 
      6*6*$	
*
"               


 I  HH-  /		
  7
      

*
  
" *
  * 
 	          J,  G1*	  #

	 
 + $	

      
""	"
$
"

*

      
$	
 
"* 
"
	

*



             	
 !                                           
            2:17-cr-20037-JES-JEH
	

               # 102       Page 62 of 122


.$

	  -"	$"	  -	  #	*              

*
 $	+	   $$
 
" 1*
	 +
*	+
"#

	
+$	
.$

	         "
" * 
" $
 

*
 *++		
 $
 
                                                                   +
5	C
"#
	"


	6*
0++  K  G1*	  .
"  "	
 I
K  -#  /		
  7 K J "            J* 	 
" 
	+	 1*
	 1*	 * 

G1*	 "-	+0*
	)	
	
	 !            	
$
 
 	$ 
" 	C
" #
 	
+  *

H*		  #	* *	 + 
" " >	
            
" $C  +   	
$
	 	
   "
>*
)
	
*
+.0*
	                             		
 + 	  C
 " 
"  
 
"
                                                                   1*
	  "
  " +* 
" 
  J*
 
"

.	" >   G1*	  #	 		 H	
	
                                                                   		
+		*
	"
"6	
5
	
D	*
	+ /		
 7
                                                                   	
"
5*

"$


*
	

 
*  G1*	  J	 / 
*  G1*	
                                                                   
"	C
"#
+
"6*
+
"	
#	 		 H	
	 D	 $	
 -*	"

                                                                   /""	+
"

"	$
+
"
-6
  *"  
" 	  #	* *	 +
                                                                   *6
 
 * 

  * + 	
	?  +
 	

" #	 		 H	
	 D	 *
	 +
                                                                   
"C
	+*
+
"$
	 ,	


"#			H	
	D	$	

                                                                   *+*+
"0*
	
	*	*$$
	
-*	"
-6

                                                                   

"	++	*
1*
	
J+ .)G  "	+ 0*
	7 >!HH#
@#H)>D.#  @#DK>   G)L  0*
	                          
",+	
 
+
"
"+	1*
	,

	
*
	
"*
J                                    
"*	


"

-	

-G.D.)#+"	+0*
	
	 0*
	>                                         	

0*
		
?2
                                                                     D 
" 	C
" #
 
 
" D	
 


"

""
"+
 J6	.*+	
"            
	
*
	    
	 6* 	  $	
 6*
*
+	
)

	* *
            $	  	$
 + 
" 6*  +	 
" C	

+	
* -	+	             + M 
	 	*
 N 

*
  
*	 
" 	   	
  . "        

*
 
"
"
"

+	"	


"C$	
	

	
,
"
"$
        	
"
	$"+$	

	$	O
	+ .*+ 	 	
  	
" + 
" 	
 
**
!0*%' '(%8 
"D	


              ./J*5$	

	"
*$ *
 " 	  	
  
"
 	5      
"6*

"	 : 	
	*
	
*
	
 ("!!  $	
 
	 "  *
	
*
	
* M3
4" 	C
" #
 1*	  6*  
 
6*  
 +	 " +
  
 	$  

                                                                                            	

+ 
"N %  ! 0* ';  '(%8  
" *$	 *


	+	+	1*
	+

"	*
+	$	
	         )+ 
" +		 + 
" C	
 + M 
	
		
"*$*
.*9%!0*               	*
 N

*


*
 
"
"
'&  '(%8  
"	 *
 $
 	 	 + 
"        
" 

 + 	"	 	 
" 
	 $"
1*
	
	+	
"*$	*
	
           +  $	
 
	 $	 ("!"  *
  
.*+
"$$

"


"$$ '               6*  *
 
" 6* , 
" +		 *	*
                                                                   *

$
	
"+
)
"	 ,
	$

1*
	          
	
*
	
O
	
"
	
*
		
+*

5
"$



*
"*$	*
	
"
+
          0
 " 6* *
 , 
" +		 *	* 
 *
	 + 
"  
"
 	 	* 1*
	      *
J*
"
"
*

"
	*			
+5
"$




               	
 !                                                "
            2:17-cr-20037-JES-JEH
	

                 # 102      Page 63 of 122


$
 

*
  
 1*	 6* *		
 9  	
 	
*
	
*
	                                                                               

                                                                     "	 *
5 $	   
" 
	
*
		
 +
                                                                     5$	

	""*
                        	

                                                                     
 
" C

 
"  		

 	
" 
"  	
 !  
" 	C
" #
 
 
" D	
 

            
"	$		>	
"
	+	1*
	 
"

	
*
	 1*	  6*  
  
	 6*  
      ,		


	

"$			
"	



+	 
"
 
" 
	 	*
 +* 
 C	
        
"*$	*

*
	" 
" 	
	
	 	*
 +* 
 C	

* *%%

E9'(< 
"		
"	
	+		
                                                                     .)G  "	+ 0*
	  *	 	 
" 6	
 $
*$"	"
"
	6*M"	$

                                                                     *	  	
" " 0*
	 >!HH#  0*
	
+
"NO
                                                                     G)L6	2

0
/ J* 5 
" $
 

*
 

 1*	 
" 6* 
 $+ 
"	 +*
	 ;  	
 	                                      1/
*
	
*
	
                                                                     )6		
"6	
+*	*	
"

                                                                     5 *
 
" $
 

*
 +	
 	
"
                                                                     
"	C
"#
+
"D	



	
*
	
                        	
                                "	$
$C	
+
"*6
+*
                                                                     		*

 ("!# 
""
	++

"

 " )+ 
" +		 
"
 
" 
	 	*
         "+*$$""
"1*
	$*

*"*
+* 
 C	
 *
	" 
" 	
	
	 	*
              " 
" "*   M N
+*
C	
*
6* *

"6*,            M N
	$
)	
"
"*	


"
+		*	**
               	

"+	
	+	1*
	+*	

$
	
"+
	
*
	
O                    
"6	
5 !$		 	"	")"$$	
                                                                     +* 6	 " 1*
	 $ 	 
" $$	
	
0
/1*
	+*	
"	
		              +  +*
 
	
*
	 	"
 
"
 	  

"	""1*
	
                                 

P
" 	"
 
  
	   6*P*
 
"
 " 
                                                                     
" *6
 + $C 6*		 C$	
	 *	 
"
                                                                     $
+
+*	!	
"# % 
"
                         	

                               		

	+
"
"$


*6
+
                                                                     + 
	
*
	 *	 K	 
" 		 
 # )+  $* 	 %% 
 
 E 9'(<5 $	
        
" $	 	$
 + 
" *6
   *


	 "  
 $
 	
" +                 )
"+*
"	

	
"

	
*
	 
   
" $		 + *"        C$
	+")"
")	"
+
"	+%%

E9'(< 
"             +	 " 	+
*
$	
"	
*
	

"6*
"
$

	
"+
	
*
	
O                               	
	 
 
"	   
" 
 	
	 + 1*
	
                                                                     + * , "
" 
" 	C
" #
 1*	 
./J*
"$
	+
"6*6*           6* 
"
"6* 
,+
"+
*+		
$	
*E9'(< *
	              	 $	
 
	P	*	 	 
" +


"  "	" 
 $ 
" 

*
   
 $     + 	
+ 	 	 "
" 
" 	 
" $$$	

	
 J*     
  E 9'(<  
" 		   $*	"
P  	+   "
" 
" 6* *
 ,
"
" 
 	

 
" 
" $
P	+ * *	          *" +		 *	*    
*
	
  +	P * "
 $*              *
 #
"*" ) , 
"
 
" 	 +
"*+


"K#
                                                                     	
 ' 	

 	



"
M3
4"	C
"
                                                                     #
1*	6* 
6* 
+	"+



               	
 !                                                 #
            2:17-cr-20037-JES-JEH
	

                 # 102      Page 64 of 122



	$
+
"N : #	
	           +   	
 $ *"  $       	
 
                                                                              ;
+

D*$*
,	
	$	              %       
"	$$"
+  

 
 
  

*
 * "	"  +

*
	
"
"$
	+"		
.
"             +  "  ) +	 	
 	$	 
 
	+6**	*+	
"
+
	*	
           	 +  
"
 6*		   		
 
 
"
+	
"
	$*	"
"P+C$                	"

6*	
"
"$

C

"	
"
+		
"
+
"	

$
	*
$             6*,
"
	
	
,
"
+ * + "	" 
" 	
* " 	 
" 	     +
 		 
  
 
 
"  
$	$
P	
	+		*
                  
" 
" 
 , 
" 
	
	 	
+ 
"


  +
 
 
"  
" 
	 *
"	
       *
	+
"+
		+

	
"
*
 	  
 +
 	  "
"         
)*
		
"	C
"#


" +
 "* 	  	  	" 
" +
         			 	 
 
" 		 
"
  	

	 	
 " 
"   ,  *
	
           		 + 
"  
" 		 
"
 " "* 	

	
	 + "
" 
" +
 "* 	           +
 	 " $
! 6*	$* " 
 
	$
		+*
 
$	            	 	 
" $
  
"
 	 	
	
 	
	+ 	 $	 " $
	 + 
" 
	 *
"	
      	  +
 	 
	 	
" 	
+  1*	

 	  $	 
  
" 
"  
" 
     ,

"

"
6*	$* 
"*"
*
C	
#+
	
	+
"+
          *
	
 ""$	$*
		
"
 
	
	 
"
 
"  + 
" 
 +
     "	
	+#	6*		
"
"
	
	"	++
"
 
"+

            $	*+

 	*	*
	
"

                                                                     #
 
" 		 + * .$*	  
"*"*
 

 
"   	+ 
"  	 +  	        + 	
 "	
  +
 	 
  
 
" 

"
  6*  
" 
"  6* *
 ,  
"         * 6*	 	 
" "* # 
"  + 
" 6*
+
*+		MN++

	               $	 	$

 "  +
5

" 
 9  
" 5 

*
 
 
        	+  	 
"   * 	
  * 
"
 
J* * K # " 
 	
" 	
          +
 * *++ 
" *
	
 $*	"
  	+

  
" 
 + 
" D *$ *
            
  + 
" *	
 	
 

"
*

*
	
+
	
		1*	             *	* * 
"
 "*    

 
" *
	
 
 + 
	  	 "	" 
" +
   	
$*+	

"
"

"
 
 
  
" 
  	
	
           "
*	
"$
+
"	
"
	
 	
  	  	" "	 $$	
	       	! "	"	
"

"	C
"#

+ 
" 
	 *
"	
5 6*
  	          	"

6*	
	$

+*
"
C$	

"+
+	"
	
"*
	
        
" 	* 	 "
"  +
 "* 	  	 #
		"
"
"+
"*		/	
"*
           
" D *$ *
 "  	?  
" 	

"
 C	   +
 ("!$   	  
"        	++
"$$	
	
"
+
"*

	

	
"
"$		$
	"D          
 "	 
" 	
"*
  6* + "	 $ 		 
"

*$*
$
	                                "* "$$ * "  	 
 
" *
                                                                      
, *
 + ,$	 	
" $	
 #	
)	?
"

"		+	

            $
	+
"
	+!	
+"
+*+*

"
      	$ 	

	 
"
        $

	
"
"+
"	

+
*+		
"
,+
		
	           $	
++*

	
	

"
"$
*

"6*D
"
               $	 
"
 *
 	*  +* 	
	 +
$$"    6* "   
"
 	 

*
	      
" +
 	"	 	 + +   
 "
1*	 
 , 
"  $		 $*	"
  
"          
 	* $		 
" +
 + 
" +*

6*5
	
*
	1*	
	         $

	 +  6* "	 
 , 
" +	 6*


"*+6*
	$
	-
 "           *
 "	 +
 )+ 
" 	"
 
  6*  
"	  	

	 	 	 "$ 
	 	
" 
" 
 	     
"	"

"6*+
"*	

                                                                      
	   $C + 	
 	 	  



               	
 !                                                   $
            2:17-cr-20037-JES-JEH
	

                 # 102      Page 65 of 122



"
"6* ,
"+*		"
"

"+
"*		
                                                                                                      11/

 $ ) 
"+ 	  	
 $	 	  *      C$	 " )  
" 
	+	 1*
	 
	 
"  ! $		5  
 
" 1*
	          
"D*$*

"
	
"
	+	
+ * D * 

*
 
"
 +	
"+* $
 
"    1*
	+* 	
		
	
*
 

	
1*	

	

	+
          *"*
	 "
	



"

"$
+

"+
 ("!2             	
"		

	+
"
"$
 "
	"
"$
	+		 +		             	++

"	,+"*
	+*
 
" 				
 
   	+  +
    J 	
   	

	 + 
"	 $ 	 
*

	 
 	  
" 
 "*  * 

*
 
    		$	+	
	+$	
*6


 # 
 $*
  $		 	  	 
  )        	$	
"	

"
)6* 
 
" 
	 
"
 
" 	C
" #
 	"
 
         
	
"	
	"
	 )	
6*C

$"+
"$
             
""

""*	
$	+	 
 
" *
	
 
	 
	
	 +
                                                                     *
	
"		
	+
 8
"
"  +
 "* 	  	 #
"*" 


 	 6*   	 
$	 
" "" + 
                                                                     #
 
" 		 + * .$*	  $	 + 
" ,	
6*	*	$$
		
 
"
C*

                                                                       "  "  +
 $ 
"
+
*6*"*	*

"

"+
"**++
"
+
                          $	+
"		 *, = )
 
                                                                     ("!3  +	 	 
 
" 
 &  
)  
 
"
 
"	  *
   "        
	
	 	 GP
" $	 C$ *$
 	1*  

	 *
  "	" 	 "	          "	" * 		 6*
	 
  *	
 <  J*

"
 
" $
	 + C*
	  +
 	
"*
 
"       +
#	
	$
"

"
"$

$	*	*
+6*	*
+,$		
"             "  #	 		 

*
 "  *
* "	
  
  
" *
	 $*	"
 *      
  
"  	
 + 	 + "	" 
" 
 *** " 6*5 "	
	    	$


                                                                     
" 
 
 %(   C$  	 
" %=<(
+* 	
 "	 	 
"	 
 	
	 +
                                                                     -	
"+	


M
	

"**

C
  	? 
 
" +*	   $	
                                                                     	
 + 
"   +		 
" 
 
"
	 
 

 
  ,	 *  

  +

" + *
	  	? 
" 
	
 + 
"     $
 
 Q* + 
" +	
  R N %%   
 
"

6*5 "	
	     $		 	 ++
 
 
"
   *	
* %'
	
	
                                                                     
"		+*
	5"	
 
"6*5
	

 	
" 
"	 	  )  * 
"
 
"      
" 
 	 $	
  M *1*
	N %:
 
" $
 

*
 	 		

 	
" 
"       "	
*	 "6*	
"	+
	C
" #
 
 
" C

 
"
 	
  
 1*	
                                                                     
" 		 
 
" 		 + * "	
 %9  #
*	*6*
,
",	
	+		
                                                                     	
"*
  C$
	 ) "   
 	
	+  
 
 	$  
" 
  $	 
                                                                     +
  $*
 
 
" 	 
"  
 + *
*


"	$
	
                                                                     
	5 "	
 	
"*
  6* ,	  
" 
+ * .$*	  
" *		
 1*	
  
"
   *
 
 "  	
         
	
	 1*	 %;  !+ *  	
 	  	
 + 

 
" 6*5  	 *	 
"
  +
 "*     	 
  
"
 6*	 M
N +
 

*++ 
" *   
	 + 
" *	
         
" $	
 
	  
 	+*
   M3
4"
*	* 
	 
"
 "*  
"   *         1*
	 + *	
  
" 1*
	 + 
" 
" 
 
 
"
 1*	 
" 
 "  "	"  +     	 	  	 6* 	
 
 
"  +  	
+	
"
C*
		
"6*
*
                        $	 *
   	 
	N %8  J*
  	

                                                                     *    	*
 
  
"
 
" 6* 	
                                                                     
 "  	$

  	 C		 	
 	
	



               	
 !                                                    %
            2:17-cr-20037-JES-JEH
	

                 # 102       Page 66 of 122


		
"

	"
"
"
+
"*		                                                     " ""	$ + $*	"	 	
"
                                                                                  
"  	 	 	
"	
"
,
	"	"6*		
"	1*	

	                       
"+		
	+*

                                                                                     
" *
 + 6*
 +
 "  	* *	
 %=  J 
"	 *
                                                                                  
 * 	  $	
 	
	

	 + ("!4  *	+	
	   6* * C	 	

                                                                                  "	*#		
*
	  +*	 
 	
  *	
 +

                                                                                  	  
	  
  
$	 * 
" 6* 
"*"
 
"
 
"  

                                                                                   + * 
  $*	"
""  $*	"
 + 
" 	 .
" 
" 
"	
                                                                                   	$	
  	
 + 
$
	 + *	+	
	 	 
 "
		
 
 6*	 
                                                                                  
" "
  "  
*+*	
	 	
C$+
"
                                                                                  

	 	  + 
 2
,	$
+
"6*	*	
"	
	+
                                                                                  	
 )  

  (""5
*	
	? %& 0"# +C$ 
2M)
	
                      
	
	 

*
"$
3
"6*54	"
 *
"	*

+	
"	
                    
	"	  + 
" 	
	
"	
*
	 6*
                             + *  1*		 
"  +
	 
"*"		
$$	
	

"	
	+                       *
+*
"6* 

"*
N %<                                                                    $		
"

"*
"$
                                                                                  
+
"	
"
" $
	 + *	+	
	  C$  	$

                    	"	"
"6*
*	
+
*	
 	$	
 
"
 

*
 	
  
                           *	
+*	
"+	

	?  "	" 	 
"
 	 *  	* *
 
                 
+	$	
"

  	  	6*	* 
 	
  
                    
" 	
 	 *	
 + * 	

  
" 
 "+   -	                        
"    "
"   

 		  
" +	 +                    	++	*
 + 	  C
 
"	" 
"   
 
 '(   +                       
	+
 +		
	 + 
*	*	
*
6*	                           	 
" 	 + *  $$	

	
+
++"		"	
                          
  $	 	*
  "
C$	 
" +
 
 
" #  
	  6*                       
" 	
* 
 $+ 
"
	
	
			
*                            	$  +C	 * +





*
	*"	"                          +	 *$ 
" 6*  	 
+
	
+
"
	*+	                          +* 
"	"
+		
P*"	

	*P*
"	                            "
"	
"$*	"
"
 
 
" 
" 
" ) 
" %&:(  9(  
"                  	$	
 ';
+	




"
	
+	
*
6*		
		             C$
	 
 
" 6* 
	
	   	

                      '%                                              	  * 
C
 
"
 
* * 
"
$	

	 !*K#		
*	

	%&;' 	
"+	
*             	$
 + 
" 	"
 
  6* # + 


	

"
                 *"$$ 	
" 
" 	"
  
 , 	
	? 
*		*"" $	

 ''              
"*

"	+

"#
 *
,
"	
"6*$
	
	
 *

C$

"            *		
 1*	
 + 6*	  	  
 *
 
"
+
+
"	+	
+	
"
              	+		,6* '8 J*
	
"
"
	
	 ':                                                         C$
	 
"$	
*,	

2
                                                                      +
	
"
"
"6*
#*
"++
"

$
	
	

*
            
	
""*#
"
6*
	
	"

%<(( 

++
 '9 )%&<<           
*	* '=

" D *$ *
 	
+ *	?  +

",$
2                                                 !$*
+
"6*5C$		
	C		
                                                                      
	 	
	  "
"  +
 "*


                 	
 !                                             &
            2:17-cr-20037-JES-JEH
	

                 # 102      Page 67 of 122


	  	  
"  +  
 6*		         
%<8% :8 #
"*"
"

"
"
 (""   	 
	 +
 	
  6*	      $
  	
 	   + +	
  * # 
"
+ 	

	  	 + "	" 
"  
               

*
   
" 
 + +	
 
$	
G	*"	
 
"+	            *
*
	
"+
		
"

"
 	 
  
" 
" $
 " 
	          6* " 6* * 
  * 
" 
	
	 
"
  	+   $	 
 

" 
 
" '&  #     + 	
	 +    + *    +

	  
" 
 M$	N  	
+ 
 
" 	"
        		 
" 	$	
	 +  
" 
  *
 *
    	 
 "  	
	
*
		? 
         	
 + +	
  *   
+ 	
	 +
 '<  ) G  
" 	        $	
 
 
 
" 6* := P "	

"  
 + * .$*	  
"   
	
	     6*		
"	
"+5
"
+ 
	  6* 	 $	
  	            $
 :& "	+
+	
	
	
*
	
       :(
  # 	
 
	 
"*"  
"
 
             + *  	 %<%= :<  ) 		 6*	
 	* 	 "* *6
 +
 
 
"         	
	 
 C	     	


 
"
 
"  
  
" 	* 
	         	
" 
"  
 	 

 
"
 
	 
" 
"
$
	
+*+	6
	*"
	*
	
                                                                     $
	
"

	
"
* 9( J*
 	
"
+
	  *"  "		

	  	
	
*
	 *" 
                                                                     
	6*
	
"

	
 M$	

		N " +
 * 
                                                                     	
	$
"  9%
$ + 
"	 	  :%  	

 	
"
                                                                      (""! MJ
"+//) *
	"




" 
	
	 
"
 6* " +
 	  
"
                                                                     >		 
"	
	
+*		
""$

$$$	
 $*	"
 " 	+  
"  
 
"
                                                                     	
	 
" $
 "  	" 
"
	"	 6*		
	+$	
++
                                                                     
"$


"J%<8: +
"		
  $
 :'  #  " 
" 1*
	          6*		
	 " $ 
"	 *

	 
" $



"
,+	+
" *

"*
                                                                     

*
	
"	
	6*
	N 9'
+"
*++
"*$	
$	 6*		C$
	$"$*
                                                                     K	 
" 
	* 
	
 + 
" 6* 	 $	

                                                                     
		
"D	


 	
$"$*
J+ +
+	 
 
" 

* + 
" 
 	
$
	+"!		%<=' 
"              +
"*$*

	& 	
' 9:
	$

 +
 *
  	 "	 *
	            	%<8&
"
$	
6*	MC$
"	+
"
+ $
	  	
"*
 	
*	  
" +         *	

"*
	
1*
	+	+
"N 99
0*		  
" + 
	
*
	 ! 
 +	        #+
    + 
" 
	 &   	  6*
D*$*
	
"
	
*
		
            
	 	 $	
   
  
"   *

+ 
" 	* 

 $$" 
 
" 	* "
 	     * 	  *
 
 

 9;  J 

  6*		
* 	
  
 *
	 %<:' 
"
 
" D *$         
	 + $	
  "  $

*
 +	
  
 $$ 
" $		 	 
" J	 +   	
"$	

"$	++$*	"
+
.	"
 $

	 		 +
 
 
" 

 ::        
	*	)$

 	
	
"	
# 
"  +  "	 
"
 
" *

"            
	 $	 
"
 
" *$ *
 " 	  	

#
 	$
 
" $* $

	 +            ( 98 
"

"*

"#
	$

		 +
  
"
 
" 

 " 
 	
                                                                     
"	C
"#
5	"

6*
	 9=
 
" $

	 
 
"  C

  
" +

	
"+
//))

                                                                     # + 
"
 
	  
" D *$ *
 " 
	 

	
"%<8( :9                                                     "
"

"
	
*
	$$
	*		

                                                                     

5	$	
	+
"
"$
J+
" M
"
 (""  		
 	
" 
"	     
          
"$
	*
"	?N




 ,	 
" 
" $
  	 $$	
	         1*	6*		
	$
	
"+



+
	"
"
"$
 :;          
	
*
	

"++
		+
  	 
"
 +  	+ $	  + %<;&        
"

"	*
"

"
"$




               	
 !                                                 	
            2:17-cr-20037-JES-JEH
	

                   # 102    Page 68 of 122



$$			
			
 9&             
"*$*
	
K	*$*

	

 	
" 
" 
	
	 , +  +  	   		 "	"++	
"
++


" 
"*$*
	*			%<=%             	
+*+
	
+$
                                                                       C *$ *
 		  "	" ++	
	)"	
* 9< "	
"


	


$	$	

	6*		
",	+            
" 
 +  +
 	
 + $ ;:
*		
+	
	
*	,	
"	+        )"+
"
"

*

	* M
"
	
	

"
	
	"*
C$	"2                     + "
" 
" $
 "*  
"   	"

                                                                     $*	"
+

"



"	
	+
"
             ) 	"
 + "	
  C$	                     6*  + 
" 6*N ;9  J* 
"   6* 
	
              
" $
 		

	 +                      	"+
"
" *
"K	C
             "* ,   +	 	
 1*	
                  

*
6**
	

"+
"+

             	$	 
  
"
 	

	
                                                                     

" ;;
             

"*
	
	+
"
             6*
"$
$*	+
                                                                     " +
 	 ! * 
"
 
" K	
             
" 	 $	
  	 ++	
                                                                     C

*

	M*		
	3
"
4
             
 
"	 	 
" 
	
*
	
                                                                     	
	$	

		
	*	"

"
             " ("""  

  
	
 

             * 
"
 6* +
 	
"                  "*	
""*	N ;8 M
		
             
" 
*  $			
 +                  
 		
 
 
" +	 1*
	2 Q
             	
"++"*                      
" 	$	
	  	 *
 + 
" 
" $
 	
             	 
 	
" *  + 
"                  A
"B
	
*
****$*	"
	
             1* + 
"	 		                   	
	 + 
" G	"
"  *

" #
OR
             	 	  	
 + +
                 N ;= "$	
*
"
"
	
	
              + "	" 	 " 
             *

"	
"                     #
"*" 
" *
 
*,  
" 
 	
                                                ;(                   
"   $$  	
 
$$ "
 + "	 
"
             *
++*
                                                                     
"$
*
	
*
	
	

)
                                                                      (""#   $$"  ! $		  
" !
J 
" 		 + 
" %<=(  
" 
" $
 
                                                                     6	
"M
"

"	$	
		*
+
"
	  $	 $$	 
" 
  $	* 
	
                                                                     
"$

	
*
****
	 * 
	5 "	
   $*	 *$$
 + 
"
                                                                     $*	"
 	 	
	 + 
" G	"
"  *

"

"$

	 ;% )"

                                                                     #
N ;& J*
 	,
"	
*
	+	*
	 
" *$ *
5 	 
"
 6*	 *   
                                                                     	
 
"*
56	
*
C



 
*

C	
"$
"	
	
*


"+,	
"	+
"           " 
"
   ;<  " 0*
	  " *
"	 
		$*


"	
"*
$	$
	+6*		          $
 *	 $		  
 
 
	,  
"
*	$
H	,	 )"
	
"

"             
" 
 * 
" 
" $
 

*
 	
*$*
*
"$


	*              1*
		
$	*++		
$

	
*

    
	
	  

 	
*      
"
 
" 
" $
  
 	$ 	  	

J*

"
 +* 	

**


"                 $		*      *
   $$	
                                                                     					
 8( #$

                                                                     

	 C$	 	
  
" ! $*	
 M" 
"
 
"
                               111/                                  
" $
   	
	   	$
                                                                     
"
 	
 	
 
" G	"
" #
N 8%  " 	
"  C
   	 %<='  ! 	
 "# *$
        + 
" 
 
" 0*
	 " 
 
 
* 
"

"
	
	
		?
"+*
	"	"             	
			


2"		$	
	


 
" $
 

*
 
  *	  

       + 
" 
" $
 
  +
 
  * 

 $ 	
" $$" 
"
 * 
" 6*5       *** $*	"
   
"+  *
	
*
	
	 
" 
" $
 
	 $ ;'  ) !        *
"G	"
"*

"#
 8'


               	
 !                                                  '
            2:17-cr-20037-JES-JEH
	

                # 102       Page 69 of 122



$	
 
" , + *  ! 	+	 
"
         
	
"


,	++
$$"
	
 $	
 
	 " *
 
  	 "*         
" 	 + "	" 
"   $			


 	 	
	 
" G	"
" #
2 M!              


$
$	+	

*
*"	"

 
"
 " 	
	 	 ++  
	       +
 *  		 +  
" 




"
	
	+"
"            	+ "  +* 
 " 	

  + C$
 "* 	+ "*  
,  $  
"
 	
	    
 6*
  "		  *
  
$ + "		 
"
 
"
*
  *	
 	
  		
   
 			?    

*
 	
	+	  $	 	*  	

"	,+"	
$		*
	N 8: )         + "" $*	"
 =:  "*  
" $
! $	


" "
!
	"	
"

"
          
	 

*
 +
 	* 	
 + 
	
	  $	
  
 " M*	 	
	N 	     +
 	
 
  
" $ + 
" 		

	+
 89                                          	+
 =9



                              16/                                                                  6/

K	 
"
 
"  $
	 	 
" 

 +         J
"	
	 
"	$	+	
	
	"
!  
 	 
 
" 6* 
" 	
	 
 	$   *
 	  	$ + *$ *
 	
	
	+
"
 !"
"$
	++
           ! 0* '  %<=8  
" *$ *
 	 +* 
+ M
3	,	4  	
*  
" $
         
"
  
" 
	
*
	 1* + 

		 N 8;   
	   +
 
	*           

5 

$
 
 $ 	
" ! " 

                                                                    +* + 
"  M0* ' N   +
 C*
	 88  ) +
  M34" 
" *$ *

	!	%<=' 
P	*	
"               *  "## 	
 "# =;  #
 	* 	 "##  
"
0*
	 
"P	 
"
 #	 "  	
        
	
*
		
 + K	5 $	
 
	 "
                                                                    
"
  
*
* 		 
 
"
 "	" " 

 C*
	N 8=  J*
 +
 !  
" $	 (""$

 	 
" 

  * )
 + 
	   
*,  	 ! =8  *
 "	" 

$
 


 !  	"	 
" $
 

*
  
      !51*	
M$	3	4

$$ " C$
  

 $  $	          + 	
	 
 *	 
" 6*5 	
	 	 
		

"$


*

"

"
"*"
*
	+
"          "
"
	$
"N == "*$*
*$"
1*	
!
	" 8& ) +
!           K	5$	

	"	+	
"

+
 	  	 	 
" 
 
        	
 "	 	 !  		
 
 
" 	$	
	 +
                                                                    
"
"$
	
"$	+	K	C
"	"
 8<
                                                                    
 	* 	 ! * 
" 
"C	
	 

*
 =&
 	 	
	  $ 	
" 
"                    ) (""2  ,$	 	
" "
 	
 
" 	  
"
G	"
" #
  	
$
 	 !  

             $$* $		 	 
" D	
 

 =<  
" *

C$	
  

 " 
"	 $	
                " 	 "## M
"
 
" $*	"
 + 
"  


	"+
!

"
	6*            			

"
	
*
	 N$	+	
"

 , 
" *
	
 	+
" 		 =(           G	"
"#
 &( # 
"*
"
"
$	


" 

 
 
 

*
  "	" *
	       $*	"
	
****$*	"
+
"
$	+	
+	+"	"
"
"$
           	+* *
	MC

	 *	



"1*	
 =% "
	"	
"           
"
C
+	N &%


*
   	* $ 
 !5 
*
	
				
	2)++
          !+ 1* 	$
 
 "##5 	
	 + 


" 	

  $	
 ++  *6
 
 
"        $$" 		 "
  "  M*	

" *   			
	  	
	 	 
"    	
	N  
" *$ *
5 6
	 +

	 $ 	
	 * 		 1*          
 

*
    
 	
  

" ='                                                           $		*	$	
	+
"
"$
)&	



               	
 !                                             
            2:17-cr-20037-JES-JEH
	

                 # 102       Page 70 of 122


 &' 
"*
	
"
"
                          $$$	
$*	"
	$	+	
++*+
""	
++	
                           &8
* *
	 + 
"	 $
		$
	 	  
 
" 	   + 
" 

 
"
            #+
 &  	
  	 	 
"
 

 *

"	$	

	"+
!
              
$	+

*
	
+	+"	"	
	
, 
" 
" 
 
 + 		 	         **

	*
	
"
#
"*"
#+
M,
"	
""	
+

"$
               
" *$ *
 " *$$ +
 $ 
"
 
"


*
 	 
" D	
 

 N 
" *
 
 
"
          *+$	 (""3 *$		"

	
 +		 M3 4 
"
 
" $
	 + 
	 
    C$
	 &= P $			
 
" *$ *
 


"  $ 	
 +  $
	* ++ "       C$ 6
 	 %<&= && P

 	 
"
                                                                &:
6
**""*,		N                  
$$""	*6
 &<
#  
" *
   M 
 
" $



*
   
 +*+	 !5 	 1*	

                                                                      # 	 %1 	
 +2 <(  
" *$ *
 	
 $	 	
  
 6* 	
	 	
"
                                                                      
" 	
	 +  C  
 
 
" +
6
	 
 
 *	  *	?   ,
                                                                      *"C

*

	*1*	
"
	

		
"$+	$	

                                                                      6*
	
"
	+
*	
	
+
"N &9                                                         *
 	 
  	
	 + 	
	
	 +

                                                                      " *$ *
 		
 
"
 

*
  "	
&
"
"
	
	M
	
*
	              
"
 M	  
 
 
" 1*	
 + 
" G	"
"
"
	+
"
"	

*
		
+	*
           *

"#
 $	

	


"$
	*	?	
	+
$
            *

"
	*
"	

		
	
	
+
""
+"	
+

                                                                      	*
N <%  M# 6* N 
" *
   M*

+
"	$	
	*$"	+
+
"N &;            
	
"	+
	
"*
C$	2                                                  
"
"
"*	$ *


             3)4 $	
  
" +*
                   "	
"*
	$N <'
             $
 + "*	
 *	
             
" G	"
" #
 1*	                         ) 
" +	 0* '   
" *$ *
 *$"
             	
	 + 
" "
                        
" $	
 
	 " 
"
   +

               + 
" 			*                         !
	
"+6*
6*
		$	

             ++  
" 	*
                         +  G	"
" #
 " ) 3**
             + 
" $
	* ++                        	
 <: 
"*
	?M
"
6*
	
             
	
*
	 		$ $
                    	  $	
   $+  	$

 	

             + 
" $ + 	+	
	 
"                    +*
	 N*

"C$	
"

"*
"
             $
 + 
" +                     M *
 
"
 6* 
	 	 
	
*
	
              ,                          1*	N <9 !+* 3**		%<=8
                *                            
"   +
 
" *
 " +	
 " 
"

             ,	***!                  
"	C
"#
	"

6*$$		

"
             * ! !- 	 #

                                                                      

 <; #3**C	
"

""

             -   *- ** !
                                                                       *" 	  + %<=8 
 $ 
" 1*
	 +
             *! * ! !   .//0
                                                                      "
"  +
 "  	"
 
 "  6* ,
               ! ** *! 
                                                                      
" +	 		  
 
"  	 
" "	
             *     
 J*
                                                                      "	
	$+6*
	*
"	
	
"

             + 
"
 1*	

	 	++  
"
                                                                      
	
	+
             	  $	 	++ 	
             
"  + 			
 	 
"
                                                                      /"
 + "##  
" 
" 0* '  
             
	
	 
"
 
" 	 
"
                                                                      
"+
"$


*

"
+	
                                                                      
"
 !  	
 $ " *

 
	
	 <8


                	
 !                                              
            2:17-cr-20037-JES-JEH
	

                 # 102       Page 71 of 122


-"$**$		 
"$C	
+
"$*              	 	 
" , + !  "##  
" *

 + 

 
 	$
 
" 
" $
 	        +*+
5	"
*
  	

 	
" 
" *$ *
5 	          
"	C
"#
$	+	 +

"


  	  1*
	 	 
" $
	         
 

*
 $$" 
 
	+ !5 ,
 + 6*  6* <=  ! 1* + 
"           
  
" D *$ *
 	*  *
*$ *
5 6*	$*    "	" 	 
"
         + 		 	 	* 	* 	 
"
	
    $
	 +  $	
 +
 
      $
	+6*6*		$	

	
 *6
 
  	* $	 +
 "	" "	 *	

$*	"

		*
*  (""4                  )   	
  %(;  + C$  
" *$
* 

 * 
 
	"  
 
"           *
 	 	5 $	
 
	 "

	 <& # 

1*	

,
$          "	"  
" 
	 6* 
 	

 		
 
" 	
	 	 
" $$	
	 + 
" 
"    6*5 
	 + 	+ 	$	
 

$
 <<  "*  M 
"$
 

            	$  
" 
 %(8  "	 	 $	 "

*	
 
	 	 + + 	+*
 $	 
"
         "$$
$?	5
	  ("#5 $?	
$
 
"  	
  Q*	
R $"   Q$
R      
 M
"
 	  6* 
 	  6*5
                                                                      
	+	+	

"G	"
"#
5
$"N %(( J 
"	

"


"


                                                                      $	$
	 	
 Q*  *** $*	"
 R
*$$+
"	
	+
+

                                                                      N  M
"
 
" 36*		 	4 $
	 	

	  "
"  $
	* +
  
"

"$
 	*		
	
	+

             
" 	C
" #
N %(=  $	
 
" +
 
"
 
"


	

*	
	H	,	 	
             *$ *
 " 
 " 	  * +

"	$


*$$
		
	             
"
 $* $

	 + 
" *	
 


"	$	
	+
"
"$
 ,	*
"
              +  		 P	*	 
" *
 
	
  
 	$ + 	 
"
  
 *++		
     
" 	C
" #
P $$	 
 
" $


	* %(%  "	 $$
		
 	 	           
 %(&  
" *
 6
 $?	5 *
 
1*		
	+
6*

"
" *
+         *$" 	5 $	
 
	 "  "	

"		 +	

	+6*		
"         M
"
 
" 	  
	
*
	 	$
	 
"
  6*
                                                                      " 
" $			
 + 		 "
" 
" 
"

"6*$+ %('
                                                                      $
 "*  	$N %(<  # 
 $?	5 	C
"
) 
	 
 
"   
"
  $	
               #
 *
  
" *
5 	P"	
+
 
	
*
	 $

	 	
 	
           	
	"
G	"
"#
	*		3**P
 $		* 	$	
	 + 
" 
" $
             *
"
	
1*
	+*2


$


*

"
+

"C$
+

                                                                        "	 *
  + *  " 	? 
"
 

"
  "	
	 *** 	 #	 "	
P
"
                                                                        $	
 $	 	  $
   
	
$			
+	C*
	
"*
6**	*
                                                                         
" 	* + *	
  	 J* 
"
	 
"
 "* "$$ "
 	   

 $

                                                                        M
  C$    +  


*

"
$	$	+	$

!5
                                                                        +


"$
$"+$	
*
    + 
" 		 "	+
 
"
                                                                        
	   
 
 1*	
 
 
"
 +  
* + *
"	
 + $	
 
	 
	
	
                                                                        +
 
 
" *	
 $" +  		 
	 N
 + 6*	  
 6* %(:  ) ++
 
"         
" *
 " * 
"
 
" * 0$
!
"0*'
	
	"	
	              *  
" 

 + ,	 $
 ++

*$
$		"	"
		$	
               
 $*  
 
 	$ 
" 
" $

	
	
+
"	
	$" 	"	"6*	              " +
 
"
  $	
 
	 	 	,  
	 	 
"



"	
	 	"	"             $
 		+	
 
 
" * 0$ *
	


"
6*	"
"
 %(9        " 

"
	
		,
		$

                                                                        		+	
 
 
" 	C
" #
5 *
 +
/" 
" D *$ *
 	 
" $	
                6* 
	 " *
5  	 # 

	 

*
 
"
 

 	
* 
             	
" 
" 	, 
"
 
" 

  	
"  	
 *



                	
 !                                                   
            2:17-cr-20037-JES-JEH
	

                 # 102      Page 72 of 122


  *   +
   
" 	 
          	
 M
"				
+
NP
"
	
  *	$
"$
"			             "* +C$ 	++

"				

  			+
6*
	             +
C	
 %%&
  
" 
	 	* + 	+  
" " 

  "
" 6*  6*  "  
	
*
	 	
	      "*$*
	6
+
5*

  
*

"*	1*	*
+
"			*             
"
 
" 
	
*
	 1*	 6* 
	 	 $	

  +

"
5		+	+	+	
                                                                     	&	
$ %%< " $	
+

   	$

  $	
 	
 *	1* $
   $	

                                                                     " #	?5 $	
 
	 " *
  
	 $	 	 
"  +*

                                                                     
" 
" 	C
"  G	"
" #
 " *

  	* 	 	  
" 
	 $	P
                                                                     +	
 6
 /
5 *
 
"
 #	?5 $	

   
	
	 + 
" $$$	
 $*	"
 

                                                                     
	" "	"1*	
"
	6*
,
   	$   			* " 	C
" #

                                                                     +
*+				$	

	
  "
"*"

*
	"

6*
                                                                     
" 6*  	    *++		
 	
	
 +
  
	
	+
"
	* %%(                                   
" 	 " 
" *
 " *$" 	  
                                                                       "  "	" 	 	 
" 6* 
 

 ("#  *	 
 $?	5 G	"
" #

                                                                      	   
 , 
" #	? 

*
 
*
  
" *
 C$	 
"
 
" +
 
"
 
"
 
" 

   6* 
 	  6*5      * * 
" 	C
" #
 %'(  " *


	+	+

"

"

5              

*+
"6*)

$	
 
	 "  *
	
*
	 *         	   ! 
"*

"
M3
4" G	"
" #
 	 
 	
  
	          " M
"
 ("#  
" #	? $	
 
	 "


"*		++
+6	
+	
          
	

"	C
"#
N %'%  
"
	
"

		
	
		N %%%          *
 6
 /
5 G	"
" #
 *

                                                                     *	
"

"$


*

	

" *
 ++	  C
 	
 "	 	              
"G	"
"#
*	
$*

"*
  	  
    + "	"           +$		
	
	+
$$+
"
		5$	

	")	
          	
"+
 %''
 %%' +C$PM !			
"*

	+	  *
   $ 	
	N %%: P
"           	  	  	
 $5! %':  
" *$ *

*
"
"
M
"	C
"#

1*	                "
"
$	

	"
"
M
$	


"
 
" $	+	 +		 *
"	?	 
" 	$	
	          
	 *
"	
 	 
" 
	 6*  *
 1*	 
"
                                                                     6* 
 	  	 6* 	
N  

+ 
" 
 + 
"    
" 6*N %%9
D	     $	  
" *
            *
	
*
	 %'9  " *
 
 
" 			
	

"
 * M
" 	C
" #
 $	
  6* 
         

"	#" 
	$  
 + 
" " 
" 6*           
"

",	++
"

"	""	"
	+ 	$	
   	
 + 
"
 	
  
 +	   	
 " $	* *$" 	 
"  	* 

" 6* 
 , 
" 	

 +		 
"
 *
"	?        *	, 	
 # *
$
  1*	  
	 6*
	$	
	+
"
4!             
 M	 Q
 	"
R 
 
" 6*5 
	
                                                                       
 	 
" 	 	
 + 	+ *
!!N %%;
                                                                     Q
" +
 *
	  
 + 
" 34  
                                                                      		 
"
 	
*   $
#  	 ! 	
 )  %%8  
" D *$
                                                                     * 	++R N %';  >	 * 
"
 
" +	* +
*
 ++	 	
 	 
"
 
" 
	
*
	 	 

                                                                     #5 

*
 
 $	 		 *		 +
1*	 6* 
	  
"
  6* ,  +
*
                                                                     		 
" 6*5 	 	
  
"
+		 
"
   
 
  +
 

                                                                     

*
 *
	
*
	 %'8  J*
 
" *
 	2

" %%=  " *
  C$	 	 ! 
"
 
                                                                     M"
	
*
	$	

"
	6* 
	 



$$
*
*$"
"

"
	
                                                                     	$$	

)
	
"*
++"
	$
		

*

	+
P
                                                                     

+*
"1*	
"
	6*
	
 )+
	
+
",+	$		
+*
	


               	
 !                                              "
            2:17-cr-20037-JES-JEH
	

                 # 102       Page 73 of 122


6*5
	
*

"6*
		

"             	!5

"

"	*
	"	"
"
                  %'=                                                 
" $
  	$    
" 				

$$	"
N
                                                                      +
 " $	+
 %:&  )   + C$
                                                                      
"


	*

"
,

                              SSS                                   +

"		 %:<

) *   
"  
 
 
" 
* + 
" 

	
"      "
C
$" "	""+

"

* 
"*$*
	
+"
"
6*
	           
"	  
" M	"	 $" N 
" M
	 $" N
 
 1*	 	 $	
    
"*" 6*           		 
"M*
	

	$" N	"

		
"$
"$	
                
" 	  			*	? 
	
	 + 
" 


"*"*
 * 
	5 "	
 + ! %'&                + 
" +
 %9(  "	 $"  1*	 *
 
	* 
   %'<  J*
  
" *$ *
           
" *$ *
   
"
  	+  

 "
" $  		
  
" 
  *"              
" 	*
 + "	" 
"  
"
"	 
 
" 
 *
	
*
	                *
"	? $*	"
 
  
"  	
 1*		 
"
 
" 
 	 	
	
	            	 !  	
 
	 * 
 , 
"  

+
 %:( # 
"*$*
	
+"	?            
 %9% )
 !
"0*'
,

"
	
6*	$*"
	1*	

          

"

"

	$"* ("#"

	++

	
"		+


	$           *	"	"
+
	"
"
"

" 
" $
 	

 	
" 
" 
	
*
	          +
 "* 	  	 *
  	  

"1*	
+!
"
$	

	             *	"	"
"+
"
	
*
		"


	
	   
 "$ 	 	
 *
         ++
	$

		$
			
	
	

" *
 +	
   $" 
"
 
" *$ *
 "      	
 
" 	$	
	 + 
" )  	*

                                                                      
" 

 *
 ++ 
" $
	 + 
" +
 


 	++
 
	  
" M+		
	 
N %:%  
                                                                       	 
" $
	  	+* $
	 + 

" M				
 $" N %:'  
" 

 + "	" ) $

                                                                      
" $	 
  $$ 
 
" %9'  #
 
"  $$$	
 
 ) + 
 	
  ("#!  
"
                                                                      	* 
"$

"	$C	

				
 $" * 
"
 	 
" $" 	 "	" 
"
                                                                      	
*+

*

"
	
"6*5
+
	+*		+
"
"$
 
$	
                                                                      "	
	  	 
" 
" $
 
	 $
  *
 +  +		 
"
    
	
                                                                      # 
 C$  
" 
 
 5
+
 C	
 
"
 1*	+ "	 	  ,	 
" 
                                                                      $	
 
	 " 	 %<<%  "	" 		
 
"
*
"	? $*	"
 "	 				
 $" $
                                                                      *	* 6* 1*	
 	 $	
 
	  

 
" 1*	
 + !  	
 $  *" 
                                                                      	
$

"+	*+$*

	
"* 	
 "# %::   ) 	
 # %:9
                                                                      
	6*

+
"	"	"$+	 %9: #

"
 
"   	+* M	N + 
"  +
                                                                      " M
"$*$
	
"
6**
++		+
"
"$
 %:; "

*
          		

"6*	
	$$	
$*	"

				
+

$	+

	          $$ 
 
	
 
" 

*
 " 
 6*
+
  * 
"    $	 	*

                                                                      
	N %99

"
 
,   	* 	  *"   *+*
"		 ,	
$
	*
"
"*
                                                                      /	
"
"	
	+
"	

$+*
"
*6
 
 
" $$

 
  $	 
" 

                                                                      1*
	 *
 
" $
	  + 6*  6* 	
 
 	* ,		  	
	 " 	 
                                                                      
"
	$"$ 1*
	
"


"
$ ++	  	

	 * 	 
" * +
                                                                      +	
"	
*		$

$	


"+ %:8 #
"D*$*
	
+"             "	")	*
+$		

	 )*
"
M
"				

+
N 
 	 
" 	*
 * 	
 

	*
"

" 	
	*	"
"
+
"*+
		*
	                                              61/
                            %:=

"C
1*	$"          #
"*""	
"			


                	
 !                                              #
            2:17-cr-20037-JES-JEH
	

                  # 102      Page 74 of 122


) '(((  
" *$ *
 	 $   "	"             
  6* 
	
	 +  +
  "	" 
"
,6"	+
	
"D*$*
5	C
"               	
* 	
	  	 	 
"	 C	*
#
 6*	$*  
 
" 
*                $*	"
N %;8  ) 
"   
" *
 C$	
"	 
" 	 +  	 	
 
  "     M3	4+

,		+
5*
"	?

+
+
"

"$
	$           $*	"
 
	
  
" +		 +  +
  
"

#$$	  "  "	
  " $ *	
 
 *
	$         +
P 

 " 
" 

  	
P*
  +*
+	 		 +  
 	 "	" " +	 
                                                                       6*    *
N %;=  # 
"
                                             %9;
*
	

""+,+	    #+
"	           	?	
"
&$ 		
 	
	 "	  #$$	5 	

  
" 
	        # M*34 & 
 
" C

 
"
 	
 
6* * 
"
 #$$	 "  
	
             
	 6*  	

	 	
"*
  6*  
 +	 
	 	 %98  D  0   	+  +
       
	 	*
  + 	$	
	 +
M
	
"$*$
	
		
			**$           
" 
" $
N %;&  " *
 " 
"
 M34*
+ 			* * +       "	$       #	?5*

	+
$
Q
"
		  C* 	

	  
"		
 N " *        +*
	1*	
+
+
++ R

"	

M"
	N		              
" 	C
" #
 1*	 
"
 
"  +*  
+
 %9= "* 
"
	6*+*
"
         6*N %;<

" M"
 	N 
	 "
 $$	  

"6*	#$$	5
	 %9&
"	*
"D*$*
+	$ 
                                                                                                  611/
"
"  6*   $$ 
  6*  * +	 +


"
	
"+
5C	*
 %9< "
*
"
"
M34
"
"
"+
+$		
	                                       )/
 +
 
"
 	 
" $
 +  	 
                                                                     # 	  + 
" 
 6 " 


"$	

*
C	**
*	



                                                                     5
"$


*
 	
"	
6*  ("## $*
N %;(              $	
 
 "	" 
 C$	 "
 * *
 

*

) C
	 $  	
 
" 
	 *		            $	#+# 
"

*
"


C
	1	
&# %;% 
"*$*
               	 
 $
 	 %<<%  $	 
"

C$	 M
"
 
" Q

*
 C	*R + $             
" 6*5 +		  
 "
"  
" 				

$*$	
"
C	*
6*	$                 +
 C	
  "
" 
" 
	 +

5***4	    *
	"
"	
	
	+
6*
	 %8(
!5*)
" 
"
           " 
	 6* " 
" +	  	 
" 
"
Q

*
 C	*R 	 
 
" C	* 
 
                                                                     				
*
	

	
 %8% 5
6*  	$ +
 +		 	
	 +
  *

                                                                      ("#$  $$"  	 	 	"
 + 
" $
!

" C	* "  	$ 	
"*
  	
	
                                                                     		J$		
"

	"		
"

+		N %;'                                                       	

*
	+		*
*,
                                                                     +
 		 + 
" 
" $
 %8'  
" 

*

"
 +
 $       
" *$ *
 	
                                                                     
"

"++
"
# 	
 $ %;:  "	" $$	 $           + 
"   *  C*
 J $		 +  
	 $"
+	
 
	 
 
" 
" $
 
	 $ %;9       *	 "	" 
" +
 
"
 
 
 
"
#    	 "	" 
" *
  	                
"$

"
"
	
	
	
	
*
+ 	
" 
" 
	
*
		
 + 
" #	? $	
       
		 %8: 
"

*


	 " 
"
 	
 " *$" 	
 
"             
"
	
*
	

"

"


	C
"  G	"
" #
 " 	 & %;;           
   	
  
" $*
 +  
	
# +	 
"
 $ 5 * C
 
 
"             			*	? $ "  	
	
	 +


" 
C
  	 
"
 M34$	
 +
             *  	 #  
" 

*
  $	 +
  
" $	
 +
    
	
          $$
$+$$
		
	+*
"



                 	
 !                                            $
            2:17-cr-20037-JES-JEH
	

                 # 102       Page 75 of 122


+* 	
 
" 	
 	$	
	 + 
" 
"        +* *	
 + +	
  * "*  

           %89                                                        

"	+	$	
	
"*
$D
"
$

                                                                      +
 " 	 " 	"
 
  6* 
	  
" 6*
) # 	
+  
" D *$ *
 
, 
 
"
        
"
+*
"+
*	
	"	
"	
5 
"C	
	 $	
 
	 "            
1*
	2A%BM34"
"
"	"
	++
+
"#	?

*
	
	"             *

"C	
+

%
	
# *
 C$	 
"
    + +*            	*
3	 
"				
+
4*

M"	 
  	 "	" 
" 6*   	        	*
	ABN7A'BM34"
" $$
	
 *
 
" 6* , 
" *
	
 
	            + 
" 	   
" 
	 	*
 +*
                                                                      
 C	
 *
	" 
" 	
	
	 	*
 +* 


	
	N %8; J*
#
,5


*
 * * 
" 6*5 
	
	           C	
N %=%

 				
  
   6*
 	 "*  
"
K #  5 
" $
                " 6*5  
 
" 
 1*
	 	 E 9'(<ABA:B


*
 E9'(< 
+
	
*
+"
           *	
"
$"+
		
"
"6*5	
"				
$"M+            
" 				
 $"  
" *
	
 
	 $"

"
	*
"%<<%	+E9'(<	
               "				
$"	
"6* 

"6*

"
	
	
	

"C	
+              $	+	  
" 6* 
	 "
" 
 
 


*

		*
3	 
"				
          
"				
+
C	
*

                                                                      M34"6**
*	*

"C	
+
"

+
4N %88
                                                                      

*

		*
3	 
"				


!  +
 #  
" $	 
             +
4N %='  )+ 
" 6* +	 
"
  
" 				

                                                                      +
 C	
  
" 6* *
 
 
" +
 


E9'(< 
"	*
	"	
 %8= "	"
	$

"

	
"
"	
	                	+ 	$	
 %=:  J*
  	+ 
" 6* +	 
"
 
 

*
"6*5	
"
"$

	            
" 				
 +
 C	
  
" 
" +
 	
$+*
")" 
"	*
	
"              
" 		  
" $   
 
" *
	

*$	 *
5 	$	
	 +  
" 
 $	
        
	$" %=9

"6*5
	+	+




	

"
	

	*+              D	, 
" 				
 $"  * E 9'(< 
" *
	

*" $
	)$

"
6*		            
	 $" 	 
" 
" 6*  
" 6*
	 "
"
+
""              " *
	
 
	 M$"  
 	
M
"

	6**
	6*
	+	+           
" C	* $*	"
  *
  * 
"
 
"
Q
	"
R	*"
	                 $*	"
 	 $$$	
  $$
	N %=;  	

	+
"+
*
	
+
"         
" 6* 	 M34"
"    $$ +
		
"
	
*$*              
" 	  +
 	"	  
 	
	++N %8&  #  
"  	
" 
" 	
	 	 %<<%   	 
	  	
	
	   
" 
	
		
	
"*		
1*	
+E9'(< %8< 
"             	*
 +* 
 C	
 *
	" 
" 	
	
	
+	* + 
" 

 
 
	  
" 
 *      	*
+*
C	
N %=8 "
6* $$	
	 $
 
"
 *
  
 	
	

 			" 
" 	+* + 
" 
	 + 
"                       
" *
  +
 		 
"
*	
$
	"
"
"+
                                +		  
	 +
 *	
  	
  
 * "5 M
 	"
N                     
" 6*  	
"*
 "	 

  E 9'(<   M
 $	 
"
 
"                           		  	
	 	
6*5 
	 "   ("#2  Q	 *"                        " 	$  
 + 
" 	+
                                                                                    
"*
+	$$
	
	$$$	
RN %=(
                                                                                    + 
" 	  
"
 
"
                                                                                    
		*
+*
D
"*
	+E9'(< 
"*$	*

                                                                                    
" *
 
 C	
 *
	" 
"
"$
"	

	"
"+




                 	
 !                                                 %
            2:17-cr-20037-JES-JEH
	

               # 102       Page 76 of 122


             	
	
	 	*
 +*                   ,"
	
	+"
"
"
	
                                   %==                             	*
 *
	" 
" 	
	
	 	*
  
             
"*

C	

                                                                   		
"
		+6*
*

	


# 	*  
" 6*5 +		  
 "
" 
"         	
*
"6*6	
	+


	 	*
 *
	" 
" 	
	
	              ) 
"   
"	 *
 C	 
" 	
 
"

	*
M"
		*$
"*
 N*
           
" 
	 6* *   
	 +

M"	*"	
	$$$	
           	 	
	 
 "
 
" 				
 +
 

"*
N %=& "
	6*
"*"
"+		      +*  
" 6* " +
P"	" ) " +	
		"
"$	
+
	


"          
	 +
 + 	
P 
 " 

	$
	*	"


"6*5	        +*
"6*J*
 
"*
	
	
"
+
*
                                                                   + 5 $	
 
	 "  $
	2
                                                                   M#  
  1*	 
"
 
" 6* +	  +

                                                                   	*$
"
	6*	
"	$	
	+
"
                           ("#3 /
                                                                   
N %&% "* 
"6*"+*
#+
E9'(<	
",+# 
"	*
           
"				
+
1*	# 
"	

+*
	+	1*
	+
"*$	*
          
"
  
	 6* * * 

*
  	
                                                                   
	 +
 
"
 
" 6*  
 +	 
		
 %=< +*
"

"6*5+		+
                                                                     *
 M 
 Q	R 
" C	*

"				
+
	
"				
$"P

"
6*5
	
		
"*
	

	$"P            $

"
+
	N %&' )
"
	 "
 ,  +
 		 +  
" 
   
"	+#*	?0*
	
*E9'(<2                                                      		"	*	
"
 	"	""

2

             ! 
" 6* 
	 
"
                                  /"
 
5 		  	 
"

              

*
 
	 +
                                  
" 6* *
 +	 
" C	

             C	
  
" +
                                    + 
" * 
"
  
	
             
" 		 #
"*"  6*                               +
 3	   
" 				
4
             
 
  +
 
                                 C	
 " 

 
"
 
             
" 	
"*
 +		 
"
 
"                                 
" *
	
 	+
" 		
             
	 +
 *
	" 
"                                
 
" 6*  
	* 

             	
	
	 +
  	
 	 
 
"
                             P 1*		  $	 6*
             
	
	 
"
 	 
"                                +		 + 34 
	 +

             C	* $*	"
 .
"  
"                                 3	   
" 				
 +
4 	
             C	* $*	"
 	 	                                 
" 
	 $"   
              
" +		 + 
" 

*
                               	$ $	
"
	
             
 3	  
" 				
                             +
 
	
	 3	  
"
             +
4 #
 
"
 $	
  6*                            				
 
	
	4 A" 	

             
  +
 
 
"                                  	  B 	 
"
             *
  	+ 
" 6* +	 
"
                             *	
$" %&:
             
" 
	 +
 *
	"
             
" 	
	
	 +
 "+
             
" 	"	 + 
	
             	*
 	
 	
	
	                                                  6111/
             	*
  
 	
                                                                   "	 
" 
* "  	 
   
" 
             
" $*	"
 .
"  	
 *
                                                                   		 + 
" D *$ ("#4  *
 
"
 *
             
"
 
" $*	"
 	$ 	
                                                                   *$	*
	*"
		
	
             $$$	
$$
	 %&(                     
 * 
	5 
	
*
	 6*	$* 
 
	+
                                                                   * 1*
	 	 
	 
"  	*  
	
"*
	

	$"+
"
                                                                   +
 	  "  *  *


*
 "	"1*	
"
	6*



               	
 !                                             &
            2:17-cr-20037-JES-JEH
	

                 # 102      Page 77 of 122


			*+	+ *
	
" )		
 	
"           )C$			
*
	+# 
"*

$	$$	
	+#


 	 
"
	
          
"
M.	5
"
	
"		"

$
#5
 		
"	
	           
 "  6* +	 
" +
 "	 "	 $*	"
N

"
6*5	
"
"$
$
            * M3"4 .	5 6* 
 ("$5   	
		+	

"				
$"                           +
+		 .	*"		+
N %<(
                                                                     "*

"C$	2
#		, "
"
	5$	


	"*
	
*
	 %&9 "	                          # 	
" 	
" .	  
"
" *
 	  	++ + 5                          C	* $*	"
 	
"
	 
" 
	  	
  	5 

*
 "                   >*
 * " 	 	
"*


" 6* 	
" 		   6	
 
 
" A%B                        6* +		  	+
"
"
"				
+
C	
7A'B"
"                        	 $	 	
"*
 $ # 	
"

" 
	 	*
 *
	" 
" 	
	
	                        .	   6* 	 >*
5
	*
   	5 

*
 	 
 1*	                    *
"	?$*	"
"

" 6* 
 	 "
"  
" 				
 +
                     +
+		)	"
+# 
C	
    *
 # 
"	   6*                       " 
"
 >*
5 
 	

* 	5 

*
  M Q	 
R +                    
"	C
"#
 %<%
	+  
" 	
"*
 $	+	 
" +
* 	 + 	

                                                                     ) "	 
"
 	5 $	
 
	 "

	N %&;  )    

   6*
                                                                     *
	
*
	 C$*	
$	
*
 +	  
" 				
 +
 *	* 
                                                                     		 	 	5 
" $
 

*

   *
 " 6* 	  	

""	
",	*	*		+                 	     M	 
 $
N %<' P
"
"
"
"
	+
*
	"
"	
	
	               	 "	" 
" *
 " 6
  +
5
+
 *$$+
"	
             *

"
6*
		
	
*
	1*	
                                                                     	 $	
 2 M    *	?
"

	 	,		 		 %&8 *

                                                                     	$

*
"

"	C
"#

*	, 	   
 , 6* 
 $	+	 

                                                                      
 1*	 
"
 
" $	+	 +		 *
"	?	
"
"
"	
"	
"$$$	
$*	"

                                                                     
" 	$	
	 + 
" 
 + 
"    
"
$	

"	++ 
"	$

			
	
                                                                     6*"	*	 			
"

 
" $	
 
	 " 
*,  	
  E 9'(<2 MJ
" 	5 		
          $   N %<:  "	    
"
  0*
	 "
5  
" *
	
 
	 $"  
"         
	 +  
	 %<9  J*
   *	
+	
				
""+6*J
""         
"M	
$
 N
"*
+
$
"
 6* ,  
	 
 
" *
  *
 
"	 	     
	
"

"$
		+	
	N %&=                                                "
1*	6*
,+
+		1*	
                                                                     

"+
		+
""*+
"
)+		
"

"	$	

	"            
M*
"	?	N**$$
	
"
	
*
	
*
	 
"*$*
+*
"+
              
"*"
"
*	**

"
	
1*	
"6*
+	+
*
"6*5          +*
			
	
+
"
MN
M
	N  6*
 
"
P 
	

"
	
"	"
"6*
*              "
 	  
" 	 +  	 

 *
"*
C$	
"
M
"	
	

*
             	
 * * 
 	
	 $	
 	   
"
 	 


,+
		+
"*
	Q+		         	 	

  C$  
" 	  $
	
5   
"
 *" $ "  $*	"           +  
"
  
   	 $$	
	 + #
                                                                     "*
C$	
"
M3
4"	
"#*


"RN %&& "


*
*
	
*
	 
"*

                                                                     $$	 
 #	?5 
	 " $$	 1*
C$	  * M3
4" 	C
" #
 1*	 
6* 
6* 
+	"+

	$           
 	5N %<;  J*
  
"  
" $
	 + 
                                                                     "	" *    
 
   	

+
"N %&<


               	
 !                                                	
            2:17-cr-20037-JES-JEH
	

                 # 102       Page 78 of 122


*   ) *
 
" $
	 
  
"         	1*+	
"

"	+*
	"


"	"
	

"1*
	$
*
"              "6**"*	+
"

C*



	$	
	+
"$
	C$ 
"*
           *
*"	
"		* C$		
"

6**
M+	"+

	$
            	  0*
	 #	
 	
 	  

             %<8                                                      	$

+$
$*$ 0*
	#	
+
+
"N
                                                                      	
	+#*"	
"

"	
"*$*
5*+
"
MN	              	C
"#
	"

"6*	+

 "  * 
" *
" +   0*
	       
"
"
"
*	
 '(' 0*
	#	

"

 "		*	
	$		+             C$	
"
M	+#	*

 N"
	+
		 	"	""

"

"M1*	           *
C
	

	5$	

	"
+		
"

"
	+
++
5	           *+
"	++
	5#	?5
*
	"
"	
	
	+
	
	$            

"
	+# '(:

"
"$
N %<= )
" 	+MN	
 
"*$*
	+

"
	
		             #+
 
" *$ *
 	 P +
 
*1*	+	 
"+
*	*
"+		             $
 
" 
	+	 1*
	 + *P
" *


"
	
6*	$*
*


"                

"#
"$
	
	M		"

*
	

	$"++
	             +N '(9 #
"*"
"$	C
	

"
)+
"+		*
 ("$              *	  "  "  ++
 
" #
6* 
"
"$$"
,                	
	 
"	*
	

"
*$
	                                                   	 
"
 
" 
	 	 
 + 
"
                                                                      
"$	

	"
"
$	

6*


    
  *	* 		 )
                	6*5
	+	+
+

  * + 0*
	 J  " 	
                                                                      P
"+	# '(; "
"	*"
 $	
 + + 6*		 
	 	
	
                                                                      "	*
	 
" 
C
 + $	
    	
 	

" $   # %<&  #
 
"  
	  0*
	
J 
, 
" $	
	  "	" " " 	 
"
G	"
" #
  
"
  
" $
 
                                       ("$ 17/
 	$ 	
"*
 M 6*  
  6*  ,3	4 
"
		 
 
  +
 
 
"N %<<  M34"                                      )/
+*
	$	
	+
"3
"4$
 N
                                                                      "+	
	+	1*
	2
0*
	 J 	  M
  	 * Q
"
		 
 	$ 
" 
" $
 	    6*        A%B D 
" 	C
" #
 
 
" D	
 



"
"	
++		RN '(( MG               
	
*
	    
	 6* 	  $	

	 6*		
	 " 6*  
 	
  
"         6* $	  	$
 + 
" 6*  +	
$$ 
"6*	*	1*$+
		                   
" C	
 + M 
	 	*
 N
"
" 	
"*	
5	 $	
$*	"
                   

*


*
 
"
"
	$$$	
	
"$
	*
"N '(% !               
" 

 + 	"	 	 
" 
	 $" + 
*	?0*
	J5$	
	
"	>	                  $	

	$	O

"
 	
 	  	
 
 
" +	  *	
   
                                                                        A'B)+
"+		+
"C	
+M
	
*
 +  		

	 + 
" 
" $
 
"

                                                                           	*
 N 

*
  

*
  
"
 "
	
 *
  $   *	* 
	
	 
                                                                           
"

+	"		
"
	
 6* 
"
 
" +
 "* 	 > 	 
"

                                                                           $" +  $	
 
	 $	 *
 
	
"*
  
	 + 
" *	
 *	*
                                                                              6*  *
 
" 6* , 
" +		
	+
"*	 
"*
	$
	
                                                                           *	*     *
 

**** *	

	$
+
                                                                           $
	
"+
	
*
	
O

"#	
	
	#)

 
"	*	,


                   	
 !                                          '
            2:17-cr-20037-JES-JEH
	

                # 102      Page 79 of 122


                                                                    	
	
	+
	"
"
	$
"
  A:B  
" 	C
" #
 
 
" D	
 

         
" $
 -*
 ("$!  	$  
" 

 * 
"

     
	
*
	1*	6* 

	6*             "*     *$   "  


     
+	
"

"
		*
+*
            	P
"
	
	#$$	
	


*

     C	
 *
	" 
" 	
	
	 	*
 +*         *
"*$*
"
*	
		
     
 C	
 *  * %% 
 
 E 9'(<  
"	 	   	  	"	"	
"*$"	5
     
"	
	+		*$"	"
"
	6*           $	
 
	 "P 	+ 
"
 	
 " 

     M"	$
+
"NO                            	#"	"
	+
"	C
"#

                                                                    	 
" 

5 $
	  	 
"
  6* *
 +	 
  A9B )+ 
" +		 
"
 
" 
	 	*

                                                                    +

*
"	?++$*	"
 +
"
     +*
C	
*
	"
"	
	
		*

                                                                     $*$ + ,	  +
 		 + 
"

     +* 
 C	
 *
     6*  *

                                                                    $*	"
J,	
"+
		
	
     
" 6* , 
"
 +		 *	* 
                                                                    
"
$*	"
 
"*" 6*
$	
     *

$
	
"+
                                                                    
" *
	
 
	 $"   	  $	
  )
     
	
*
	
O
                                                                    
" 
"


"	+#	
  A;B )+  $* 	 %% 
 
 E 9'(<5 $	
     	 0*
	 	5 * 	 
"
    *
     
	 "  
 $
 	
" +          
"
 "	 6	 	 
"  6	
 $		 	 +*
"
     
	
*
	
 
"$		+*"           	+	
		
	
     +
"	+%%

E9'(<
     
"*
$	
"	
*
	

"6*            J 

  * + .*+ A  + 
"
     
"
$
	
"+
	
*
	
O            	**	B		# 
                                                                    
	+
"$$	
	
"
	++		++
	
*
  
" +	
 +* 1*
	                  $	
	

"
 
"	C
"
*	? 
"	 2 *
  
" 
               #
1*	
"
+		++


$   *	* 6* 	
 *	               *	*6*.*+*+
"$	*+

"
 +
 		  
" 
 
	       
"

*

"
+		++

"

	
	
	+
 
"+
"**++C*
	           
" C	
 + *	
  +  
" 				
 +

 "	 $*	"
  
" 
" 
" $
	          MN +  
" 
 
  	$ 	
	+*$
	+
"$	
O# 	+             #
 +
* +		 
"
 
" 
	
*
 
" 6* , 
"
 		           +
*
	"
"	
	
	+
 +
*

*
O                                                              		+
*
"

*
"*
                                                                    
" 
	 
 +		  	
 M
"
+*
,			$	
	
"            
	$
"
N '(8 .*+5*
*	
1*
		
"	
,	 	
"         
" D *$ *
    "	" $




	

"$

"

5$$
	            

+"	

*
"
"
	

"  
 
" 1*
	  	  " 

5        
"*

	1*+*	
	
 "	"
	

*$	
		
"
*
            1*	 

 
 "  
	 $" 	 "	" 
  
C
*     
"
 	
 * +     	
	
	+
*

		+


" 
 MN 
  	 + 
"           "	" 
" $
	 + 		  $	
 
 *

* 	 
" $		 	  #  $         C	

JM N
"

 +

"
+
+		
,
"+


*
	           .*+	6		**	 """	*

		
	
"
"
	 	
"$      *
",+*
*
 "	"
)* 
"

*
"

"6*
	           	
"

"	+*
	$

+
*	**

"

"              6*+	+
"*	

"
		
				
+
C	
J
"
$	
 +
"      "
"  +
 "* 	  	 '(=  " 
6*	
	$
	 

	+
	$         	?	
		
	
"



"	
"+
"6* 6*
           "*	
"$C	
+
"$
!
*"		
	
	"
"
	              "	" 	 
"
 
" 	C
" #
 	"
 
 


               	
 !                                              
            2:17-cr-20037-JES-JEH
	

                # 102       Page 80 of 122


6*"$"$	

$+*	$
"
"              "* 
"1*
		
"	
C
	
"
"+
*
1*
		"
"
"+
"*		               
	
	  	 	 
" 	"	 $" +
                                                                    $	
 
	  *
 "
" 
" 	C
" #

                                                                    1*	
"+
*6*

6*

                               /
                                                                    )    
"  
 
" 
	+	 1*
	
#	
 
"	 ,$ + E 9'(<  
" D *$       *  	$ )+ "  	 M N 	

*
5$	

			 )C$	           
 
"
  
" 5 
" $
 

*
 	


"+	
	+	1*
	J*
 
"
"	        *
	
*
	D*

*

"+		1*	

"+	
+*1*
		$	+"	 )	
"       
,+
M		N+
"
"$

	$	
	+
"+
	
*
	
"            
 *++		
 
  "	 
  
 
 
"
*$*
5$
		

"+
"          .
"  	
 	 	* 
"
 E 9'(< , 
" +		
6*
"6**E9'(<"	C
"#
                 "
 	
 	 	 +
 	

  D
$	2                                                           *$*
$


             )  		 $*
	  
"                  )*	
"
1*	
"		
	+*
             * " 6 
" 	"
 
                  

5 $$" 
 
" 
" $
  )  
 	" 

              $  $*	 
	                    	
"$
+
"
"	+
"1*
	
             	$
	 6* + 
" 

                    "	*
"*+	

             	
	
"	
"	""                  
 	  "
 	  
 ,  +

             	

 "	"	
	
"                   
" 		  $	 * 
" 

*
 
 	* 	
             "$	*
	                     +	  
"
  	  "	" 5
              
	++
"
*                  
J*
 )*


*
"

"*$
              * + 
" *
	7 
                *
  * + 
" 	$	
	 + 1*		 M
              ("$" +
	
"
"	
                   6* 
6* 
+	"+

	$
             	
 "	7 
 " $*                    
+
"N '%: )+
""

"
             $+
			
	"	                 
" C
 
"  +  
" $
 6*  
"
             + 
"
"	
+                   1*
	+				
 ("$# G 
"
             *+"	+ '(&                           

"

$,	
"6*		*
"	+
                                                                    *


	$*
+
"$	+6*		
) +* "  
" 1*
	 + "P6*  6*P         	
	
,
"
	
	"
"+
"*
	  
" 
  
 * ) 	 	
 	   "
$*
	
"

"!	+D*$
	*
"

"1*	
	
		
C
          *
 $
 "   * +
 	 	$	
"
"
	*
"	
	+

"             * + 

 A+ "	"  	 B
 	+ 	 +
* 
	
	 "
 	      
 $
  
" $
 
 
"
 * " 
 * *  

*
  "	" $	 1*	 
"
       +*
	

"+*	
	 

 $	+	 +		   +  
" 
      * "	"  +
   C*
  	+ 
 	* '(<  "
 +		 	 "
" M
" 
	     *	* 6*  
 	 
"
 	 
" 

	*
 +* 
 C	
 *
	" 
" 	
	
	          $
 '%9 /"
"	
"
"
                                    '%(
	*
 +* 
 C	
N    !* $	 		         	  
 	C
* + 
"  + 6*  6* 	
" +
 
 
"
 
	 		  	*	         
"	 
 	
	 + P 	C
* 
"
 

"	
"
"$

C
 	C	+           +
 
  
 "	 
" 	
"*
  6* + "	
	
		"	++
 '%% )	        $ *	* *	 
"
 " "*  
,* *
	$	?	*	
           #
"*"$"$
$

"+
+
  	 #	 6*	$* 
"
 
"          	 +  '%;  )  $* 
"
 	
 	 
 

	"	+
		
	
	+
	M          *
"	+
" 	
	
+
+			
	
"	"
"	C$
	N '%'          + 
 $		 + 
" 
	
*
	  	*	 
"



               	
 !                                               
            2:17-cr-20037-JES-JEH
	

                   # 102       Page 81 of 122


G	"
" #
  
 $
   
"
 
"	                " '';   6* ''8  " 
 +
" 
"	 ("$2
	C
*		

	
"
"+*
*
+               "	
 	 $	 
 ) +
  
" D *$
6*
		
*

"*"*

+*                *
	
+C$
"	$
+6*
		
"	
P	"	"M3
4"*	6*	
                                                                        $	
	&	
6 ''= 	%&<<2
+*


"
	C$	
"

"	"


6*			
		
"	"
C$	*                        " *
"	
 + 
" 6* 
 	
                                 '%8

	 	 
" 
	
*
	N          P  
 

 
	                  
"
 
" * " 
 
*
 ("$$ 	

      '%=                                                  $*	" $	
 	 
 		
 

                                                                                      	"	"
"*

"6*
)  +		  ) , 
" *
                                  	+$		
"

"$	
	
$+*  0*
	 	  
"  
"
 !                            	
	
	 	*
 J*
 	

*

 
" 
	
	 $
	  
"
 
" 	
	                      C

	"	" *$
+ 
" 
	
	 $
	 
"
  6* 	*
*                        	 + 
" " 	  
"
	*	
$*	"
*
+
"		                              6*	+$		
"
	
*

+
"6*
		!
"
	
"

"
"$
                           6*
  	 
 	$ $	

*	$	+
"
		$	                              $*	"
>+	
	
                                                                                      +   C  	  	  
	
 '%& )!
"		
"

                                                                                      	
C	
	  + "* $	
+	
 
"*$*
	
"


*

                                                                                       ,  + $
" 
+	
"

		 *"	

	* 
                                                                                         
" 	 +
"	*
"
	
+*	
*

	*
	
                                                                                       C*
 
 + 
"  

"
 '%< )
 "+
                              $$"	 
"
 C$

+ "
" " 	

  	

	 *  "                             +
  C	
 "	" " 

 	"
 
 " 
" 
	 *
"	
 	                          *"

	"
 
"
	
	
	+
	"
"	

"
	                             	
	 "
  "* 
+
 ''(  #  + *  
" +* 	
 + 1 	
                  	"
 	 		 
"
&# ''%  + 
" *
 + * 
 $
                        1*
	"
"
"*"*

" +
 	
" ++
	 
  
"
  
 	                     "*
$	
$*	"
	
	 

*
	
	*$*                            		


"
+
*"
"$$
		
	
*
"
                            
 
" * 	
	 + 
" 6*

$	
 $*	"
  
 *
 $		* '''                           +
"6* ''&
)

"
"

"


	,


	"$	
"	*

"$


*
             #   
  ''<  
" *$ *
 	 %<8&
G   	 *
 + 
" *
	 + $
          	 
" 6*5  	 $	
   MC$3	4

"$
6*	$*	"

"$C	
+
"               
"	+
"*	

"*
	
1*
	
 	 
"	   $
 $*$  "
 *
            +	+
"N ':(
, 	 
"
 *" ++
 "  C$


	! 	*	* '':                   "
6*	"	
	

"
	*
"	
	

 	 $* 
"
 $	 	
" 
" 	
	
            	$	
	
.
" 	
,
*$ *
   	 
 * 
"
 $	
          #+
   	
  
" 6*5   
" 	 + 
"

 *  	* 	 +	
 	
" 
"                *	
  	* + $$
		
   
"


	
*
	                                                            	?  ,	 	
  	 $	
 
	
                                                                         	
 ':%  # 
	 + )$ 	 
!*	
"$C	
+
"!	+                  +*
*+6*	>$,	
	%=&82
" 
"	+*
2""	

+%<='
"
+


                              3" *
"	
 
 
4 


"	
"*

"*$$
+*	*6*+
"                                "    +
                                                                                       	
" 
" 6* " +	 
"
+
5 $ 
		 
"
  $$$	
 ''9
                                                                                      +
"$$
	+$*	"



                	
 !                                                    
            2:17-cr-20037-JES-JEH
	

               # 102     Page 82 of 122


            1*	
 * 	 
 
"                   $	

	
C
 $$
*
	*
            
* + 
" ++  	 
                 +
6*56*5
	
	
	
            1*
	 	 	 
" 
"	               $	 * + 
" +
* 
* + 
" 	*
            *

	 + 
" 7 *
 	               	 	 
	   
" 	$
            + 
" $
	* 	*
                 1*	
 + 
" 
	 *
"	
 
 $$ 	

            + 
"      "
                 	
	+	

"

            	$
	   	
	* 6*                 " ':=
              $

 
 
"	 $*$
             
" 
 $+* 6* "                )	 "
,$*

            		""
"

                +  + 
" $
! ++
 
 $
 $	

            + 
" " 

  	
" 
"                   
	"
"

	
*
	
	+

            *
+
"$*
	                    "	"	
"
$"$
"
+*
$

	+
            	"++
"$	7	                 
"	C
"#
"$$+
"$$
             
$   	
                    +	"


"+
P
"	"

$*

            *"


" 	$+                  

"	+
+"	*	

            
" 	    	, 

                                                                 
"
 "* "$$ ':&  "   + *  
             *

	 6*
	  
"  6*
                                                                 "
"	+*
	*"	"	*
            " 	  ", 	 		
                                                                 
" 	
 
"
 + 
 	  6* , 
" ,
            $*
	 ':'                                 
	 
	
	 	 " " 

                                                                 	
"+*	 "$	
 
K	
"		+	
"
6*
	""	
	
                                                                 	
" "	 
	 "   		*
	 A
"*"
"  
"  	
 "*    *$	 
"
 M6*
                                                                 		
	B ':< +

*
	


		
"+$	
N '::
                                                                 
  	
	 	   * 
                                                                 "	
"
 *	,
"
	$
	 

 ("$3  *
"    ,  +*
" 
" 
"
                                                                 + 
"    	* 	

 ("$4  	
"

		
	
	+

"

"D*$
                                                                 
" 	C
" #
 	+ 
" 6* 	
+ 	 
"
 	
*
 $$ + * 	 ,	 $	
 
	
                                                                 $$$	


	
	 
  
" +
* 
* + 1*
	
	  " 
"  
   
" 	* +
                                                                 J*
 	+  G5 +* C	 " $*"  	

"
 $*	"
 
" +
 "* *++ # 

                                                                 *  " " *$ *
 "  	 
"


	+
 +C$ 
"
	*
"	

 	 M"
" 
" 	  	

 	 
"     M
"		++
N '9( !
"

	
* +  +  *
 +	  "
"      " J,	? 
" +	 
 	 ! 
	
  	

 + $*	 	  "
" 	
       
"
"	$
+*
	56*	$*
	

 
 	
 	  $ + *
          + +
+*  '9%    	? 
"
 
"

 $
  +* 
   "
" 
" 	        
	
*
	5 $

	 $$ 	
" $	 + 

 $	 "	*  
	*   *N ':9  #      $	
 *+
"	*	1*"	"
, '9' 

 	
	
	 +
  $$ 	
	 	*      *

"0*
	""		C$		

M"
" 
" +
 "  $	 		         	  
" 	
	
	 
   		 
"
" 
" +
 
 * *  * 
"    $

	 +  
" 
   		 
	+* + C
 
  
	 	
*       $

	 	
	 
	  	
 	  
  
"
 
"
"
" 
" +
5  	 
" 	  
"
       $$"
,	 +C$ 1P"	"
+  	 $	   "
" 
" +
5        *

"
"


*

++
		
*
" * 	 + +   	
 
 
"   
"$
	
++

"	
	"
 
"	  	$N ':;  "  + "        $	
 '9: P	+
"	?$		$
"

+ 
" 1*
	 	  +
* 	1*	 
"
     ""
	

,	+
	$
 "
	

	+
"*	
	
*	

, ':8 #         ++
 *
  * 	
 
"
 	

    	  
"
 C
  
"     !+* 
"
	
"	
"	
C
+
,		




              	
 !                                             "
            2:17-cr-20037-JES-JEH
	

                # 102       Page 83 of 122


*

"

"		++
 $	

"*$*
          "	1*		
"
	
	
"

"2                                                        *	*6*	


"
++


  T 	 
"  + 	 + "	" 
" 
"      "	 	 
 
  
"
  	
	 + $C
     $
	$"	
"

"                 	 
 	$

 J*
  	
 	 
  
"
 "
     
  	$ + $ +  *
  '99          *" + 
"
   " 	"
  + 
" 

     ,	$$	 '9;  * " 
" +
 "            
 $

	 + 
" 	C
" #
 	 
"
     
 ,	  

$
 
 ,	   	
 
 ,	     
 $	 + 
C
 ';8   	
	 + 
"
      '98 $+"	
"

*
	        
	
*
		
+	
$*$		$

 ';=
     
""	5
"7 '9=                                         # ("2 
"*6
	+
"	C
"#

                                                                    	 	      * *
  T 	 
"  + +
 		 + 
"      	
"*
 $*	 	 + *$$
 	  * 

     
"$
"	
"

"
"$
            
"	
*
	
"+	*
	?
"	
	$

     
	$*$+
"	 '9&              +
"6*5	
"$	

	$
                                                                    +* * 	

     

 '9<  ("25 	7 ';( 
                                                                    $
  *
 ) 
 	 	
$
	 	 	 
"
  T 
	* C$		 
"
 $	
 
	             
"
*	 	+	
C	

 ';& #
     1*	 $	 	
	  * 
"
            
 
" C

  $
!  	, 3** 
      
 $$	 	 $	
 
	              * 	 
" "$
"	 
"
 6* *  


     	*	$	"	
	 ';% $	          $	
	
*
"$$
	 			

     	
	+	
	
	$
++
5           $$	
	 + 
" 
" $
 
" *	* 6*	
     "
 ';' 
	
	+          +
"*	
 ';< $				
     	*++ ';:                                         
"  
 " 
	
 
"
 $	
	 '8(  #
                                                                    ""C$	2
$
$*$ 
"$	"
"
	$	

" 	++
	 $$" 	 	
	 " 	$

                     3/4" 	
  
 $	
 

"	 	 
" *	$*
 	
 
"
 
" *$ *
                   
" 	  "	
	 *$$
 +
+
 $$	 
" $

	 + 
" 
	
*
	 ("2                    
"	
"
#

$


	++


"$

"

"		                        
 +
+		 
 
	"
                                                                                 
" 				
   
"  "
 ';9
                                                                                  
" *
	
 
	  
                                                                                 
	 		   
" 
"
#
"*"	
	"
$	

"+
                                                                                 " 	$   	"

"
*  
"  	  	 	   1*	+	
                                                                                 
* $
	 
"
 		
 6*	

"  * + MN 	  
  
                                                                                 
  $* +
+		   "	


"				
 )	
"
*	
                                                                                 
	 6* 
" *
	
 $
		 
"  	* 
"
   	
 $
                                                                                 
 "  
" 
  
"
 " 	   "	" 	 " 	
   	


                                                                                 
  	 %=<%P 	 +
	
" 
" 	C
" #
 A + 
"
 

 
"
                                                                                 
"
*
"+
P
"
G	"
"#
B+


+

"
                                                                                 *	+	 
* + $	
 
	 +

	"
 
 "  6* , 
" 
	
	 "
"
                                                                                 
"*
	
		+	+
"
" "* 	  	 )
 	   + 
 
"
	
	
$
!6*	$*+
"D*$                          	
""+6*	 '8%
*
 
"
 )  
		?  6*
	+	
	 + *

$
	 ';;  "
 
		?
	 	 
"	 *
	+
     	 
"$	+$  # 
2>		
$

"
	
*
	
,

             
+	


"
"				

+
$ 	
" $* +
 ! 
"
  
            $	
 '8' "
+	
 ("2! 
	?+	
 	
**+	
,

          $
		C
*+
""	
	*
	
                                                                    + 
"  + 
" 6*    
" A*



               	
 !                                             #
            2:17-cr-20037-JES-JEH
	

                 # 102       Page 84 of 122


*
 
 *
	
 
	+	B 
	 
"
 

 "         
"	$	
	+
"
 '8< "
	 *
"

  	 	  +
 !  * !          
	
*
	1*		"	$"+

"
*


	$
	 '8:                                +		+
"				
+
 
$+
"
                                                                      	$	
	+
"		+

"				

H	,	 )
+			

$

+	            $"*

	
+


*

	

"+
"6*+
+	
"           	"	"
"+
*+		
"
*+

"				

$
"
	*
"	
	! 	
             $"
+
"
"*

"
"
*
"	
		
"
$ 
 
	 
" 
 	  $	
  *
       

"
 )
+		
"
C
+
"
	
*
	
	
"

		
	
	+
               			 	 		 +
  
 
 
"
 
"  "  $
	 
 	 	+         MC	*NM*
"	?N$*	"
.
" 6*

	
	
	
"

	
	             " 
* 
"	   
	 1*	
 	"
 	

"
 
" 
	 +
 *
	" 
" 	
	
	          
"*-* $			"

"
+ 
" $
	  	+*  '89  
           6* , 
" +
* 
	
	  
  


 
"	 	  	
	 + 
" +
  	
 *
   
"
 
	" 
" C	* *
"	? 
 '=(
	  		 + C	

	 +
2 /"
" 
" +
      "	 6*		 	
$

	  
 0*
	 
*	 
"*		)+D*$*
6*	$*               "
"	
	$$	

"C	* 

"
"+
*
	
	
"

"              
" 		* '=%   
 ("2#    	 '(%:
		++
 '8; 	
	
	$$$	

	?
"
       	 $ 	
 6  '='  	 + + 	
 $$	 	


"		
	
"	+	
"
	$

          
 
" "	 $$" 	 +
 6*
	+	  		

"
			
	 
"

"	C
"            +
* +		  
 
   + 
 
#
	"
*
+	
$
	
                                                                       
 + 
" 	 	
+ '=:   
"*" 
"
 	
+*"+*"	

	
"
*
"	


"
                                                                      +

""


"+
,	
"
6* '88                                                             +
		+"	"$*	"

	
                                                                      M
N+M
N	+
"*	
 ("2"  # 
"	 	*	 *
  
" 	
	 +
                                                                      	 '=9  #  
 
"	 $	
  	
 	 
  "


" 6*		 *	
 	 + $	
 
	 "
                                                                      
	
*
	 	 C	
 		 +
 
"
 


	*
 
  *
    6*		
                                                                      

$*	"

"
"
	
	


$		  *	
  	 +*
	 -"$
                                                                      	 "  
" , +
* $
  
+	 
"
 
		 
"
 
" 	C
" #

                                                                      
  
" +   	 	 # 
1*	 
"
  
" 
  $	
 

		*   *	* 6* 	
 * "               '=;  -"$ 
"
 	 * 	
	
	 +
 
1*	  
	
	 
"
 
" 	C
" #
           
  
" C	* 
 J*
   	
	 +
1*	 
"
  6* 
	  		 
           
"	
	
	+
		
*	P
6*		$		"
,
"	
"
	
	
"           P
 
" 
	
	 + 	+  
" '=8  ) 1
+
 +		 
"
 ,  +
 		 
 	       	
 &#   
  
" *$ *
 	 M
"

 
" 
 
"
 *
     6* '8=  )       
" Q

*
 C	*R + $  $*$ 	 
"


" 
"
"	C
"#
6*	"
              C	*
6*	$5
C
	*$

"+		
"	            ***4	!5


	"
"		*C	*
                   *N '== )+
"
	 	
"
"$

C


"*" 
" 
	 	"
 	 
" 
	
*
	 $	
          
"+
+		

+


"

"*"*
 
" +* 
	 $  "
" 
"             
		
	+	
	
	+



 	 	$   6*  6* '8&  " 	

" $		  		  "  	 
"
 * 
"      #
 
"  
	  
" " * 

" #
D *$ *
 " " 
"
  	
	 +            P	*	 
" +
 "P
	
	
	+
 	+
"
	            *
 
"
  "  
	 1*	
 "
	
	
	+
$1*		


" 
"	"	           *
  

 	 
"	  ++
 
 $

+$	

		MN+            	  +	
" 	
"  	, ! "*  *



                	
 !                                                  $
            2:17-cr-20037-JES-JEH
	

                  # 102       Page 85 of 122


 

 
	   + 
" 6* 	 
"             $$
6*+
	

		$
"
		
$	
 
	 $   * *$ *
            $*+	)$
	* 
		
6*	$* *"  & 1*	 
"
  
"           
"$
	+6*6*"$	

$	*$	
	+"
"
"               "	

	+
*
	"
"		
	
	 
"
*
 	
"  "
 
	+		 1*	
 
*           ) 		  )   ) 
"+  *

 
 

	 '=&  	?	 ("2$   
" 	
 
"
  *
	
        
"	 ,	 + 	  * 
"
 
	 
	 
	
	 
"
 	 
"          	  $	
  $		$  
 " 

	
	 
 	  "	  	"
 $*	"
 	        
" $$"  "	" 
*  	 

	 
" 
	 *
"	
5 C	 + 	"	          *
 "
 *
  +*
* 0*
	 	"
 
"	,

" 	*
 
"
 6*
	+  
 
 	
       *

"	 	 $$	
	+$C

"*	+ 
	             $



	
	

$

$	
"
"
                                                                       $
! 
 " " * 
"
  

*
"

"
*
6* '=<
                                                                       +
"6*	1*	

+*
*

/"O J* 
" *$ *

 +*
 	

"
+
		+ 

"
 *            $!$
	 '&: ""*
"

"6*5
	
	*
	
+*
"

"
		*
              
$"
+$	

		
+

"

*
	" 
" 	 	
	
	 # 
" *$ *
              	
**+	

"


6*
	
                                                                       1*	

$+6*		
*

"$


 	 7 	
 ) '&(  M
" 

  "
                                                                       1*	
 
"
  
	"  	 
" 

" * + 

	 
"
 	
	
	 	
 
 *
	" 
	 	 #
 
"               %<=( '&9


5 		
 
 
 
"
 *  
" +*
 	 	+
                                                                       )
 + 
	  *,  
 "	" ) 
	$	
N '&%  J 		 
"	  M+
 +		N
                                                                       *
	 )$+
	

"+*
	



	 
 
" 	$	
	 +  
" 
  	  
                                                                       
 
, #$
	 !  +  	
 +
*  
	C
" #
 	"
 	 
 J*
  
" 
" 
"	
                                                                       
	"	
"




	"	+"	"
*		
"*
++*	
	+
                                                                       
"	
"*

	
 $
	"##

"6*	"
	
"	C
"#
"
	

                                                                       	
$
	"	
"

"
*


"	*	
"$*
+$		

"
                                                                       
		
	+
"
	
6*		 		   + "	"   	 
" 

                                                                       	
	
	+

"

"*
$
	
	
+	+
#
"*		
"+
                                                                       	+  )  $
 
" 	
 + 
"    "	"
*
"	,
"$			 	+
" 
                                                                       	 
"
 
" *$ *
  , "
 *
" +
   
    *
 	 + 
"
                                                                       "	
" "	"	
"

"		++
 '&; D

	
*
	 
"*
	"		 '&' "*
                                                                       
"		+ +
+						



" 

 
 
"	 	 + 	 	 	 
 
"
                                                                       $
	7 
" *
      .
"
,		
*+$	
"
 	
"	+
                                                                       
" 	
    	
	
 6*		 		
6*	
  
 +  	++
 	  	$ *$
                                                                       $	 	++
 ,	 + +
 +		  ) * 
"


" 

  	 + 
" $
 6*	$* 

                                                                       	

	
"		
"
"
	?	
"	
	*
	
"%<=(
                                                                        
 #
  
	 + !  	
 
" 
                                                                       $
	 	 
" D	
 

 +  
  $*
 

) 	? 
"
 
"	 
$ + 6*	$*
	 
                                                                       
" 	
"*
  *	* 6* 	
 	 + 
"

 	 
  C

 	 
 * 
 + 
                                                                       +	 $*	"
 !,	 
"  6*	 $ 	
	
*+6*			 
	*
                                                                       $	

	+!	
$

6*		 $		 
"
  	, C	 	 $	
	
                                                                       
"

*1**		'((+*

" *
 + * $	
	 $
	 

 J*

                                                                       
	5*

	
	

" 
" $
 
C
 $
  	 "	" *

	5*$*
			
*	
                                                                       "D*$*
"+
		
*
 
" 	
	 +  	+	 ("22  
	 + 	
 
                                                                       "
	
*
		"
	
$"
"

*
	""?+

*
	
 $*

+ 

  +
  
	 *
   

            
 '&8  "
 "   
* 	 ("23



                	
 !                                                  %
            2:17-cr-20037-JES-JEH
	

               # 102       Page 86 of 122


			
+ '&= )+ )* 
"6*	"
	     *

"
+
*

"
 +*
  
"
  *
 
 +*	 
       *  6* + "	 $ 	 " "* "
 	  
"

	
"	"

"6*
	"
"
"          +
 "  	"
 
 "  6*  "
" "
                                                                   "*		"

"	+*
 "	
		"


"*	$ '&& 
"
"
	"
"*
                                                                   	 $
  
 	  	$

 
" 
"
+ " 	
	 
"
 
" 	 	++
 	 

                                                                   *	 
	
*
	 
 * "	" 
"

+	
6*	
"%<=()
	?
                                                                   "$$

"*"*
*
	5"	
 ,"
6*1*	
*	*
"

"
                                                                    1*	

"
6**	*	
"


*	$"		$


                                                                   +
"*	
"


$
 + 
" 		 
	 $ 
" 
" 
	
                                                                   
"

"+
"6*.
" 	
*
$" 	  $	
  ) 	 6* 
" 
"
                                                                   	
	
*
	+


$		+*
6*	 
 , M "	 
 	+  
" N 
"
                                                                    + 
" 
	 6* 	 		  
" 



*
M
	$
	
"

"
                                                                   
	6*		
"
	6*
*
"

N '&< "*"*
           
"$
	
		+*
	+"	
*"	
 $	

	"M$			

                                                                   
"
6*
	+	 '<9 #	
"
" 
	
	

	
	+

6*	 N '<( 
"		+"
"    
	

"6*5
	
	*
M+	
	?"*		N"	          

"
	6*
 $			
 
 
 +   $ 
 ,
 '<%                                                         )* )+	
"

"
	*
                                                                   
"
 
 	 +	
 
	 
  $$$	
 
                                                                    *	* 6*  $$ " 	
" 	"	 
"
                                                                   
		
	
	+
+	
+
                             SSS

 
" 	
	  
 $ " 	
  
 + 
" D *$ *
 " 1*
                                           &/
	

 	
	
"	"

6*+
"
"
$
 
  
 *
 
"
 
" *
	        J+*	 )*

$	+		*
$*	"
 	 ***   '<'
                              "  + 
"
 	 
"
    $  
" +	
 +* 
	+	 1*
	 + * '<;

"+
"6**
$		
	         "+	
 ("35 	**		
)"*
"
" 
" $*	"
 +  	 	 
"          
 M*	*N 
"*"*
 
"	 $		  $	

"
  +
 "*  C*
  	+  6* +    
$
+
"+*
"
	+	1*
	 "	"
"	 $ *	* 
	 
"
   )
        	
"
+




"	
"*

*

"

"	*,		
"
            *	*6*		

"
++

	
"
" 	  	$

 	*
   
"
         
	
			
"
6*
*	* '<8
"
"6*	"
	$

J	
            
"
 	 
" #	 
	
	  
" *
	

"
"
	
	 
+*	*           + " 
" 6* 	"
 , " 	
  	
6* *
	$+6* 

	
"+

                                                                   	 
" 	C
" #
 
 * 
	
*
	 '<=  "
 +*
 $* $

	  $
 + 
"
                                                                   *		
1*	
		

,	*
"
6*
#	
	
	"*	*6*1*	

                                                                   	

,"
"5
	* 
"


*
"
+



""
                                                                   6*"1*		,	
"	
	
	+
$

	$+
"*	
 ("24 
* 
" 	 + 		
 $$
	 	 
" 6*     		 '<&
	*1*	"
	
"	
"	"
,+
                                                                   )  
"   
 
" 
	
	 + 
"
		 '<:  J*
  	  	  
" G	"
" #

                                                                   *	* 6* 	
 	  	 
" 
 
,"
$$"+1*		6*
		6*

                                                                   	
* 	
 *  
" $
 

*
  
	
	
  + +
	 
" 	$	
	 +  	

                                                                   	
	 C$ 	
 
 $ 
" +*
	C
" #
 $$" "
 	$	
	 	 
"
 	

                                                                   
"
  *	* 6* 1*	
 $	 	
 
"


               	
 !                                              &
            2:17-cr-20037-JES-JEH
	

                # 102       Page 87 of 122


	$	
	 + 
" *
	
 $*	"
 + 
" '<<  )+        *
 
 
   +* 	
  "
 	
   
" 
" +		 1*	 
     $*	"

 
6*
	
	 :('
+
"	$	
	+
"
*


6* 	
*
*	*              "		*
	"	"	
		
	
"

6* :((                                                            6* 
 	
" 
" "	
	 1*	 +	 
"
                                                                    " 	
 	 
		 "
"  +
 "* 	
 ("3 "
"	*	"
"
"6**
+	            	)+ 6	
+*" ("3 * 
"
+
 
"
 
	
*
  
	 	*
 	 
"     	C
"#
1*	6*
,
"
*
	
 
	 $"    *
           +
* 
	
	 
 
  $	
 +
5
"
"
	
		
,
"
+
             +
 
"	
$
+
"
	
"* *++ 
" * 
" +
 
	 +         *
 
 " 
" 6* 	

"
*
*
	"	
	
	+
 	*	             ,	 
" *	 +
 6*
 + "
" 
"

" 6*5   +   *
  +*       +
 "*  C*
 :(:  -*
 	$  
" 	C
"
*
#	C$		0*
	>5         #
 	"
 
  6* 	*  	"
 
 
 
C
 *	 $		  "	" ) "$$	 6	  
"      C*
*6***	*
"
	
"
 
 
" 1*
	 	 MN # 0*
	 >      *

"
	
"$$$	

 :(9
"  E 9'(< 1*	 
" 

 
 	
	+  


*

	+

"
	
		*$	
"

	$"		+	
$**	
+
"
         >!HH#  0*
	  *	 	 
" 6	
 $
#	* 	
	
"


*
1*	
"6*        *	  	
" " "	+ 0*
	 .)G  0*
	

 	 "
" 
" 
	 +
 
 
      G)L6	2

	 
"

*

"				
+
         " 

 " " 
" +
  J6	 .*+
$*
	
 *
	"
"	
	
	             AM.*+NB  		

 	
"  *
 + 	
 
+
                                                            )

	 *   *
 + 	
  
                                                                    * -	+	*	
"	
#)"	* 
"6*5	
"		

	           	
  . " 

 " C$ 	

+ 
" 
" $
  	 
	 +           	

	
,
"$
+
"	
"
.*+	

" 	$
	 + * .$*	 -
 + 
" $

	       	
	
"+
"	
**
!

"	"

+
	
*
             0*%' '(%8 
"D	


*$*
"	
	$	
	 + 
" 
" $
 
 6*
 
"
  6*   	
 % 
"
	5$	

	"
 *	* 	 
"
 
" 
" $
            *
	
*
	 * M3
4" 	C
" #

$$$	
  *
 
"
 
" 6* " 
 "  C
    1*	  6*  
  6*  
 +	 " +
 
"	"  + +	 
"
 
" *
	
 $*	"

                                                                    
 	$  
 + 
"N '  ! 0* ';  '(%8
"*  	$ "    *

                                                                    
"*$	*

	+	+	1*
	+

"	

 $ 
"*"*
 * "	
 	 		
                                                                    *
+	$	
			
".*9%+
"
$	 +
 
" 	$
 * 	
 $
                                                                    *$ *
 * ! 0* '&  '(%8  
"	 *

 *	 
"
 		 $*	"
 	 
 	$
                                                                    $
		+
"1*
	
	+	
"
	"
 :(% /"6*	+*+

*	

        *$	*
	
.*+
"$$

"  ,	 + *  	* + *
 	
                                                                    
"


"$$ : /"
+	
"	$		


"
 *	
+
                                                                    
"+
"1*
	
+**+	
*	


"
"+*	

$

"
 +
* + 
"   
"    *


    	
" 
" *		
 1*	
                                   	

	
	 +
* 	 *	 
"
    C*

* 
" 6*  "	" +	
 
"
 
"
  
"     D 
" 	C
" #
 
 
" D	
 


1*	
*
	
 *+*"+*"	
           
	
*
	    
	 6* 	  $	
 6*

"
"
*
+	
	 
"            $	  	$
 + 
" 6*  +	 
" C	

                                                                    + M 
	 	*
 N 

*
  


               	
 !                                               	
            2:17-cr-20037-JES-JEH
	

                  # 102       Page 88 of 122




*
 
"
"
"

+	"	             *$$
 + 
" *
	
 $
 )   
" D	

	
"
	$"+$	

	$	O             

 *$ *
 *   	
  %:
                                                                         	
  %9   " 
	 "
"  
 1*
	  	  )   
" D	

                                                                       
"
 M  
	 6* 
 +	  
	


*$*
"
"
2M"	C
"#

                                                                       	*
  	$
 +  6*5 +
+		  
"

1*	  6*  
  6*  
 +	  * 
                                                                       	  + 	$	
	 + 
" 
" $
 N 	
 ("3!  
 	$  
 + 
"N 9  )   
"
                                                                       	$		*
"	C
"#
 %;
*$*
$$		
$	"		$ 	

 % ;   # 	
 $ 8  ) $   
"          "
"$


*
,
"



*$ *
 " M
"
  +
 
"
 QC$34 
"          	M34
			
	+
		*

+


$*	"

"
"
*
"	?                 3

*


*
4$	

"$*	"

 
" 6*5 *	
 	
R 	  Q
R 
"
 *
 
                                                                       "	 +

"	
*	
N %8 "
                         =
*	


6*N                                                  

*
 1*	 
" 6* 
 	
*
 
" 6* 
"

                                                                       M	 ("3"   
 +	 
" C	
 +  
)   
" *$ *
 

2 M) #                 
	 	*
N 
" *
   
* 
"
 #	?5 $	
 
	 "
                                                                         *
  *
  *	* %=  "
	
$ 5**
"

6*
                                                                       

*
1*	
"
M34


 +	 
" +
  
 
  +
 
"
                                                                       
		*
"	"*
+

"N &  " 
 	1*	 	    	 #       "	"
"6*	
*	* 
"6*"$

"
"
 C	* 
 
" +
 * 	 	            * + ++	
	  
	 
  " *"

"  + 6*		 +
+		 " D	
 


                                                                       3

*

	4	*
N %&
*$*

"
	1*	 +2

                # 	
" 	
" .	  
"                          "  

*
  
 1*	 
" 6* 
 
                C	* $*	"
 	
"                           	
*

"

"C	
+

*

	
                *"		
"*
                      	*
 *
  +* *	*  
                 6* +		  	+                     *
 )
  
 1*	 
" 6* 

                	 $	 	
"*
 $ #                       $	+		
	++
"

*

	
                	
" #   6* 	                       	*
 
"
 	
 +* 
 C	
 )
  
                5 *
"	? $*	"
                        
 1*	 
" 6* 
 $
 
" ++	
	 
                  "  +
+		                      
	


*

	
                ) 	"
 + #   " 
"
                   	*
+"	"
"
*		

                5
	

"	C
"
                                                                       #+
 
" 6* +	 
 
  

*
 
	
                #
 <
                                                                       	*
  
" +
 	 
" 		 >
"	
	

*

	*		M
              	
"	
".		
">*
 
"C	*
,+
		+
"*
	Q+		5             $*	"
+
			
"*

                                                                        	
	 6* +
* +		 	 	+ 	
 
"
 *" $ "  $*	"  
"R N %(
" "	 	   
"
 "  

 

*
          $	 %< D
"*
$	

	
1*	  
	 6*  	
 +  6*  
 , +
*   "  
" 6*   	
"*
 , + "	"
+		
"
+
"
             	+ 

*

		*

"6*
	$ 
"	C
"#
		
                              +* *	*     *
 
                                                                       
"	  	$
 +	 
" C	
 + 

) 7 	
  %%  
" D	
 

 *$ *
          

*
 
	 	*
 '(  # 	
" 
"
"
"

"+		
"

		*
C	
             $	
 
	 " 
 	* 	 #  
                                                                         6*   	  +
5
	 	
"*
 1*
	  M$* +
* 
	
	N %'
                                                                       6* *
"	? $*	"
 + 	+ 
  
" 

"* +		
"C	
+
		*

                                                                       "	
	+
+		+

*

	 
" +*
	 1*	
 +  		 
 	


                	
 !                                              '
            2:17-cr-20037-JES-JEH
	

                 # 102       Page 89 of 122



		*
)	"
+5$$	
	            +
"+$*	"

"

"+
	P
+# 
"		

"	C
"#
#	               "
" 
" 

*
  
" 
 + 
" ++

"
 $		 	 
"  
" $
 

*
 	       
	+
 0P*
+*
"
*
	
*
	                                                     6**
N '&



                         	
                                                        	


)+ 
" +		 + 
" C	
 + M 
	            
" 	C
" #
 
 
" D	
 


	*
 N

*


*
 
"
"              
	
*
	 1*	  6*  
  
	 6*  


"

+	"		
"
	$"+           +	 
"
 
" 
	 	*
 +* 
 C	

$	

	$	*
6*                *
	" 
" 	
	
	 	*
 +* 
 C	

*

"6*,
"+		*	*                 * *%%

E9'(< 
"		
"	
	+		
*

$
	
"+
	
*
	             *$"	"
"
	6*M"	$


O                                                            +
"NO

"  
 1*
	 
 	  	
  *	*           "  
 1*
	 
" 	  "	 *
 "
	
   
	 $
 + 
" 	C
"               	?
"

"	"	
	
		5
#
 *
 
 
" 	"
 
  
	  6*2         

*

	"	+
*+		
M34""	
	+*
	+*	
	+
"
                                                                      
	$
"
 '< M3#46*


$		$ C
  
*	 	
 
" 
                                                                      +


"	
"*
+		
"

"
	
 Q34 * 	
  $		
 + $$	 

 R
	6*"*

1*	            +
*
	"
"	
	
	+
N :( "


"
Q*	+	
"           MC	*N 
  + 	C
" #
 $*$
*	**+++
+3
"+
541*              
"
	$* 	
"
                                                                      +6*+		
"
		"
+
"
 	"*R N '%  #
"*" 0*
	 - 

                                                                      
		
	
	+
 		+	$	

	  $		 *	 	 6*
 	
" 
" D	

                                                                      )   
" *$ *
 
 M
" C	*


 *$ *
5 $*	
 $		 	 $ 
                                                                      $*	"
	
">*
*"		
"*

	
 # ''  
"
 *	* 6* 	
               6* +		  	+ 	 $	 	
"*

$		 ': "		"	 ("3#             $N :%
                '9
	
1*
	  "0*
		*
	 $   " 
 
"
 " 	
 
" *         # 	 	5 

*
 " 
"
  " 

 
" C	* C$* 
" * +  *
             *
	
*
	 	   	   
" 6*

	M5555!                 M*
 +	 
" +
 
"
 *++		
 
	
	 * .8 *  * N ';  
"  
"   	*
 ("3$ C	

"

"	*++		

	  *
 
"
 *	* 6* 	
  1*	         	
	
	 	*
 
 *
	" 
" 
	

"
	
*
	
"*"
"
1*
	                	*
N +  
" 
  

	 
 + * '8    	   
" *$           	$ :' /"
"
"$


*

*
 

2 M" 	C
" #
 $	2 Q)            	'((: 
"$	

"
	
	

 	
		 $*
	  
" * " 6 
" 	"
       
$
2

  $  $*	 
	    	$
	 6*R
                                                                                     "	 #
 	  
"
"	 	"
  	 6*
	 	
" 
" * - *
                                                                                      *$ *
5
1*	
"
"
+	$
6*
                                                                                     6*		 		
$

	 +
*
N '= #*	
*	?                             5 
" $
 

*

 0*
	 	  " " * 	 #2 M34"                         $	
"

+*
 	 + 
" 6*
	 *
 + 
"                        $

"*$*
	
	C
"#
	
"
+

	
	$	
	                            3"	4)
		+
"




                	
 !                                             "
            2:17-cr-20037-JES-JEH
	

                  # 102     Page 90 of 122


                	
	"
"	

+
"                	" 
	  	
	
	 	*
 
                K # 
"
 "	 
"                 	$ 
" 
   "  6* "
                
	 6* *
 	                     
 + 	+ 	 $	 9%  0*
	
                 6*5  +		                     
 	
	+
"	 ("32 +
		
                 
" 1*
	 + "
" 
"                 	&
"	
	2
                
	 	*
 +*
                
 C	
 *
	" 
" 	
	
	                             # +
 	 		 + 
"
                	*
 +* 
 C	
  "                             
" $
 	 # 
                 " " 
  *                                *$  $	+	 +
* +		 
"

                
"
	 *
	
                                   
	 +
 *
	"
                " 	 	
 *" 	"
  "                         
" 	
	
	 +
 " "
                "  $$$	
 * 
"                              $
 " 

*
	 1*	
                	*
 $
 	  	                             +		
"

"
	+

                 ::                                                         +  +
5 	 *
	"
                                                                                 
" 	
	
	 +
 	 
"+
)   
" *$ *
 C$	 " 5                       
 	$ 
" 
"
	 
  	 "	" 
" 6* $	 	
                      $
 )
 	   
"  
"

		
	"
"

"
	                            
"	 +
* +		 C$ 
"
	*
 *
	" 
" 	
	
	 	*
                          +
 
  
 $*	"

 
 1*	+   M+		N   6* + 	C
"                    
" " * 
"	 	2
#
 $*$ :9  #+
 
" 		 	                         
"   $$ 
 	+ 	
"*

"

*
$	+
"6*
,
"                          $D$ # 
+
* +		  + 
" 	$	
	 +  
"                 +		
"
"*"++
*


 	
	
	C
"#
                                           6* 9'


) '((:  	  	  :;  
"	 *
 " 
"
 
"    0*
	

"*
"+ "	""2
 

*
 	 
 	
 
" 	C
" #
         M" 	C
" #
 1*	  6*  
  6*
* # :8  )   
"	 *
 
	 
"
 
"    
 +	  *  
 	$  
 +
6*5 	
 +		 $+ +  

*
 
	      
"N 9:  #
"*" 
" D	
 

 *$ *
5
	*
 
	+	 
" 	C
" #
 * 	
         "	 	   $	+	 		
  6*		
 
"	 
" 				
 +		  
"
  
     
	
	+
		*
 	



	 
" C	* $*	"
 
 
" :=  "	            *1*	 
"
 
" 6* 
	 	"
 	? 	
*
5 "	 	    *$ 
" D	
          #  $$	 
  +
* +		  

                                                                    	$  
" 
 *  

 

*
 "


*$*
5			 :& >
                                                                    	 C
	 + 
"
  


 	 
	 
"			 
"
                                                                    	 
"
  6* *
 
	 
" 
	 	"
 +
M*

"C


"
	6*

+	
		*
 	$
+6*5           
	  	
	
	 	*
 99  "+
+
+		 
"
	+	$	
	+
"
"          	

"


	 
"	"	
                                                                    $$			
"
"$


*
	
$
N :<  "*  6*
  M3
4	  *1*
 
                                                                    *
	
*
	*	
	

"	C
"#

" "  
" 	 +     N

" 	 +  	   	 +	 
"
		
                                                                                            	

"  
	
*
	 	+		
 
 	* 	 # 
                                                                    )+
"+		
"

"
		*
+*

  
" 6*		 
	
	 + 
	
                                                                    C	
*
	"
"	
	
		*
+*
C	

	*
 ! 
" 
" "  & 	

                                                                    *
6* *

"6*,
"
+		
$5! 9(  	  " 
 #5 $	

$*	"
" "	"6*
	$



               	
 !                                             "
            2:17-cr-20037-JES-JEH
	

                # 102      Page 91 of 122


*	**

$

	
"+
	
*
	
O                                :  
" 	C
" #
 
 
" D	
 


                                                                         
	
*
	1*	6* 

	6*
"
1*
	+*	+
"                  
+	
"

"
		*
+*

		$
1*
	
                                       C	
 *
	" 
" 	
	
	 	*
 +*
                                                                         
 C	
 *  * %% 
 
 E 9'(<  
"	 	
                                                                         
"	
	+		*$"	"
"
	6*
                                                                         M"	$
+
"NO$9#	

                        	


                                                                      9 )+ 
" +		 
"
 
" 
	 	*

)+$*	%%

E9'(<5$	

	               +*
C	
*
	"
"	
	
		*

"  
 $
 	
" + 
	
*
	                +* 
 C	
 *
     6*  *


 
"$		+*"+
"                
" 6* , 
"
 +		 *	* 
	 + %% 
 
 E 9'(<   
" *
 $          *

$
	
"+
	
" 	
*
	 
 
" 6* 
"
 $
 	
" +          
	
*
	
O$9"	!

	
*
	
O                                                =>-=? 5


"
1*
	+		"*
	$	+		
	           ; )+  $* 	 %% 
 
 E 9'(<5 $	

	
"
"$


*
 *
+
"                
	 "  
 $
 	
" +
D	


*$*
5			 *
                 
	
*
	
 
"$		+*"

"K#                                       +
"	+%%

E9'(<
                                                                         
"*
$	
"	
*
	

"6*
                                                                         
"
$
	
"+
	
*
	
O
@#H)>D.# 0*
	 *		$
	
		                  $9#	

$


"$*	!$		2
)	"
+
"D	


*$*
5			
	
 % 
"	*

	+	+	1*
	+        1/&89:1,18;<'8:1-.=):-%8:89)

"*$	*
	
"
	
*
		
+%%           ';>8=1.;88.;8.:-,)'90=?)0,1.;


E9'(<+2                          )>>9)6):1.>&19&'?:).&8=-'*;8
                                                                    ).%898;1.:8.8>):168
  % D 
" 	C
" #
 
 
" D	
 


     
	
*
	    
	 6* 	  $	
       F*
	 % "*   	 
" 
	 )
     6* $	  	$
 + 
" 6*  +	            
"D	


*$*
*
"

     
" C	
 + M 
	 	*
 N          	5 $	
 
	 

*
 	 
 $

     

*


*
 
"
"           	
" # 	
 $ '  # M1*	  6* 
 +	
     
" ("33 

+	"		
"
	$"+         +
  
  3 +
4 		
     $	

	$	O$9#	
             + 
" 
" $
N :  J* M	5 
	
                                                                    "  1*	 
" 6*  
 +	 
" C	

  ' )+ 
" +		 + 
" C	
 + M 
	
                                                                    +  
	 	*
 N 
" *$ *

     	*
 N 

*
  

*
  
"
 "
        
" 

 + 	"	 	 
"          * 
"
 	
  *
	
*
	 9  " 
     
	 $" +  $	
 
	 $	       *
"
"
M3
4"	C
"#
1*	6*
     *
     6*  *
 
" 6* , 
"       
  6*  
 +	 " +
  
 	$ 
     +		*	**
              
+
"N ; 		
"
M3
4"	
"#
     
 $
 	
" + 
	
*
	 
O         *
 $$	 
 #	?5 
	 " $$	34
     $9 #	   ! :  ! *       1* 
 	5 N 8   * ("34   
     *--
                                                                    	
 = 	
 & *
M	
     ,!;<**!	5
     * *
                                                        N < M2#4#
                                                                    *##	#! 	$
+6*5




               	
 !                                              "
            2:17-cr-20037-JES-JEH
	

                  # 102       Page 92 of 122


+
+		 
"
	+	$	
	+
"
"              
" 6* *
	" 
" 	
	
	 	*
 %<
            %(
$
N                                                              " $	 * +  $	 
"
 M3
4" 	C
"
                                                                       #
1*	6* 
6* 
+	"+

)  	  %% 
 
 E 9'(< $	 	
" 
" 	C
"       
	$
+
"N '(
#


"D	



	
*
	

" 6* +	  	 *$  
" 
	         	
"C

$	$	+
"
"
	*
 +*  
" 6*                " 
" 6*5  	 
	  *
 
   $

*

"C


"
	
$	

"
"$

              + $	
  ) '(((  
" D	
 

 *$
	$*
+
		*
+*
                                                                        ("4  *
 	 $  	
  % '%  "

"6* 

"6* 
"*

*
*
                                                                       +
 	 $  $ *	
 
 *
	$ +	
+*+ %%                                                     -**
 
   0 

*
 
"
 	 
"
                                                                       C	*
+%(
'(	+
"*

" 	  1*
	 
"
 
"  

*
 $	
         +*
"

"+
	

"			
"	

"
	*

+	
	+

"
            	  
" +
  
 
  %'U 
 +
+*  
" 6* %'  ) 	
	 
 
" $	 *      	$	
+

"6*+*
"

"M"
	N
+ 
" 

*
 	
+  
"	 *
5 		 	 3* 	
      
	 "
 $$	 ! $$  
" D	

 %:  "	" 	
  	
  %9  	
" $$          

 *$ *
 +* 
" +
5 

                                                                       
 "  *
	
*
	 "  6*		
,
"	 %; J*
		*

                                                                       +
+		 " $  *
 " 
"
 M34
" 
"
 ("45  +*   6*  *
 
   6*   
                                                                       
" +
 +  $	 	
	   +
 
"
 	
+	$	
	+
"
"$
 	
$

                                                                       
" $
 +  	  
" $	 

*

 M
" +*
	 1*	
 +  
 +  

                                                                       C	**
*	


6* $
++N %8 
"	C
"#
1*	
"
	

                                                                       *
N ''
                   %=
+*6*
                                                                       *  
  	  $	
   1 	

" +	 "$
"
	 	*

 " %% 
 
 E
                                                                       &# ':  0*
	 	  	
	 + 
" 6	

9'(<  * +* +  	 
" 	
 " 
                                                                       


"

"D	


*$*
5M$

6*+	
	+
 *
	$
	
                                                                       ,
"

"Q

*
C	*R+$ 
+
  
 +*  
" 6* #* 
" +

                                                                       $*$ 	 
" C	* 
  6*  	$
	 	
 + +	
 *   6* 
"
 

                                                                       5***4	
+	 
" C	
 +  

*
 
	 +

*	*     *
 " 6*             !5*
N '9 1+*
"


"

  	+ 
 " 6*  	
"*
 "	          M34"6*	+	
$*	"

"

"6*5	

	 +	
"
		*
                
 
"6*"
+*
"+


 +*  
" 6*  	  !!               Q"	"
",
	

"$*	"
 R
"
	"
 
 
" 
	 +
 +*  
" 6*            6*C"	$$*
"	
N ';
" * 
"
 
" 
	 	*
 
"

" +* *
	" 
" 	
	
	 	*
 "             ) 1  
" +
5 $ *$$
  C	*
6* 	$  
 + 
"  		 
" 6*5       
 + ;: 
" J*
 
" 6* 	$  <(U
	 
	 $		  
" 	 + 
"           
"
+
+		
"+
"
	
"

"

"
"+*                                      	
 *
 " 

 + /"	
 

                                                                       
"
 
"   $  	
	 * 
"
)"$
"
	 
"*
5
"	$
+
*              C	*

;:
" *

"
"%(U
+		+
		*
M+               C	* $	 
  
	 	+	
	
	$	
	+
"
"$
N %& #
+
+		            ++	.6
	
"


	 
"1*


"*
 
"C	*$*	"

"+
*                  


"
M3
4"QC	*
R	%(
	 * * 

*
 	 	+  	 
" 6*  
   "
"	
'(	$ A*
"
	"

$* 
"
 
"  
	 	*
 +*           
"6**"	$*$+		"
	B



                 	
 !                                               ""
            2:17-cr-20037-JES-JEH
	

                 # 102      Page 93 of 122



"	#A*
"
	"

"6**"                      $
 +   ++  *
 
                                              '8                                 *	



"6*)
	
	$*$+		
BN
                                                                                 

"

"+
*"
                                                                                 	 
"  
 	
" 
)'(%: 	$	
6 '= $	


" D	
 

 *$ *
 * 	
 		                    	
"*

"
+
 ::

	  	
 6  '&  " 
" *
 	     #	  
" *$ *
 

 
"
 M	+  6*

C
$ 
+

"
	
"
             
+	+

"
	
"

*
C	*
		*
 ("4 *


"C	*
                
  ("4!  *"  +		 * 	
 
" 	C
"
"  *
 " 
"
 6*		 +
+		 
"
         #
 	+
"+
*
	
	
	
"
		*	
	$	

"               
+		
"	
"		
	A


	C
"#
MJ*
"6*5	
Q*
"	?
                                                                    
"  $$	 	
"*
 
"
 
	 +
BN :9

" 6* 
 	$ 
" 		* 	
"  	
"*
 
"
                                                                    $  # 1 $ P		
+		 R
"*
+
"	
"

"+
*	
                                                                    
"'((( '((' '((9 '(%: '(%8 $
	P
+		
"		*

Q
	R

                                                                    	$
+
"D	




"+
5$*	"
)
 	
		

"
                                                                    *$*
5	C
"#
6*	$* :;
6*5Q"		
"	
"*
"	?RN '< $
*
                                                                    "	*
5$		$*$"	
"
	
*
		

                                                                    + 
" $
# 	
 + %% 
 
 E 9'(<  
) $  
" +
  " 	
" *	 
	+		
	
	+	 "	"        	
  :8  	   	   *
 + 
	  +	 
 		* 
 
"
           5 


 
"
 M +		 + 

*

	

		*
	+             +
  
 Q	R 
" C	* $
 
"



"+	M	"N :( "6*	

"             +
  	N :=  +	
 	
" 5 $	
+
"
	*$$

"6*5             * "	"$"		
6*		+		+
	
	
+	5	$	

	+ *

"6*         	*
 
"
  M + 	$	
	 + 
"

"
"
"6* +*
"

"+
	"           
" $
N :&  #  "$
"
	 	*

  
"

"+	 		
"
		*
              6*

*
	1*	


"+

+ +	  
   " 6*5 +		 
"
   
 	+ * " * 
 " 	$ 
"

"+
	"
"+	 
"$*
             
"	$
+		+	
	
	
" 	

"	C
"#
	"

6*
	 :%        	*
"* 
"	
	6*		+		
$
"
$ 5+		
	+
           + 	$	
	 + 
" 
" $
 :<  )+ 	

+  ++ 	 	* 
  +
 
"
      	*"
"$		$$*	$
	 
" $*	"
 		  *
  
" 
"
         1 $$ 	 
" $	
 
	 
C
  
"
	
"+#0*
	"
	$             *$ *
5 * 	  ,  
"

M34+		 +
 
"
 	  
 

*
         
" +*
	 M*$		N +  " 
		* 
  $
 + 
" *

	 ++        MN 9(

" +
 
 $	
 
"  $$	 $

+
"++
"		

 NM3	4
$

" "	
	  + 
" 6*   	
	 
   11/&89:1,18;<'8:1-. -'*;8
                                         :'

"

		+
N "D	


              ).%898;1.:8.8>):168):-
*$*
+*
"*	$
"
                     '.).1?1:0).;1.:8),,19?):168):-
                                                                    :8'9;8.-,9--,
             
" 
	 	C
" #

             	1*	 	 "
"  +
 	                   F*
	 ' "*   	 
" 
	 	
"
             
+
"	/"+		                   $

*		
 

++
	
*
	
             + +
 
 
"  $	             P
   

 + 
"  
	
*
	 9%
             $*	"


	
 
"                   ("4"  >  F*
	 ' "*   	 
"
             +
 	 +  
	
*
               ++	
	

"*+$+


               	
 !                                             "#
            2:17-cr-20037-JES-JEH
	

                  # 102      Page 94 of 122


                                                                         *
 
" C	
 + 
 

D5$
$	

	+,                  

*
 
	 +
   $	
 
 
"

" 6*5 $	 +*
	 	 
" 
	 $" 	        	$	
	 + 
" 
" $
 ;(  J*
   *


 ,  +
* +		 	 
" C	
 +       	
$
 
"	C
"#

1*	6*


*

		*
"6*,               *		
	

		
	
 
	 
	 	 "
" 
"

	 	*
 +* 
 C	
 *
	" 
"           /	
" $
 
 
" * + $+  
" 	C
"
	
	
		*
+*
C	
                              #
 	
$
	$  # 
                                                                      1*	 
"
 M3	4+  

 ,  	 	 
)$ 	
# 9' 
"D	


*$*
              +
5 *
"	? $*	"
 
	
  
"
"
"

"*"
"	C
"#
	"


	              +		 +  +
  
"
 +
P 

 " 
" 


6*1*	*	*6*	
	+		             	
P*
  +*   6*   

	 	

1*	*	*6*	
	

         *
N ;%  )   
" D	
 

 *$ *

		 
	 9:  "  
" *$ *
 	        	

 	
 "	 	 $  
"
  +
 
"
 M
"
" 	
	 + 	  
"*	*             QC$34
"+


$*	"

"
"

6*		

"	"


	6*			          *
"	?
"6*5*	
	
R	Q
R3+
* 
" 	C
" #
 # $*	
 + 
" *
            	4 
"
 *
  *	

 
  6*N ;'  J*
M$	34  	++ 
 6*	 1*	 
 
      
" 
	
	 + 
" C	
 +  
	
*	*  
" $	

 
 	
  1*	

                                                                      	*
 	 M$* +
* N ;:   *"  +		
                                               99
 
 + %( 
 
  %% 
 N  " $*	
        C$
"+


$*	"

"M
"
*
"
M		
" 
"	

+
"+
         C	*"*		+$*	"	

"
	 "	 
" 6*
 + "	 $ 	
$ 
        +
+
	
"6*	
 N	
*
+*
"	+  
" ++	 + 
" 

 " $*
 
                                                                      6**
 ;9
                                       9;
6*"		1*N


) ) 	
  * # 98  
" D	
 

          111/&89:1,18;<'8:1-.!=%1&)@
*$ *
  
"
 
" *
 	 $              %8:89:8%81>1.>,'.&:1-.?':
M 
" *
 +  *** 			  
"              889,-9?8;0)'90=-'*;8
0*
	 N"M+*0*
	
,
"	
"

"	C
"          ).%898;1.:8.8>):168
#
  
 1*	 *	* 6* 	

                                                                      #
	+	

"	*
 F*
	:"*
	 	
" +  

 		 
	   +* 
"
                                                                      	 
" 
	 ) " 
"	 *	 + 
 
0*
	
,
"	
"

"	C
"#
1*	
                                                                         *      	
*	* 6* 	
 	 +  

 		
                                                                      $
*	
*
"D	


*$

	N 9=  " ) *
 
"             *
5  


 	   
"
 M
" 	C
"

"
 M0*
	 -5 * 	 
" 3$ 4             #
  
 1*	 6* 
	N ("4$
6*
,
"
	 "*
"

"	C
"
                                                                      	 $	
  ;;    
" 
 	 	 +
#
1*	6**		
	+ *


                                                                       	 
"
 	
  	, #  1*	  6* 
 +	 


 N 9&                                                     
		*
+	$	
	+
"
                                                                      
"$
 *
	

1*	
"6*
$+
 
  	   
" $
	
	 "
                                                                      
"	"	+*
	 ;8

" 			
 + $   *
 
" *$ *

	 
  "
" 
" 	C
" #

                                                                      *
"  P"	"  
 $, 
 
" 	"	
	"
 
 
	  6* 1*	  *	* 6*
                                                                      +*
	 	
P"* 
  	  ! 
 ("4#  	
 	 

 		 
	 9<  "*  $      *	 
" 
	
*
		
 + 6*		 
	 	
	 
" + 
	
*
	  $ 5                $	
  	 
" + + *"  *
"	
 
 
"
$	* 
	
"
	    

 + 
"              
 $	"
"*
"+ 0*
	
 
	
*
	  
" 6* *
 *	* +	           
 "2 
"	"	+*
	



                	
 !                                               "$
            2:17-cr-20037-JES-JEH
	

               # 102     Page 95 of 122


	  $
 $		 	
	 + 
" 	 +      *
  
"
  +
  
 6 
                                       ;=                        
	
*
	 	"
 
  6* 
	
	  
 
"
	&	
$5! "		

+
& "0*
	
 	          $$$	
 
 
  	$N ;<  "  
"	
 
"

"#$	

	        *
 

 ("42  
"
 M3
4" 	C
" #
 
"+

"		*$                "  
"*"
 
 *
  	"
 
  6*
                                                                 
	
	N + M
" $$$	
 $*	"
 
 
            +
*+		
"

	
                                                                 	$			*N 8(
            +
 *
	" 
" 	
	
	
            +
 " " $
 +
                                                                 " 
" $
 	 
 M+*

    		


             , *#  
                                                                 	
" "	"	"
"	$	
	+
"$
	
            ##	# * *  *@
            !#!##*                			*	
	6*N 8% *	
             *   !              	# 0*
		
"
M3
4"


"

             
 )
 	   
"                  
" *
	
 	+
" 		 
 
" 6*
            
"

"	+
*+		C$
"                   P 1*		  $	 6* +		 +
            +
 
  
 $*	"
                
	 +
 	 
" 
	 $"   
            
" " * 
"	 	2                 	$   $	 
" 
	+
 
	
	
            
"   $$ 
 	+ 	
"*
               A"	
	B	
"*	
$"N 8'
            $D$ #                       #  
 1*	  6* 
 ,
            +		
"
"*"++
*
                 
" 
	
	 
"
 
" 
	 	*

            6* ;&                                *
	"
"	
	
		*
 8:

  
 " 
"
  6* 
	
	 + 
"
$$$	


	$	
         /	-B
(
-C9BD
+  
	
*
	 $	
 
	 +, "      ;
.)

)!!
		
	
	*	"*
"+*"	P"
	 	 &P	+ 
"
 	 "
 
" *$ *
        * M	
$
N
	
	                                                M
 
" C

 
"   
	 6* 

                                                                 +	  
	 	*
  	$
 + 
	  	 
"
 * 	
* "  	 
        6*5+
+		 
"
	+	$	
	+
"


%%

E9'(< 


"
	"		         
" $
N 89  "  *
 	 
 " 
"

4+*
	**

*
" )
         
" 	C
" #
 1*	 
"
  6* *
 ,
	+P	
"++*	**            
" 
	
	  
 
" $$$	
 
 
 
D	


*$*
$


"
P           	$ 	 $	
   	 #  "
"

"
**
*K#5	


        M
"	C
"#
1*	34
"6*
, ("43
"6*
"*
	

	*
"	
)C$	      
"*
	

	
	"
"
	$
"
"
"+
"$	
+*                           $
N 8;


                                                                 ) 3** 	
  88   $*	
 + 
" D	
 


        )/
				                   *$*
	"
"
"	C
"#

         !"
#
	#
$%               1*	 6* 
	 	 $	
  3**
       	&
'	&#

                

  
"
 6*		 
	 	 
	
*
	
                                                                 $		 8= 3**M$	
*

"
6*
	
/	=%
8A	
                                                                 	  $	
   $+  	$

 	


                                                                 +*
	 N *
 	
  $"	? 
"
 
" *$
" D	
 

 *$ *
 "   *
	$          *
 M" 	 *
 
"
 6* 
	 	
	  C$ 
	 6*		 
	 	      
	
*
	 1*	N 8&  	 3**  "
$	
  -	 
   
" *$ *
 M   
"*
"	
	*
"	
		$	




              	
 !                                              "%
            2:17-cr-20037-JES-JEH
	

                 # 102      Page 96 of 122


 	
"6*		
	 8<                         
" 6* * 	
 	 
"	


	3**                                                            
	
	  	  +

                                                                                 	
	   34  	
 0*
	J5*	P"	"                            
 
  	$ "	 	
" 
 
  6	
 *$$
  
" D	
                      +
"	

*



*$*
P*
"	+                             $$  
" D	
 



"*
5!$		
$
	"	6*                           *$*
 =:
$$
6*>
2
                                                                     ) '(('  +	 #  * 

*
  
   
"  C$	 	  $		 *	          
  +
 	
 $
 + =9  %% 
 
 E
  	 
" 6*
 	 # 	
 $  ) 
 6	 
"    9'(<   (#55  	 	 '((: 
 +
 *
  *
5$		#	
"
 " )*	             K#5	
"
"*
	

	
  
"6*
"	
"
M
"G	"
"
                                                                     *
"	
		
"
"6*$$

"6* =;
  #
1*	
"
6* 
6* ,
"
                                                                     " $	 
 
" '((: 
 

2 M"	 #

  		

+


"N =(                     ++	 
" 	

 + 
" K # 
"
 
"
                                                                     
	 6* 	  $	
 *  " 
0*
	J*	
"6*
$	
                                                                     *
	
 $	 + 
		 
" $
 
 
* 
" 6	
 	 
 " 
"
 6* 
	

	
*
	1*	 	
"
"	C
"G	"
"         	$N =8
#
 	$	

                                                                     "	
	

	6*		
	
                                                                      
" *
 + * K #5 
	 

                                                                     		
"
$	$
5	
	?
  /)
#
!
	
!)               -
	* *   
 C$ 
    !"
#
*	
	'                 6*		 
	   	
 *
 
"
 
	
  
$	"
#
	#
$*
)

+               $
 +     *	  $		$ +
                                                                     +	  $
	 + $  + 6*		
/	
"	*
	
*
	
+",
                                                                     
	
   
 
  	 * "
 *
 

 

*
   		
  
" * 
"

                                                                     

 	
* "  $$$	
   
"
	
 	
 
" D	
 

 
	
*
	 =%  >         	 /"	 
" $	 + D	
 


 ("44  ) 	 
"
  		 
  %% 
 
 E   *$ *
 6*	$* 	* 	  $
9'(< *
	
*
	 " "*  * 	+          

	+	F*
	%

*1*	
*	**  + *"  *
 ='  # 
 6*		    6* 
	    
  
 6*

	  		 	

	**"	           
		$	

+
 "*  *
 	
 
" *	
	

"
*



*
*

"

6*		
		
                                    16/&89:1,18;<'8:1-."11.)*1&)*8

                                                                     K	   
 F*
	 :  F*
	 9 	
	*

 	%<<% 5	
*%%
                                                                     	$$	


E9'(<
++
"+6*
	

6*
	"$	+
"



"


*


2                                                      6/&89:1,18;<'8:1-.#=):-%8:89
                                                                     ).0'.&-.:1:':1-.)*9-611-.&).
             "	 	 * * 
" 6* 

                                                                     886898;=-'*;8).%898;1.:8
             , 
" +	 
	
	  

                                                                     .8>):168
             "
"  $ 	
 + +	

              * "*  
                   ) 	 
" 	
 
* + 
" $		 +
             
 
"  	+ 	$	
                      %% 
 
 E 9'(< 
"
 	 
" +		 +
             " 	 $	   

*
                
		*
 
"
	

             +, 
 *	 
" 6*


               	
 !                                             "&
            2:17-cr-20037-JES-JEH
	

                  # 102       Page 97 of 122


1*
	
"6*	
*
	 == )

                                                                                    $	
    $*	"
        $


"		*

"K#
                                                                                     1*
	 
"
 $"	$"
                                                                                    
"	   

 "
61/&-.&*'1-.                                                                      $$ 	
" + 		 "
                                                                                     + * 
	
*
	
/"

	
"
"$	
$*	"
                             		


"


	 
	 
	
*
	  
 ) 
"	   
"                 
"
   
" " 	
 
"
D	
 

 *$ *
 " 
 	 
"
                        
""
"


++
	
*
	 
"
"$
                           
		*2
"+
	


"
	 
	
*
	 H
   + C$  	 "  	
                    -$
	 &;
" =& 
"*$*



"
	
"M
	
	 ++	 
"
 $	
 $*	"
 	 
            #	  ) *  
 
" 	
	? + 
                                                                       
	
		*	$	
$*	"


*
	
*
	N =< ) 
"	+
"#


"
                                                                       	
   P ) * 
 
D	



	
*
	C$
$
$	

                                                                       *
	
*
	
"$
+%%

E9'(<	
"*

$*	"
 &(                                                         	
	+
"D	


*$*


 	 "
 
"  
	
*
	  1*	 
"
*6
+
"
	+	 (#5 1*
	.
" +*
"
"
"D	


*$*
5			               @#DK> 0*
	 	
	2
		
$
	+*


"$
               )  
 $* 
"
  	
  %  1*	 


*
   

 + + 
	
*
	          +		 
"
 5 
" $
 

*
 	

" 
	
*
	 	*  	 P  +            
"	C
"#


"D	



	
*
	

"


 #P
"6*		
	
	                 /"	 ) "  	
 	

 
"
 
" 	 

*
  	
+
		*
J*$$		               ++
 
 
" 
	 +    
"  

*

+ )*
"

"$
	+*

*
             		  (#5 
"+*
	++


"
   	$
  6*		 +		 +        $	
"	"	


"	D	5

*


		*

+*
"6*                        	
 
" C	
  
" 6*5 +		 + 
" C	
 +
                                                                        

*
 
	 +
  $* 	 )
$$
	 
"*

*
5                	
	  	
 	 
  
  *	* # 6	

$		 + 6*		 	"	 + 
	                
*""6*C$+		

	
	
	 	*
 0*		 
	
  +            
"C	
+$	+	

*

	+

	 
" 	* + 6*		 
	 	 $	
       "	"  
"
  6* * +	 
" C	


   " 
" D	
 

 *$ *
                  +  

*
 
	 +
 "	 
" *
*	**  
" 

 # 
" *$               +	 
" C	
 +  	++
 +
 	 
" 6*5
*
	

		
$ &% M3	4
	
"*
              $* 	  
" 6* * 6
  6*
	 
"
 $
	  	 	
" 	 	 *"          +		 
"
  

*
 
	 +
 C	
 
 
" *	 + 
" 

 
" 	
 	 + 
"    

"+


""	"
                                                                       +		 "
 
 "$$ * 5 

*

K
N &' "*
+*
"
"

                                                                       )  
" 6* *
 +	 
" C	
 + 
 

M "* 
 	"
 
* 
" 
	
*
	  
                                                                       $	+	

*

	+
*	*

 	
* *$ 
" 		

	 + 6*
	  
"
                                                                       *
	+
"+


			* 

N &:  J *$ 
" *$ *
5            		 
 	 
" 
" $
 )+ 
" 6* 

  + 
"  		 #5 
"          
+	
"C	
+$	+	

*

	
$


*
 &9 P

*
"	"			
              +
*	**
 
"

 5P
" *
  
* 	                 $
$ 
"6*

"+

	+

" 	* + 6*		 
	 J*
 *
	 
"  )         	$	

$*0*
		5
		"	$

*	" ""

2


                	
 !                                                  "	
            2:17-cr-20037-JES-JEH
	

                 # 102        Page 98 of 122


   
" 	 	 
"	  	 	
" $        )
 +  	  	  
"
 	 '((' " # 
                '                           :                        	  
" D *$ *
 " 
" 	 
"
 
"
	
  %   # 	
 $  ) $   
"
D  *$ *
 " 
"
  +
* 
	
	        	C
"#
1*	
"6*
+	
"C	

*
"	?			C	*$	
*
                +  
	 +
  *	*   
                                                                     *
 	++



+*6**
 9 )#
                                                                     

" *
	
1*	
"

"+
*	

" *
 $$	 $  
 #	?5 
" $

                                                                     
" 	"	 $  +*   6*   	 



*
 ; "#	?

*
	++


"
	+#        1*	6*
	#
+
"$		$

"6*	
	 8 "*
"	?           
"
 
" 6* *
 +	 
" C	
 + 
 
 
 6* 
 
  +
 
 
" + 
" 	     

*
 
	 +
  *	*  
+ * 	+ 
" 6* +* 
 
  + 
	         *
  	  
 
 
" +
5
*

		*

C	
M
"             C	* $*	"
 + 	+ 	$	
 
 
"
34	
	
		*
*++		
*

	          "
	
"	+#"	"
"	*
$
	

+	N = "	*
++          	
  %9  "	" ) 
"	,  
 
"  	
	"	$"	"
"6*		+""             
+

+*
"

		*
C	

                                                                     " $
	
 	++ 
 #	?5 

*
 

"D*$*

"
*#	?5                 
" 
	 + #  	5 

*
  
"
 *


*
 M
"

	$            #	?5 

*
 
" 6* "   	 
	
* 
 
  
	 +
 	 +* 
 C	
    "*
"	

*
	
"	
   *
N &  )
 

 
"
 M3
4"          #+
# 
"
		
	
		
"*
	++
1*
	 $
  "
" 
"
 
	 +
         )
 	  
"
 
" "
	
	 + 	5 

*

  +*   6*   #	?  $	+	        +	
$	
"#51*	

"
6**

"
"
"	C
"#
56*
	*
              
	 M +
  "	" 
" 	
* 	
	
$$	 
 
" 

  
" *

" #
          		3+
54C	*$*	"
N %;
1*	 
"
 
" 
	 +
 
	
	           	  " 	
 

*
 
 	 	
 	


*
 
 
" 6*N <  " *
  
"
          $	 	
" # %8  #
"*" 	 

$

6* *
 
	 M +
  "	" 
" 	
*       
 + 	
 

*
 + 
" D  *$ *

	
	  	 	 3 +
54 C	*              	   
" 

*
5 +	* 
 $ 	
" # 	
$*	"
 N %( *&	
$ %% M
             
*1*	
	*)
"	,
"
+
#	

" C

 
"
 	
   
	 6*  	

	        
" 
* *	 +  	
  %=  
	
"*
 (#5! 6* 
+	
		*
            	
 %& "	"*	 
                                                           %'
+
"	$	
	+
"
"$
N "             $	

$		 	 
 	*  6* +
+		  	 
"
	"	$
"
+
"+		+
"C	
          *"	+
"
	"	"M3
4"
+
		*
                                      	C
" #
 1*	  6*  
  6*  
 +	
                                                                     " +
  
 	$  
 + 
"N %<
)"	*	# 0*
			
"
M
5        /" 
"	 
 	   *$$
	  *	
6*
"
"	
	
"6*
	"           
"

"	C
"#
1*	6*+
+			
"


 
"
  
" *
	
 	+
" 		 
      	"	$6*
	 )
"	,	
	*


" 6*  
	* 
  N %:  "	 


      +
C
)	
"

"
C$
	
*"
  
 + 
" 6	
 0*
	 J          +	
"
	
$$	#	
"*
	#
* 	 
" 6*
 * + "	 	 
"
 
"      ) 
"6	
*" 	$		2
G	"
" #
 1*	 6* 
	 # + 
"

"	"
0*
	$
"$$
*	

6	"	                        "	
"#*
$$	
*                                                                      
 #	?5 
	 "
                                                                                  $$	 (#5"  1* 
 	5
                                                                                  H	, #	? 
 
" 
	 + #



               	
 !                                              "'
            2:17-cr-20037-JES-JEH
	

                # 102       Page 99 of 122


             	
1*	
"6*

             ,
"	
	+		                   "1*
	$
	
,"
"
"6*5+

                                                                    +		  "*   	
" H >*
5
             
	$
"
"$
 '(
                                                                    

 	 
 *   +  )  
	  
"

#
"$		?
"*
+
"	           
"	C
"#
1*	
"

"6**
+	
#.+	

"	*$*
 
"*
             +
*	
"	"	$"	



2                                                             
*
"	

*
+	
$	
"#5
                                                                    1*	

"

"6*,+		++
"	"
  # 
 "  
" *
 6
 5 *
      ,+

"		
  
"
 "	 
 	
 
" 	C
" #
 	
  	"
 + # #  
" *
 	?  M" 
"
     ) 
"	 $	 	+ 	 
" D *$ *
  
"
  $	
+

	

6*
	
	           

 + 	
" H >*
 	*  *

  +  +
  "	" 
" 	
* 	
	         "	" )    *
 
"
 	5 
"
  	 	 
" C	* $*	"
N J*
 
" *
         $
 

*
 	 *
	
*
	 * 	
 	 
 	,
  	 # 	$$	 	 	"
 + 
"	 *
5      5 #+
 *	 
"
 P  "	"
  $
*$$
+	5$	

	"           "$	**$"	5
"$


*
 '9 P
                       '%
  	$#                                                "*  *  * + 	
" H >*

                                                                    *2
) $	 
 
" 

 + 	5 *
  
"
*
	+

"				
2                              	  
" 
" 
" 

 
"
  
 
" 
	 +
                                                                      #  " M"	 
  	 "	" 
" 6* 
             	
"
#1*	                       	 	
 *
 
" 6* , 
" *
	

              6* 
 +	  +
                 
	 
	
	 N #  ;:8 D 
 8(&
             
   		 + 
"                    8  %'' 
 '9'&  	+	 
"	 $	
 
	
             
" $
 " 

 +	 
                " +
 # 
 * 
"
 
" 6* , 
             $$	
 
" 
  	*                  +		+	$	
	+
"
"$

              
" 6* $ * 	                  A	+
"6*
	 (#5# 

"
B
              # 	   
                                                                      	
 &%;#':%9 :'(A'((:B ';
             
" 	 *$ *
  
"
             	 
	 

*
  
                	
" H >*
5 

 
" 	
             ,+
		+
"                    5

*
*"	"M
"6*,
             *
	 +		 5   
"

                                                                    +		+	$	
	+
"
"$
N '8
             *" $ "  $*	" 
                                                                    )$		 
"	*+	

"
"
             
" ''                                              				
 +		 
	 
" 			
 + 
"	 $
                                                                    +	
"H>*
5$		+

"



/"
"  6* "*  1*	 
 +	 
" C	
    	 
" 6	
 $		 	  
"
  6* *
 M+	
+  +
 "	" *	 
" 	"	 $  "   "+

	$
+
"N
 
  	 
" 	"	 $  
 +

" *
 	  )  $		  
" *
  
      #
*
+
"*
 
"+	
,
	*	 
" 	"	 $ 	 
 " 1*
	       
"

$
		
"H>*
+
$
		$
	"
+2                  

"				
2

             /"
"	5
"
	                                  3#

 + 	
" H >*
42
             "     	
    
"   	C
"                               D 	   	
" >*

             #
  
" G	"
"                                          	  
 "	 
" $	
 
"
             #
		"
+
"	*
5                                  +
 
"
  6*  
  6*  
             			#	
$ ;:8D                               
" +
* +		 
"
 P
             ;&9 %''
'9'& %;:HG';;8                                "			+
""

             A'(('B ':



               	
 !                                              #
            2:17-cr-20037-JES-JEH
	

                 # 102       Page 100 of 122


             	

"	C
"#
*                       ) 
"	, 	
 * " 	   	
  
                     '=                                               C$
             #

0*
  1*
	 
  "   1*
	  	        .
 	0*+
"	 
"D*$
+	

"				
2                                       *
 
 
" 6*
 	 
" # 
"
                                                                      $
7

"#*$
  0*
	 	2 ) 
"    	 "	" 
"          *
  
 
 
" *
 + 		 #$$ +
  6* +* 
   
" 
"
                                                                      # + +*
" 	
	 	 	"
 + 
 :(
  
 
"6*
"
+		O
                                                                      #  	 
 
 
"  

*
 )

  3#

+	
"H>*
42"                

*
 	,	5 	
"6*	
  "	 	 $		$   *
 
" +		 + 
"      	  
" $
 
	 #+
 #  # 	
                                                                      
  	
 
" $
 

*
  *
 
" #
  				
 


	 '&
                                                                      *$ *
 $+  6*		 M$	N 
 	
H
 	 
" *
  
" 

 + 	
" H           # 	
 $	 	
" # :%  ) A2 
>*
 	$

"1*
	+0*
		            )"** 	


+2
+

"				


"
	
	+
"

2                                                                         #
  
	 *	  
	 + 
"
                                                                                  " 	
 K	++ "* 
"
             3#

 + 	
" H >*
42                                6*  
 
"
 	
 		 
             0*
		PC
# 0*
	                                 
" 	* + "
" 
" $++
             	  	 	 * G	"
"                                 
	 	*
 C	
 	
             #
 $	
 	 * 	+P                                    M	N  M	N
             
"
 +  0*
	 J5                                .
" 
"6*"*	
*

             * 	 #  
"P
"	 	                                 
"
  	+ 	
 
	 
"
 
"
              *
 
" 				
  
 
"                              
	 	*
  

             
	
	 + "
 
                                    C	
  
" 6* *
 
* 
             $$	 '<                                                          	
  		  
" 
	 *

                                                                                  		+	$	
	
"*

)	
$

"


	
"6	
$			                        
" $			
 + $  
"

"
  6* *
 +	 M" +
  
 	$                   $
"6*"*+*
"

"
N

"

"6**
+	"+
                         	
*
 
"
  	+   	+  	


"
 	  
 	 
" C	* $*	"
                       *	* +	 
" 
	

"
 
" +
  	 +  
 + 	+                   	*
 
 C	
  
	$	
 
 
" 
" $
 " +
   	                     *
  
" 6* "*

"	   	
" $
 
 *
 )  A%B .*+ * 
"                 	"
"
		*


" + 
" 	
	  A'B " 	  	

	   A:B               	

"	
	
		*


 
   $	+	 

*
 
	 +
 C	
7                 	*
  	+    

  	
" $
 
 *
 ))  A%B .*+  "	                    
*	
		
"E
	 
" 		 +   

$
 
 	
   +	"
                    %:#U;U98ABA'BA:BA+B :'
+
 	

	  

$
	 
 	
 
" + +
.	
"	
 A'B	,*
"             " 6*5 	
 	 
" 	"	 $  	, 	

"+
"	
		
"
+*
))
	            		
 

*
 
	 +
 	
"	 
"   +		
+	
	

*

	+
	1*	             !0*%= '(%8 +

" 
"*
+
	
" $
 
 
"
 *
 )  	  
"  
"       		 #$$ + #  	 A2   ::  	
+
MN
	$
"
"$
)+
"D            $*	"	
	
	+#+


*$*
	"	

#
                )
*6

"	
"
#
1*	 
"
 (#5$  
" 6* , +		 + +
 	 
"    

	2
	"	 $   
" 
* 
	 *
"	



                	
 !                                            #
            2:17-cr-20037-JES-JEH
	

                # 102      Page 101 of 122


                                                                     
"$$


"
"0*
	"
    " *
 	  	 
"	  
" $$ 	

                                                                     	
""
"

		"*
)&
    $	* "	 	 $   # 
 	5
                                                                     "	
	+"+)"	
	+
    $	

	""*
	
*
                                                                      6	
 +  )    
$$	 "
 +
    *+
	
*
	 		
C$	

                                                                     "
0*
	


	"	

    "		$ ##
"



                                                                     	&
    *  M 	 
  
"	 + *
 

    #N :9
                                                                     D
	 
" D *$ *
  
"	 *
D
	 
" D *$ *
 $,                )  	
  *	 
"
  $$	 # 

"	 )	
"
"	*	
"*
+		         	
$
   *
  
  	
 ) 
#$$+#                                                  
	+	 
"
 5 
" $
 

*
 $	
                                                                     	
"
"	C
"#

"
"


0*
		 "

"
	+"	*	#           	 *
 	
$
  
" D *$ *

	 
" 	C
" #
   

 
 	          "+ )
"
	+	1*
	+2

" $
 
	 *
"	
 
  6*  	 	
"
                                                                        % 
"6*"+	
+*
"C	
+

"6	
	
)+""""			
                                                                           



*

	+
*	*
# )
"	,"*"	C$	"
                                                                           *
7
0*
	J	
	6*
*		
"6*

*"	
"G	"
"#
1*	6*                  ' K	   
 * %    


	 (#52 # + +
"
"0*
	               *'	7
$
"$$
*	

6		"	*
                                                                        :7
)
"	,
"

"		*	
	
#*	
                                                                        9 K	   
 
" $	* 1*
	  
6* 	 
" 0* %=  '(%8 #  ) 
	
                                                                           
*9	7
 *
 
"
 
" *   	

 )  
"  
"	 :;  0*
	 
               ;K	

"$	*1*
	 *
+ 	
  

 	 " 	
 + 
" 	 +            ;	
$$	)
"
%%

E9'(<

			&	
$5!
"
+		
"

"                  	


	 +
 *
	" 
" 	
	
	 +
 	 
+		++
"	"*
6* :8 "
                                                                     )&

*"	
"D*$*
$$
*	


 	 
" # 
" $
 

*
 >          %9;#:9:(


Footnotes
1        ––– U.S. ––––, 136 S.Ct. 616, 619, 193 L.Ed.2d 504 (2016).
2        Rauf v. State, No. 39, 2016 (Del. Jan. 28, 2016) (ORDER).
3        See 11 Del. C. § 4209(d)(1) (“If a jury has been impaneled and if the existence of at least 1 statutory aggravating
         circumstance as enumerated in subsection (e) of this section has been found beyond a reasonable doubt by the jury,
         the Court, after considering the findings and recommendation of the jury and without hearing or reviewing any additional
         evidence, shall impose a sentence of death if the Court finds by a preponderance of the evidence ... that the aggravating
         circumstances found by the Court to exist outweigh the mitigating circumstances found by the Court to exist. The jury's
         recommendation concerning whether the aggravating circumstances found to exist outweigh the mitigating circumstances
         found to exist shall be given such consideration as deemed appropriate by the Court in light of the particular circumstances
         or details of the commission of the offense and the character and propensities of the offender as found to exist by the
         Court. The jury's recommendation shall not be binding upon the Court.”).
4        See § 4209(c)(3)(b)(2) (“The jury shall report to the Court by the number of the affirmative and negative votes its
         recommendation on the question as to whether, by a preponderance of the evidence, after weighing all relevant evidence
         in aggravation or mitigation which bear upon the particular circumstances or details of the commission of the offense




                	
 !                                             #
            2:17-cr-20037-JES-JEH
	

            # 102      Page 102 of 122


     and the character and propensities of the offender, the aggravating circumstances found to exist outweigh the mitigating
     circumstances found to exist.”).
5    See supra note 3.
1    408 U.S. 238, 92 S.Ct. 2726, 33 L.Ed.2d 346 (1972).
2    ––– U.S. ––––, 136 S.Ct. 616, 193 L.Ed.2d 504 (2016).
3    Id. at 619.
4    Id. at 624.
5    530 U.S. 466, 120 S.Ct. 2348, 147 L.Ed.2d 435 (2000).
6    See, e.g., John G. Douglass, Confronting Death: Sixth Amendment Rights at Capital Sentencing, 105 COLUM. L. REV.
     1967 (2005); Nancy Gertner, A Short History of American Sentencing: Too Little Law, Too Much Law, or Just Right, 100
     J. CRIM. L. & CRIMINOLOGY 691 (2010); Morris B. Hoffman, The Case for Jury Sentencing, 52 DUKE L.J. 951 (2003);
     Erik Lillquist, The Puzzling Return of Jury Sentencing: Misgivings About Apprendi, 82 N.C. L. REV. 621 (2004).
7    See United States v. Grayson, 438 U.S. 41, 45, 98 S.Ct. 2610, 57 L.Ed.2d 582 (1978), superseded by statute, Sentencing
     Reform Act of 1984, 18 U.S.C. § 3551 et seq., 28 U.S.C. §§ 991–998, as recognized in Barber v. Thomas, 560 U.S. 474,
     130 S.Ct. 2499, 177 L.Ed.2d 1 (2010); Lillquist, supra note 6, at 641–43.
8    See Woodson v. North Carolina, 428 U.S. 280, 289, 96 S.Ct. 2978, 49 L.Ed.2d 944 (1976); EVAN J. MANDERY, CAPITAL
     PUNISHMENT IN AMERICA: A BALANCED EXAMINATION xxi (2d ed. 2012).
9    See Douglass, supra note 6, at 1977–78.
10   See Woodson, 428 U.S. at 289, 96 S.Ct. 2978; John W. Poulos, The Supreme Court, Capital Punishment and the
     Substantive Criminal Law: The Rise and Fall of Mandatory Capital Punishment, 28 ARIZ. L. REV. 143, 200 (1986).
11   Woodson, 428 U.S. at 290, 96 S.Ct. 2978; see also HUGO ADAM BEDAU, THE DEATH PENALTY IN AMERICA:
     CURRENT CONTROVERSIES 4 (1997).
12   See BEDAU, supra note 11, at 4–5 (“In rapid order most states followed Pennsylvania's lead, so that today every American
     jurisdiction that authorizes the death penalty for murder does so by limiting it to those convicted of murder in the first
     degree....”); see also RAYMOND TAYLOR BYE, CAPITAL PUNISHMENT IN THE UNITED STATES 5–6 (1919); 6
     WAYNE R. LAFAVE, ET AL., CRIMINAL PROCEDURE § 26.1(b), at 670–71 (3d ed. 2007).
13   Walton v. Arizona, 497 U.S. 639, 710–11, 110 S.Ct. 3047, 111 L.Ed.2d 511 (1990) (Stevens, J., dissenting) (quoting
     Welsh S. White, Fact–Finding and the Death Penalty: The Scope of a Defendant's Right to Jury Trial, 65 NOTRE DAME L.
     REV. 1, 10–11 (1989)) (internal quotation marks omitted); see also Ronald F. Wright, Rules for Sentencing Revolutions,
     108 YALE L.J. 1355, 1373 (1999).
14   See, e.g., State v. Baynard, 1 Del.Cas. 662 (O. & T. 1794); State v. Donavan, 1 Del.Cas. 168 (O. & T. 1798); see also
     State v. Jeandell, 5 Del. 475, 483 (Gen. Sess. 1854).
15   See Lillquist, supra note 6, at 628–29; Nancy J. King, The Origins of Felony Jury Sentencing in the United States, 78
     CHI.–KENT L. REV. 937 (2003).
16   Douglass, supra note 6, at 1972.
17   See Woodson, 428 U.S. at 293, 96 S.Ct. 2978; see also Roberts v. Louisiana, 428 U.S. 325, 360, 96 S.Ct. 3001,
     49 L.Ed.2d 974 (1976) (White, J., dissenting); Furman v. Georgia, 408 U.S. 238, 298, 92 S.Ct. 2726, 33 L.Ed.2d 346
     (1972) (Brennan, J., concurring); JEFFREY B. ABRAMSON, WE, THE JURY: THE JURY SYSTEM AND THE IDEAL OF
     DEMOCRACY 217 (1994); VALERIE P. HANS & NEIL VIDMAR, JUDGING THE JURY 149–58 (1986); Jenia Iontcheva,
     Jury Sentencing as Democratic Practice, 89 VA. L. REV. 311, 321–22 (2003); see also Rachel E. Barkow, Recharging
     the Jury: The Criminal Jury's Constitutional Role in an Era of Mandatory Sentencing, 152 U. PA. L. REV. 33, 79 (2003);
     Thomas A. Green, The Jury and the English Law of Homicide 1200–1600, 74 MICH. L. REV. 413, 430–31 (1976).
18   See CLAY S. CONRAD, JURY NULLIFICATION: THE EVOLUTION OF A DOCTRINE 47–48 (2014); White, supra note
     13, at 30–31 (“[I]t became accepted that in homicide cases the jury would exercise its nullification power when it believed
     that the defendants—although they might be technically guilty of the capital offense—did not deserve to die. Thus, in this
     context, the jury's fact-finding power has historically been used to temper the application of capital punishment so that it
     will mirror the community's perception as to when that punishment is appropriate.”).
19   C.F. ADAMS, THE WORKS OF JOHN ADAMS 255 (1865).
20   See supra note 12 and accompanying text.
21   See Woodson, 428 U.S. at 291, 96 S.Ct. 2978.
22   See Del. C. ch. 127 §§ 1, 2 (1852).
23   See State v. Reidell, 14 A. 550, 550 (Del. 1888).



            	
 !                                             #"
            2:17-cr-20037-JES-JEH
	

             # 102      Page 103 of 122


24   See Woodson, 428 U.S. at 291, 96 S.Ct. 2978; BEDAU, supra note 11, at 5–6; BYE, supra note 12, at 7–8.
25   Winston v. United States, 172 U.S. 303, 310–12, 19 S.Ct. 212, 43 L.Ed. 456 (1899).
26   E.g., Robert J. Smith & Bidish J. Sarma, How and Why Race Continues to Influence the Administration of Criminal Justice
     in Louisiana, 72 LA. L. REV. 361, 375–78 (2012).
     Regrettably, Delaware was among the many states that embarked on a century-long campaign of resistance to the rights
     granted to black people by the Fourteenth and Fifteenth Amendments, including those related to juries. In justifying the
     total absence of any black citizens in grand and petit jury pools as “nowise remarkable,” Delaware's then-Chief Justice
     said that “the great body of black men residing in this State are utterly unqualified by want of intelligence, experience
     or moral integrity to sit on juries.” Neal v. Delaware, 103 U.S. 370, 402, 26 L.Ed. 567 (1880) (Waite, C.J., dissenting)
     (quoting the Delaware Supreme Court's opinion) (internal quotation marks omitted). A divided U.S. Supreme Court held
     that this exclusion violated the Fourteenth Amendment, but dissenters embraced the rationale that categorical exclusion
     of black people from jury pools on the basis of their presumed unfitness to serve was constitutional. See id. at 397–98
     (Harlan, J.) (finding that Delaware's practice of restricting juries to “free white male citizens, of the age of twenty-two
     years and upwards” was in violation of the Fourteenth Amendment); id. at 407–08 (Waite, C.J., dissenting) (“No one can
     truly affirm that women, the aged, and the resident foreigner, whether Caucasian or Mongolian, though excluded from
     acting as jurors, are not as equally protected by the laws of the State as those who are allowed or required to serve in
     that capacity. To afford equality of protection to all persons by its laws does not require the State to permit all persons to
     participate equally in the administration of those laws, or to hold its offices, or to discharge the trusts of government.”).
27   See Andres v. United States, 333 U.S. 740, 748, 68 S.Ct. 880, 92 L.Ed. 1055 (1948) (“In criminal cases this requirement
     of unanimity extends to all issues—character or degree of the crime, guilt and punishment—which are left to the jury.”); id.
     at 763, 68 S.Ct. 880 (Frankfurter, J., concurring) (“The fair significance to be drawn from State legislation and the practical
     construction given to it is that it places into the jury's hands the determination whether the sentence is to be death or
     life imprisonment, and, since that is the jury's responsibility, it is for them to decide whether death should or should not
     be the consequence of their finding that the accused is guilty of murder in the first degree. Since the determination of
     the sentence is thus, in effect, a part of their verdict, there must be accord by the entire jury in reaching the full content
     of the verdict.”).
28   See JOEL SAMAHA, CRIMINAL PROCEDURE 475 (2011); Corinna Barrett Lain, Furman Fundamentals, 82 WASH. L.
     REV. 1, 23 (2007).
29   See supra note 7 and accompanying text.
30   See Wright, supra note 13, at 1374–75; King, supra note 15, at 985–86.
31   See United States v. Moreland, 258 U.S. 433, 448, 42 S.Ct. 368, 66 L.Ed. 700 (1922); see also ARTHUR W. CAMPBELL,
     LAW OF SENTENCING § 1.2, at 6–9 (3d ed. 2004); Douglass, supra note 6, at 2018.
32   See Hoffman, supra note 6, at 965; Lillquist, supra note 6, at 628–29.
33   See Powell v. Alabama, 287 U.S. 45, 71, 53 S.Ct. 55, 77 L.Ed. 158 (1932).
34   See, e.g., In re Oliver, 333 U.S. 257, 271–73, 68 S.Ct. 499, 92 L.Ed. 682 (1948) (incorporating the Sixth Amendment
     right to a public trial and to notice of accusations); Wolf v. Colorado, 338 U.S. 25, 27–28, 33, 69 S.Ct. 1359, 93
     L.Ed. 1782 (1949) (“[T]he security of one's privacy against arbitrary intrusion by the police—which is at the core of
     the Fourth Amendment—is basic to a free society [and i]t is therefore implicit in ‘the concept of ordered liberty’ and
     as such enforceable against the States through the Due Process Clause.”), overruled in part by Mapp v. Ohio, 367
     U.S. 643, 81 S.Ct. 1684, 6 L.Ed.2d 1081 (1961); Mapp, 367 U.S. at 655–56, 81 S.Ct. 1684 (further incorporating the
     Fourth Amendment exclusionary rule by holding that “all evidence obtained by searches and seizures in violation of the
     Constitution is ... inadmissible in a state court”); Robinson v. California, 370 U.S. 660, 667, 82 S.Ct. 1417, 8 L.Ed.2d 758
     (1962) (incorporating the Eighth Amendment protection against cruel and unusual punishment); Gideon v. Wainwright,
     372 U.S. 335, 342, 83 S.Ct. 792, 9 L.Ed.2d 799 (1963) (incorporating the Sixth Amendment guarantee of counsel for
     indigent defendants in felony cases); Ker v. California, 374 U.S. 23, 34, 83 S.Ct. 1623, 10 L.Ed.2d 726 (1963) (confirming
     that the Fourth Amendment protection against unreasonable searches and seizures apply to the states); Malloy v. Hogan,
     378 U.S. 1, 10–11, 84 S.Ct. 1489, 12 L.Ed.2d 653 (1964) (incorporating the Fifth Amendment protection against compelled
     self-incrimination); Aguilar v. Texas, 378 U.S. 108, 110, 84 S.Ct. 1509, 12 L.Ed.2d 723 (1964) (“[T]he standard for
     obtaining a search warrant is [ ] ‘the same under the Fourth and Fourteenth Amendments.’ ” (quoting Ker, 374 U.S.
     at 33, 83 S.Ct. 1623)), abrogated by Illinois v. Gates, 462 U.S. 213, 103 S.Ct. 2317, 76 L.Ed.2d 527 (1983); Pointer
     v. Texas, 380 U.S. 400, 403, 85 S.Ct. 1065, 13 L.Ed.2d 923 (1965) (incorporating the Sixth Amendment right of an
     accused to confront prosecution witnesses); Parker v. Gladden, 385 U.S. 363, 364, 87 S.Ct. 468, 17 L.Ed.2d 420 (1966)
     (incorporating the Sixth Amendment right to trial by an impartial jury); Klopfer v. North Carolina, 386 U.S. 213, 222–23,



            	
 !                                               ##
            2:17-cr-20037-JES-JEH
	

            # 102       Page 104 of 122


     87 S.Ct. 988, 18 L.Ed.2d 1 (1967) (incorporating the Sixth Amendment right to a speedy trial); Washington v. Texas, 388
     U.S. 14, 19–20, 87 S.Ct. 1920, 18 L.Ed.2d 1019 (1967) (incorporating the Sixth Amendment right to have compulsory
     process for obtaining defense witnesses); Duncan v. Louisiana, 391 U.S. 145, 149, 158, 88 S.Ct. 1444, 20 L.Ed.2d 491
     (1968) (incorporating the Sixth Amendment right to a trial by jury in all criminal cases, except for “petty” offenses); Benton
     v. Maryland, 395 U.S. 784, 796, 89 S.Ct. 2056, 23 L.Ed.2d 707 (1969) (incorporating the Fifth Amendment protection
     against double jeopardy); see also Jerold H. Israel, Selective Incorporation: Revisited, 71 GEO. L.J. 253, 296 (1982)
     (“The decisions of the 1960's had selectively incorporated all but four of the Bill of Rights guarantees relating to the
     criminal justice process: public trial, notice of charges, prohibition of excessive bail, and prosecution by indictment.”).
35   See Woodson, 428 U.S. at 291, 96 S.Ct. 2978.
36   See State v. Dickerson, 298 A.2d 761, 764 n.6 (Del. 1972); Hugo Adam Bedau, The Death Penalty in America, 35 FED.
     PROBATION 32, 32 (1971); Valerie P. Hans et al., The Death Penalty: Should the Judge or the Jury Decide Who Dies,
     12 J. EMPIRICAL L. STUD. 70, 73 (2015); Glenn W. Samuelson, Why Was Capital Punishment Restored in Delaware?,
     60 J. CRIM. L. & CRIMINOLOGY 148, 148 (1969).
37   See 29 Del. C. ch. 266 (1917); see also State v. Thomas, 111 A. 538, 539 (Del. 1920); State v. Carey, 178 A. 877, 878
     (Del. O. &. T. 1935).
38   See Dickerson, 298 A.2d at 764 n.6.
39   See id.
40   See Woodson, 428 U.S. at 289, 96 S.Ct. 2978; see also Sheri Lynn Johnson et al., The Delaware Death Penalty: An
     Empirical Study, 97 IOWA L. REV. 1925, 1929 (2012).
41   See Andres, 333 U.S. at 758, 68 S.Ct. 880 (Frankfurter, J., concurring) (“In three States a jury's recommendation of life
     imprisonment is not binding on the trial court: Delaware, New Mexico, and Utah.”). It appears that there was only one
     instance in which a trial judge imposed death when a jury recommended mercy, and that sentence was overturned on
     other grounds, depriving this Court of the chance to address whether that judicial override was proper. See Jenkins v.
     State, 230 A.2d 262, 265 & n.1 (Del. 1967).
42   Woodson, 428 U.S. at 291–92, 96 S.Ct. 2978; see also Andres, 333 U.S. at 759, 68 S.Ct. 880 (Frankfurter, J., concurring);
     Brief for the United States as Amicus Curiae at 36, McGautha v. California, 402 U.S. 183 (1971).
43   391 U.S. 510, 88 S.Ct. 1770, 20 L.Ed.2d 776 (1968).
44   Id. at 519, 88 S.Ct. 1770.
45   See id. at 525–27 & nn. 2–8, 88 S.Ct. 1770; Bryan A. Stevenson, The Ultimate Authority on the Ultimate Punishment,
     54 ALA. L. REV. 1091, 1140 (2003); see also Johnson v. Texas, 509 U.S. 350, 359, 113 S.Ct. 2658, 125 L.Ed.2d 290
     (1993); Lockett v. Ohio, 438 U.S. 586, 597–98, 98 S.Ct. 2954, 57 L.Ed.2d 973 (1978); Stephen P. Garvey, “As the Gentle
     Rain From Heaven”: Mercy in Capital Sentencing, 81 CORNELL L. REV. 989, 996 (1996); Susan R. Klein & Jordan M.
     Steiker, The Search for Equality in Criminal Sentencing, 2002 SUP. CT. REV. 223, 262–65; Lillquist, supra note 6, at
     648; infra note 228 and accompanying text.
46   391 U.S. 145, 88 S.Ct. 1444.
47   See id. at 149, 88 S.Ct. 1444; see also Parker, 385 U.S. at 364, 87 S.Ct. 468.
48   Stephen F. Smith, The Supreme Court and the Politics of Death, 94 VA. L. REV. 283, 287 (2008); see also Lain, supra
     note 28, at 18.
49   402 U.S. 183, 91 S.Ct. 1454, 28 L.Ed.2d 711 (1971), overruled by Crampton v. Ohio, 408 U.S. 941, 92 S.Ct. 2873, 33
     L.Ed.2d 765 (1972).
50   Id. at 207–08, 91 S.Ct. 1454.
51   See ANDREA D. LYON, THE DEATH PENALTY, WHAT'S KEEPING IT ALIVE 7 (2014); Sam Kamin & Justin Marceau,
     Waking the Furman Giant, 48 U.C. DAVIS L. REV. 981, 990 (2015); Lain, supra note 28, at 18–19.
52   See Lockett, 438 U.S. at 598, 98 S.Ct. 2954; Smith, supra note 48, at 288–91; Kamin & Marceau, supra note 51, at
     986–87; James S. Liebman, Slow Dancing With Death: The Supreme Court and Capital Punishment, 1963–2006, 107
     COLUM. L. REV. 1, 23 (2007).
53   See Furman, 408 U.S. at 239, 92 S.Ct. 2726.
54   See id. at 240, 92 S.Ct. 2726 (Douglas, J., concurring).
55   See id.; Bryan A. Stevenson, The Politics of Fear and Death: Successive Problems in Capital Federal Habeas Corpus
     Cases, 77 N.Y.U. L. REV. 699, 716 n.80 (2002).
56   Lain, supra note 28, at 16–17.
57   Furman, 408 U.S. at 239, 92 S.Ct. 2726.



               	
 !                                           #$
            2:17-cr-20037-JES-JEH
	

           # 102      Page 105 of 122


58   Id. at 239–40, 92 S.Ct. 2726 (emphasis added).
59   See Lain, supra note 28, at 10–11.
60   See Furman, 408 U.S. at 256–57, 92 S.Ct. 2726 (Douglas, J., concurring); id. at 308, 310, 92 S.Ct. 2726 (Stewart, J.,
     concurring); id. at 310–11, 313, 92 S.Ct. 2726 (White, J., concurring).
61   6 LAFAVE, ET AL., supra note 12, § 26.1(b), at 671.
62   See Furman, 408 U.S. at 305, 92 S.Ct. 2726 (Brennan, J., concurring); id. at 369, 92 S.Ct. 2726 (Marshall, J., concurring).
63   Gregg, 428 U.S. at 189, 96 S.Ct. 2909; see also Zant v. Stephens, 462 U.S. 862, 876–77, 103 S.Ct. 2733, 77 L.Ed.2d
     235 (1983); Douglass, supra note 6, at 1994.
64   Woodson, 428 U.S. at 285, 96 S.Ct. 2978 (emphasis added); see also Eddings v. Oklahoma, 455 U.S. 104, 110–12, 102
     S.Ct. 869, 71 L.Ed.2d 1 (1982); Douglass, supra note 6, at 1995.
65   Smith, supra note 48, at 288; FRANKLIN E. ZIMRING & GORDON HAWKINS, CAPITAL PUNISHMENT AND THE
     AMERICAN AGENDA 41 (1986); Liebman, supra note 52, at 23.
66   See Baze v. Rees, 553 U.S. 35, 88, 128 S.Ct. 1520, 170 L.Ed.2d 420 (2008) (Scalia, J., concurring); Lain, supra note
     28, at 19.
67   Lain, supra note 28, at 45; see also Furman, 408 U.S. at 313, 92 S.Ct. 2726 (White, J., concurring); LEE EPSTEIN &
     JOSEPH F. KOBYLKA, THE SUPREME COURT AND LEGAL CHANGE: ABORTION AND THE DEATH PENALTY 81
     (1992); Arthur J. Goldberg, The Death Penalty and the Supreme Court, 15 ARIZ. L. REV. 355, 367 (1973).
68   See Callins v. Collins, 510 U.S. 1141, 1144, 114 S.Ct. 1127, 127 L.Ed.2d 435 (1994) (Scalia, J., concurring).
69   See Lain, supra note 28, at 47–49; Smith, supra note 48, at 290; ZIMRING & HAWKINS, supra note 65, at 39.
70   See Stephen Gillers, Deciding Who Dies, 129 U. PA. L. REV. 1, 17–18, 43 (1980) (eight states switched from jury
     sentencing to judge sentencing after Furman ).
71   See Lain, supra note 28, at 56–57.
72   See Poulos, supra note 10, at 186.
73   See Liebman, supra note 52, at 10.
74   See id.; Douglass, supra note 6, at 1994.
75   428 U.S. 153, 96 S.Ct. 2909, 49 L.Ed.2d 859 (1976).
76   See Liebman, supra note 52, at 28.
77   Lain, supra note 28, at 55 n.317.
78   See Gregg, 428 U.S. at 168–69, 96 S.Ct. 2909.
79   See id.
80   Id. at 169, 96 S.Ct. 2909; see also Jurek v. Texas, 428 U.S. 262, 268, 96 S.Ct. 2950, 49 L.Ed.2d 929 (1976).
81   Gregg, 428 U.S. at 187, 96 S.Ct. 2909; see also Kansas v. Marsh, 548 U.S. 163, 173–74, 126 S.Ct. 2516, 165 L.Ed.2d
     429 (2006).
82   428 U.S. 280, 96 S.Ct. 2978.
83   Id. at 289, 293, 96 S.Ct. 2978; see also Roberts v. Louisiana, 428 U.S. 325, 335–36, 96 S.Ct. 3001, 49 L.Ed.2d 974
     (1976) (same).
84   Id. at 303, 96 S.Ct. 2978.
85   Id.
86   Id. at 304–05, 96 S.Ct. 2978.
87   See id. at 287 n.7, 96 S.Ct. 2978; id. at 292 n.25, 96 S.Ct. 2978.
88   See Sumner v. Shuman, 483 U.S. 66, 77–78, 107 S.Ct. 2716, 97 L.Ed.2d 56 (1987).
89   See, e.g., Margaret Jane Radin, The Jurisprudence of Death: Evolving Standards for the Cruel and Unusual Punishments
     Clause, 126 U. PA. L. REV. 989, 999 (1978); Death Penalty, 90 HARV. L. REV. 63, 64, 69 (1976).
90   428 U.S. 262, 96 S.Ct. 2950.
91   Id. at 271, 96 S.Ct. 2950; see also Woodson, 428 U.S. at 303–04, 96 S.Ct. 2978; Lockett, 438 U.S. at 605, 98 S.Ct.
     2954; Douglass, supra note 6, at 1994–95.
92   Jurek, 428 U.S. at 271, 96 S.Ct. 2950.
93   428 U.S. 242, 96 S.Ct. 2960, 49 L.Ed.2d 913 (1976).
94   Id. at 252, 96 S.Ct. 2960.
95   See supra note 47 and accompanying text.
96   See Johnson v. Texas, 509 U.S. 350, 360, 113 S.Ct. 2658, 125 L.Ed.2d 290 (1993).



               	
 !                                         #%
            2:17-cr-20037-JES-JEH
	

             # 102       Page 106 of 122


97    See Douglass, supra note 6, at 2024–25 (discussing this issue).
98    See supra notes 82–89 and accompanying text.
99    See supra notes 63–64 and accompanying text.
100   Douglass, supra note 6, at 1995; see also id. at 2020.
101   See Gregg, 428 U.S. at 173, 96 S.Ct. 2909; Enmund v. Florida, 458 U.S. 782, 815, 102 S.Ct. 3368, 73 L.Ed.2d 1140
      (1982) (same); Weeks v. State, 653 A.2d 266, 270 (Del. 1995).
102   See, e.g., Coker v. Georgia, 433 U.S. 584, 596, 97 S.Ct. 2861, 53 L.Ed.2d 982 (1977); Clark v. State, 672 A.2d 1004,
      1010 (Del. 1996).
103   See Douglass, supra note 6, at 1984; Stevenson, supra note 45, at 1140.
104   See Liebman, supra note 52, at 30–34.
105   468 U.S. 447, 104 S.Ct. 3154, 82 L.Ed.2d 340 (1984), overruled by Hurst v. Florida, ––– U.S. ––––, 136 S.Ct. 616, 193
      L.Ed.2d 504 (2016).
106   See id. at 451, 104 S.Ct. 3154.
107   Id. at 457–58, 104 S.Ct. 3154.
108   See, e.g., Strickland v. Washington, 466 U.S. 668, 686–87, 104 S.Ct. 2052, 80 L.Ed.2d 674 (1984) (holding that
      criminal defendants have a right to effective assistance of counsel at “[a] capital sentencing proceeding” because such a
      proceeding “is sufficiently like a trial in its adversarial format and in the existences of standards for decision”); Mempa v.
      Rhay, 389 U.S. 128, 134, 88 S.Ct. 254, 19 L.Ed.2d 336 (1967) (explicitly extending the Sixth Amendment right to counsel
      to sentencing); see also White, supra note 13, at 18 n.145 (“Prior to Spaziano, the Court had decided a series of cases
      holding that procedural protections at the guilt stage are also applicable at the penalty stage. See, e.g., Estelle v. Smith,
      451 U.S. 454, 101 S.Ct. 1866, 68 L.Ed.2d 359 (1981) (privilege against self-incrimination and right to counsel under
      Massiah ); Bullington v. Missouri, 451 U.S. 430, 101 S.Ct. 1852, 68 L.Ed.2d 270 (1981) (double jeopardy); Gardner v.
      Florida, 430 U.S. 349, 97 S.Ct. 1197, 51 L.Ed.2d 393 (1977) (right to confront and rebut government evidence).”).
109   Spaziano, 468 U.S. at 465, 104 S.Ct. 3154; see also id. at 464, 104 S.Ct. 3154.
110   Id. at 458–59, 104 S.Ct. 3154 (citations omitted) (quoting Bullington v. Missouri, 451 U.S. 430, 445, 101 S.Ct. 1852, 68
      L.Ed.2d 270 (1981)) (internal quotation marks omitted).
111   Spaziano, 468 U.S. at 464, 104 S.Ct. 3154.
112   490 U.S. 638, 109 S.Ct. 2055, 104 L.Ed.2d 728 (1989), overruled by Hurst v. Florida, ––– U.S. ––––, 136 S.Ct. 616,
      193 L.Ed.2d 504 (2016).
113   White, supra note 13, at 18.
114   Hildwin, 490 U.S. at 640–41, 109 S.Ct. 2055.
115   Id. at 640, 109 S.Ct. 2055 (emphasis added); see also White, supra note 13, at 18–19.
116   494 U.S. 738, 110 S.Ct. 1441, 108 L.Ed.2d 725 (1990).
117   See id. at 745, 110 S.Ct. 1441.
118   See id.
119   497 U.S. 639, 110 S.Ct. 3047, overruled by Ring v. Arizona, 536 U.S. 584, 122 S.Ct. 2428, 153 L.Ed.2d 556 (2002).
120   See id. at 648, 110 S.Ct. 3047.
121   Id. at 649, 110 S.Ct. 3047.
122   See id. at 650, 110 S.Ct. 3047.
123   513 U.S. 504, 115 S.Ct. 1031, 130 L.Ed.2d 1004 (1995).
124   Id. at 505, 115 S.Ct. 1031.
125   Id. at 509, 115 S.Ct. 1031 (quoting Tedder v. State, 322 So.2d 908, 910 (Fla. 1975)).
126   See id. at 511, 115 S.Ct. 1031.
127   Id. at 515, 115 S.Ct. 1031.
128   See supra note 15 and accompanying text.
129   See Harris, 513 U.S. at 516–17, 115 S.Ct. 1031 (Stevens, J., dissenting).
130   See supra notes 85–92 and accompanying text.
131   See, e.g., Zant, 462 U.S. at 879, 103 S.Ct. 2733.
132   See, e.g., Kansas v. Carr, ––– U.S. ––––, 136 S.Ct. 633, 642, 193 L.Ed.2d 535 (2016); Jones v. United States, 527 U.S.
      373, 381, 119 S.Ct. 2090, 144 L.Ed.2d 370 (1999).
133   446 U.S. 420, 100 S.Ct. 1759, 64 L.Ed.2d 398 (1980).



                	
 !                                           #&
            2:17-cr-20037-JES-JEH
	

             # 102     Page 107 of 122


134   486 U.S. 356, 108 S.Ct. 1853, 100 L.Ed.2d 372 (1988).
135   See Godfrey, 446 U.S. at 433, 100 S.Ct. 1759; Maynard, 486 U.S. at 363–64, 108 S.Ct. 1853; see also White, supra
      note 13, at 20 n.160.
136   See Garvey, supra note 45, at 1035; Smith, supra note 48, at 297–98.
137   See Brown v. Sanders, 546 U.S. 212, 216 n.2, 126 S.Ct. 884, 163 L.Ed.2d 723 (2006) (“Our cases have frequently
      employed the terms ‘aggravating circumstance’ or ‘aggravating factor’ to refer to those statutory factors which determine
      death eligibility in satisfaction of Furman's narrowing requirement. This terminology becomes confusing when, as in this
      case, a State employs the term ‘aggravating circumstance’ to refer to factors that play a different role, determining which
      defendants eligible for the death penalty will actually receive that penalty. To avoid confusion, this opinion will use the
      term ‘eligibility factor’ to describe a factor that performs the constitutional narrowing function.” (emphasis in original)
      (citations omitted)).
138   See Robert J. Smith, Forgetting Furman, 100 IOWA L. REV. 1149, 1160 (2015); Jeffrey L. Kirchmeier, Casting a Wider
      Net: Another Decade of Legislative Expansion of the Death Penalty in the United States, 34 PEPP. L. REV. 1, 25
      (2006); James S. Liebman & Lawrence C. Marshall, Less is Better: Justice Stevens and the Narrowed Death Penalty,
      74 FORDHAM L. REV. 1607, 1649 (2006).
139   See 11 Del. C. § 4209(e)(1).
140   Smith, supra note 48, at 364–65.
141   See Douglass, supra note 6, at 1994–95.
142   See supra notes 83–84 and accompanying text.
143   See Hans et al., supra note 36, at 75 (the General Assembly eliminated the unanimity requirement from § 4209 because
      the jury in a highly publicized murder case could not agree unanimously on death for any of the four defendants); Joseph
      T. Walsh, The Limits of Proportionality Review in Death Penalty Cases, 21 DEL. LAW. 13, 14 (2004). This Court upheld
      that amendment in State v. Cohen, 604 A.2d 846 (Del. 1992).
144   Johnson et al., supra note 40, at 1954.
145   See Apprendi, 530 U.S. at 469–70, 120 S.Ct. 2348.
146   See id. at 470–71, 120 S.Ct. 2348.
147   Id. at 469, 120 S.Ct. 2348 (quoting N.J. Stat. Ann. § 2C:44–3(e) (West Supp. 1999–2000)) (internal quotation marks
      omitted).
148   See id. at 471, 120 S.Ct. 2348.
149   See id. at 469, 120 S.Ct. 2348.
150   Id. at 490, 120 S.Ct. 2348.
151   542 U.S. 296, 124 S.Ct. 2531, 159 L.Ed.2d 403 (2004).
152   Id. at 303–04, 124 S.Ct. 2531 (emphasis in original).
153   536 U.S. 584, 122 S.Ct. 2428.
154   See W. David Ball, Heinous, Atrocious, and Cruel: Apprendi, Indeterminate Sentencing, and the Meaning of Punishment,
      109 COLUM. L. REV. 893, 896–97 (2009).
155   See supra notes 119–122 and accompanying text.
156   Ring, 536 U.S. at 589, 122 S.Ct. 2428.
157   Id. at 602, 122 S.Ct. 2428.
158   Id. at 609, 122 S.Ct. 2428.
159   Id. (internal citation omitted) (quoting Apprendi, 530 U.S. at 494 n.19, 120 S.Ct. 2348).
160   See Brice v. State, 815 A.2d 314, 320 (2003).
161   See 11 Del. C. § 4209(d) (1991); S.B. 79, 137th Gen. Assemb., Reg. Sess. (Del. 1991); S.B. 449, 141st Gen. Assemb.,
      Reg. Sess. (Del. 2002).
162   See 11 Del. C. § 4209(d)(1)(a) (1991).
163   See id. § 4209(d)(1)(b).
164   See id. § 4209(g).
165   Ring, 536 U.S. at 608 n.6, 122 S.Ct. 2428.
166   Brice v. State, 815 A.2d 314, 320 (Del. 2003); see also House Debate on S.B. 449, 141st Gen. Assembly (Del. 2002)
      (statement on behalf of the Delaware Department of Justice); Senate Debate on S.B. 449, 141st Gen. Assembly (Del.
      2000) (statement on behalf of the Delaware Department of Justice).



             	
 !                                            #	
            2:17-cr-20037-JES-JEH
	

              # 102        Page 108 of 122


167   815 A.2d 327 (Del. 2003).
168   Id. at 343.
169   See supra note 143 and accompanying text.
170   Michael L. Radelet, Overriding Jury Sentencing Recommendations in Florida Capital Cases: An Update and Possible
      Half–Requiem, 2011 MICH. ST. L. REV. 793, 800.
171   11 Del. C. § 4209(c)(3).
172   Id. § 4209(c)(3)(b)(1); see also id. § 4209(e)(1).
173   Id. § 4209(d)(2).
174   Id. § 4209(d)(1).
175   Swan v. State, 28 A.3d 362, 390 (Del. 2011); see also Reyes v. State, 819 A.2d 305, 317 (Del. 2003).
176   11 Del. C. § 4209(c)(3)(a)(2).
177   Id. § 4209(d)(1).
178   Id.
179   815 A.2d 314.
180   Id. at 322 (internal citations omitted); see also Swan, 28 A.3d at 390; Ortiz v. State, 869 A.2d 285, 305–06 (Del. 2005);
      Reyes, 819 A.2d at 316; Norcross v. State, 816 A.2d 757, 767 (Del. 2003).
181   Brice, 815 A.2d at 322.
182   Id.
183   Ring, 536 U.S. at 612–13, 122 S.Ct. 2428 (Scalia, J., concurring).
184   See Hurst, 136 S.Ct. at 619.
185   Id. at 620 (quoting Fla. Stat. § 921.141(2) (2015)); see also Robin Maher, Hurst v. Florida: How Much Does the Sixth
      Amendment Really Protect?, GEO. WASH. L. REV. DOCKET (Jan. 17, 2016), http://www.gwlr.org/hurst-v-florida-how-
      much-does-the-sixth-amendment-reallyprotect/; Judith L. Ritter, Time to Rethink Delaware's Death Penalty?, 34 DEL.
      LAW. 1, 15 (2016).
186   See 11 Del. C. § 4209(c)–(d).
187   Ritter, supra note 185, at 16.
188   Hurst, 136 S.Ct. at 620 (quoting Fla. Stat. § 775.082(1)) (emphasis in original).
189   Hurst, 136 S.Ct. at 619.
190   Id. at 621.
191   Id. at 622 (emphasis added).
192   Id. at 623.
193   Id. (internal quotation marks omitted).
194   See, e.g., Woodward v. Alabama, ––– U.S. ––––, 134 S.Ct. 405, 407, 187 L.Ed.2d 449 (2013) (Sotomayor, J., dissenting
      from denial of cert.) (calling for reconsideration of Spaziano); Harris, 513 U.S. at 524–26, 115 S.Ct. 1031 (Stevens, J.,
      dissenting).
195   Hurst, 136 S.Ct. at 621–22.
196   Id. at 619 (emphasis added).
197   See Woodward, 134 S.Ct. at 410–11 (Sotomayor, J., dissenting from denial of cert.).
198   See Apprendi, 530 U.S. at 555, 120 S.Ct. 2348 (Breyer, J., dissenting); Ring, 536 U.S. at 613, 122 S.Ct. 2428 (Breyer,
      J., dissenting).
199   Hurst, 136 S.Ct. at 624 (quoting Ring, 536 U.S. at 614, 122 S.Ct. 2428 (Breyer, J., dissenting)).
200   See Ring, 536 U.S. at 618, 122 S.Ct. 2428 (Breyer, J., dissenting) (quoting Spaziano, 468 U.S. at 469, 104 S.Ct. 3154
      (Stevens, J., concurring in part and dissenting in part)).
201   See id. at 616, 122 S.Ct. 2428.
202   See Hurst, 136 S.Ct. at 625 (Alito, J., dissenting).
203   Id.
204   Johnson v. Alabama, ––– U.S. ––––, 136 S.Ct. 1837, 194 L.Ed.2d 828 (2016); Wimbley v. Alabama, ––– U.S. ––––, 136
      S.Ct. 2387, 195 L.Ed.2d 760 (2016); Kirksey v. Alabama, ––– U.S. ––––, 136 S.Ct. 2409, 195 L.Ed.2d 777 (2016).
205   Woodward, 134 S.Ct. at 407 (Sotomayor, J., dissenting from denial of cert.); Ross Kleinstuber, “Only a Recommendation”:
      How Delaware Capital Sentencing Law Subverts Meaningful Deliberations and Jurors' Feelings of Responsibility, 19
      WIDENER L. REV. 321, 325 (2013).



             	
 !                                          #'
            2:17-cr-20037-JES-JEH
	

              # 102       Page 109 of 122


206   Hurst, 136 S.Ct. at 619.
207   See, e.g., Br. of Charles Hamilton Houston Institute for Race and Justice at 9–12 (hereinafter “C. H. Houston Br.”).
208   U.S. Const. amend. VI.
209   See 11 Del. C. § 4209(c)–(d).
210   Id. § 4209(c)(3).
211   See, e.g., Zebroski v. State, 715 A.2d 75, 84 (Del. 1998) (“The balancing of aggravating and mitigating circumstances is
      not a quantitative exercise, but rather a reasoned judgment as to what factual situations require the imposition of death
      and which can be satisfied by life imprisonment in light of the totality of the circumstances present.” (emphasis added)
      (internal quotation marks omitted)); Ferguson v. State, 642 A.2d 772, 782 (Del. 1994) (“The weighing of aggravating and
      mitigating circumstances involves a qualitative rather than a quantitative consideration of the circumstances to determine
      the appropriate punishment. That qualitative process requires that the jury and the judge carefully consider the specific
      facts of each case and, when appropriate, not to give one or more aggravating factors independent weight.” (internal
      quotation marks omitted) (footnotes omitted)).
212   Cunningham v. California, 549 U.S. 270, 279, 127 S.Ct. 856, 166 L.Ed.2d 856 (2007); see also CAMPBELL, supra note
      31, § 9.3 at 354–59.
213   Hurst, 136 S.Ct. at 619.
214   See Woodson, 428 U.S. at 289–93, 96 S.Ct. 2978; McGautha v. California, 402 U.S. at 200 nn. 10, 11, 91 S.Ct. 1454;
      see also Green, supra note 17, at 421–25.
215   Because I admit that Hurst can be read more than one way, I understand why my respected colleague in dissent views
      Hurst as simply an application of Ring, and as a case-specific ruling that a jury must make all findings necessary to make
      a defendant eligible for the death penalty.
216   See Kleinstuber, supra note 205, at 329; see also THE DECLARATION OF INDEPENDENCE para. 3 (U.S. 1776) (listing
      among the reasons for separation from England: “For depriving us in many cases, of the benefits of Trial by Jury.”); Letter
      from Thomas Jefferson to Thomas Paine (1789) (“I consider trial by jury as the only anchor yet imagined by man, by
      which a government can be held to the principles of its constitution.”); THOMAS JEFFERSON, NOTES ON THE STATE
      OF VIRGINIA 140 (J.W. Randolph ed., 1853) (“[I]f the question relate to any point of public liberty, or if it be one in which
      the judges may be suspected of bias, the jury undertake to decide both law and fact.”); Statement of John Adams (1774)
      (“Representative government and trial by jury are the heart and lungs of liberty.”); THE FEDERALIST NO. 83 (Alexander
      Hamilton) (“The friends and adversaries of the plan of the convention, if they agree in nothing else, concur at least in the
      value they set upon the trial by jury....”); Georgia v. Brailsford, 3 U.S. (3 Dall.) 1, 4, 1 L.Ed. 483 (1794) (Chief Justice John
      Jay instructed the jury: “It may not be amiss, here, Gentlemen, to remind you of the good old rule, that on questions of
      fact, it is the province of the jury, on questions of law, it is the province of the court to decide. But it must be observed
      that by the same law, which recognizes this reasonable distribution of jurisdiction, you have nevertheless a right to take
      upon yourselves to judge of both, and to determine the law as well as the fact in controversy. On this, and on every other
      occasion, however, we have no doubt, you will pay that respect, which is due to the opinion of the court: For, as on the
      one hand, it is presumed, that juries are the best judges of facts; it is, on the other hand, presumable, that the court are
      the best judges of law. But still both objects are lawfully, within your power of decision.”); Zylstra v. Corp. of Charleston,
      1 S.C.L. 382, 389 1794 (“[T]he trial by jury is a common law right; not the creature of the constitution, but originating in
      time immemorial; it is the inheritance of every individual citizen, the title to which commenced long before the political
      existence of this society; and which has been held and used inviolate by our ancestors in succession from that period to
      our own time; having never been departed from, except in the instances before mentioned. This right then, is as much
      out of the reach of any law, as the property of the citizen; and the legislature has no more authority to take it away, than
      it has to resume a grant of land which has been held for ages.”); Klein & Steiker, supra note 45, at 265 (“Throughout this
      country's history, judge sentencing has been the norm in the non-capital context, and jury sentencing has been the norm
      in capital cases.”); Hoffman, supra note 6, at 967; Roger Roots, The Rise and Fall of the American Jury, 8 SETON HALL
      CIRCUIT REV. 1, 6 (2011) (“ ‘When courts exercised their properly judicial (as opposed to administrative) functions, the
      decision-makers were juries. The most striking feature of colonial sentencing was the bare modicum of authority that
      judges actually exercised.’ ” (quoting JACK N. RAKOVE, ORIGINAL MEANINGS: POLITICS AND THE IDEAS IN THE
      MAKING OF THE CONSTITUTION 30 (1996))).
217   See Woodward, 134 S.Ct. at 407 (Sotomayor, dissenting from denial of cert.) (citations omitted); 6 LAFAVE, ET AL.,
      supra note 12, § 26.2(b), at 699; see also Lillquist, supra note 6, at 650.
218   See, e.g., Ring, 536 U.S. at 610, 122 S.Ct. 2428 (Scalia, J. concurring).
219   See supra note 84 and accompanying text.


             	
 !                                                 $
            2:17-cr-20037-JES-JEH
	

            # 102      Page 110 of 122


220   See supra notes 85, 91–92 and accompanying text.
221   466 U.S. 668, 104 S.Ct. 2052, 80 L.Ed.2d 674 (1984).
222   See Garvey, supra note 45, at 997–98; Liebman, supra note 52, at 28; supra and accompanying text.
223   See Johnson et al., supra note 40, at 1931; Hans et al., supra note 36, at 73–78 (same).
224   See supra notes 13–15, 45 and accompanying text.
225   See, e.g., Smith, supra note 52, at 287–91; Lillquist, supra note 6, at 641–52; The Changing Role of the Jury in the
      Nineteenth Century, 74 YALE L.J. 170, 170–74 (1964).
226   See, e.g., Woodson, 428 U.S. at 289–93, 96 S.Ct. 2978 (Stewart, J.); Hoffman, supra note 6, at 963–68.
227   172 U.S. 303, 19 S.Ct. 212, 43 L.Ed. 456 (1899).
228   Id. at 313, 19 S.Ct. 212.
229   See supra note 44 and accompanying text.
230   Witherspoon, 391 U.S. at 519, 88 S.Ct. 1770; see also Furman, 408 U.S. at 439–40, 92 S.Ct. 2726 (Powell, J., dissenting);
      Gregg, 428 U.S. at 181, 96 S.Ct. 2909.
231   See Winston, 172 U.S. at 313, 19 S.Ct. 212; see also Carr, 136 S.Ct. at 642; Andres, 333 U.S. at 753–54, 68 S.Ct. 880
      (Frankfurter, J., concurring); Garden, 815 A.2d at 344; White, supra note 13, at 30–31.
232   2 THE MISCELLANEOUS ESSAYS AND OCCASIONAL WRITINGS OF FRANCIS HOPKINSON, ESQ. 101–02 (1792).
233   6 LAFAVE, ET AL., supra note 12, § 26.2(b), at 699.
234   Proffitt, 428 U.S. at 251, 96 S.Ct. 2960; see also Schriro v. Summerlin, 542 U.S. 348, 361–62, 124 S.Ct. 2519, 159
      L.Ed.2d 442 (2004) (Breyer, J., dissenting).
235   Proffitt, 428 U.S. at 251, 96 S.Ct. 2960.
236   See Carr, 136 S.Ct. at 642; Stevenson, supra note 45, at 1121.
237   See 24 C.J.S. Criminal Law § 2374 Westlaw (database updated 2016); see also Caldwell v. Mississippi, 472 U.S. 320,
      340 n.7, 105 S.Ct. 2633, 86 L.Ed.2d 231 (1985); Dorszynski v. United States, 418 U.S. 424, 431, 94 S.Ct. 3042, 41
      L.Ed.2d 855 (1974); 3 CHARLES ALAN WRIGHT ET AL., FED. PRAC. & PROC. CRIM. § 552 (4th ed. 2016).
238   See Gregg, 428 U.S. at 190, 96 S.Ct. 2909; Ring, 536 U.S. at 616, 122 S.Ct. 2428 (Breyer, J., concurring); Harris, 513
      U.S. at 526, 115 S.Ct. 1031 (Stevens, J., dissenting); Gillers, supra note 70, at 89; MANDERY, supra note 8, at 164
      (internal quotation marks omitted); see also Woodward, 134 S.Ct. at 410 (Sotomayor, J., dissenting from denial of cert.).
239   E.g., Quick Facts: Mandatory Minimum Penalties, 28 FED.SENT.R. 217, 217 (2016) (of the nearly 76,000 cases reported
      to the U.S. Sentencing Commission in 2014, offenders in 23.6% of cases were “convicted of an offense carrying
      a mandatory minimum penalty,” and at sentencing, 13.6% of offenders “remained subject to a mandatory minimum
      penalty”).
240   Many cases stand for this proposition. E.g., Streetman v. Lynaugh, 484 U.S. 992, 995, 108 S.Ct. 588, 98 L.Ed.2d 634
      (1988); Ford v. Wainwright, 477 U.S. 399, 411, 106 S.Ct. 2595, 91 L.Ed.2d 335 (1986); see also Beck v. Alabama, 447
      U.S. 625, 637, 100 S.Ct. 2382, 65 L.Ed.2d 392 (1980); Rummel v. Estelle, 445 U.S. 263, 272, 100 S.Ct. 1133, 63 L.Ed.2d
      382 (1980); Gardner v. Florida, 430 U.S. 349, 357–58, 97 S.Ct. 1197, 51 L.Ed.2d 393 (1977); Harmelin v. Michigan,
      501 U.S. 957, 993–94, 111 S.Ct. 2680, 115 L.Ed.2d 836 (1991); Pennell v. State, 604 A.2d 1368, 1375 (Del. 1992); see
      also Scott W. Howe, The Futile Quest for Racial Neutrality in Capital Selection and the Eighth Amendment Argument for
      Abolition Based on Unconscious Racial Discrimination, 45 WM. & MARY L. REV. 2083, 2157 (2004).
241   See Glossip v. Gross, ––– U.S. ––––, 135 S.Ct. 2726, 2759–64, 192 L.Ed.2d 761 (2015); Wright v. State, 633 A.2d 329,
      336–37 (Del. 1993) (same).
242   See Gilmore v. Taylor, 508 U.S. 333, 342, 113 S.Ct. 2112, 124 L.Ed.2d 306 (1993); Murray v. Giarratano, 492 U.S. 1,
      8–9, 109 S.Ct. 2765, 106 L.Ed.2d 1 (1989) (quoting Lockett, 438 U.S. at 604, 98 S.Ct. 2954) (internal citations omitted);
      Ake v. Oklahoma, 470 U.S. 68, 86, 105 S.Ct. 1087, 84 L.Ed.2d 53 (1985) (Burger, C.J., concurring); Walton, 497 U.S.
      at 657, 110 S.Ct. 3047 (Scalia, J., dissenting).
243   See Williams v. Taylor, 529 U.S. 362, 396–99, 120 S.Ct. 1495, 146 L.Ed.2d 389 (2000); Wiggins v. Smith, 539 U.S. 510,
      523–25, 123 S.Ct. 2527, 156 L.Ed.2d 471 (2003); Rompilla v. Beard, 545 U.S. 374, 388–89, 125 S.Ct. 2456, 162 L.Ed.2d
      360 (2005); Douglass, supra note 6, at 1986–87.
244   See Coker v. Georgia, 433 U.S. 584, 592, 97 S.Ct. 2861, 53 L.Ed.2d 982 (1977).
245   See Eberheart v. Georgia, 433 U.S. 917, 917, 97 S.Ct. 2994, 53 L.Ed.2d 1104 (1977).
246   See Enmund, 458 U.S. at 798–801, 102 S.Ct. 3368; see also Harmelin, 501 U.S. at 994, 111 S.Ct. 2680.
247   See Kennedy v. Louisiana, 554 U.S. 407, 412, 128 S.Ct. 2641, 171 L.Ed.2d 525 (2008).
248   Ford v. Wainwright, 477 U.S. 399, 410, 106 S.Ct. 2595, 91 L.Ed.2d 335 (1986).



             	
 !                                          $
            2:17-cr-20037-JES-JEH
	

              # 102       Page 111 of 122


249   Atkins v. Virginia, 536 U.S. 304, 321, 122 S.Ct. 2242, 153 L.Ed.2d 335 (2002).
250   See Roper v. Simmons, 543 U.S. 551, 568, 125 S.Ct. 1183, 161 L.Ed.2d 1 (2005); see also Thompson v. Oklahoma,
      487 U.S. 815, 838, 108 S.Ct. 2687, 101 L.Ed.2d 702 (1988).
251   See Green v. Georgia, 442 U.S. 95, 97, 99 S.Ct. 2150, 60 L.Ed.2d 738 (1979).
252   See Lockett v. Ohio, 438 U.S. 586, 605, 98 S.Ct. 2954, 57 L.Ed.2d 973 (1978) (plurality).
253   See Beck, 447 U.S. at 627, 100 S.Ct. 2382; see also Powell v. Alabama, 287 U.S. 45, 71, 53 S.Ct. 55, 77 L.Ed. 158
      (1932) (“[I]n a capital case, where the defendant is unable to employ counsel, and is incapable adequately of making his
      own defense because of ignorance, feeble-mindedness, illiteracy, or the like, it is the duty of the court, whether requested
      or not, to assign counsel for him as a necessary requisite of due process of law; and that duty is not discharged by an
      assignment at such a time or under such circumstances as to preclude the giving of effective aid in the preparation and
      trial of the case.”); Williams v. Florida, 399 U.S. 78, 103, 90 S.Ct. 1893, 26 L.Ed.2d 446 (1970) (holding that the Sixth
      Amendment does not require the use of a jury of twelve in noncapital cases); Gardner, 430 U.S. at 362, 97 S.Ct. 1197
      (holding that a death sentence imposed even in part upon information which the offender had no opportunity to deny or
      explain violates the defendant's due process); Roberts v. Louisiana, 431 U.S. 633, 637–38, 97 S.Ct. 1993, 52 L.Ed.2d 637
      (1977) (holding that mandatory death penalty for a particular crime violates the Eighth Amendment); Presnell v. Georgia,
      439 U.S. 14, 15–17, 99 S.Ct. 235, 58 L.Ed.2d 207 (1978) (per curiam) (holding that death sentence cannot be based
      on an aggravating factor that was previously used to establish guilt); Godfrey v. Georgia, 446 U.S. 420, 428–29, 100
      S.Ct. 1759, 64 L.Ed.2d 398 (1980) (because of the death penalty's unique nature, the Constitution requires that states
      clearly define the aggravating factors that can result in death sentences); Caldwell v. Mississippi, 472 U.S. 320, 341, 105
      S.Ct. 2633, 86 L.Ed.2d 231 (1985) (the Eighth Amendment prohibits a death sentence determination to be made by a
      jury which is told that the ultimate responsibility for determining the appropriateness of death rests with appellate courts);
      Turner v. Murray, 476 U.S. 28, 36–37, 106 S.Ct. 1683, 90 L.Ed.2d 27 (1986) (because of “the special seriousness of
      the risk of improper sentencing in a capital case,” “a capital defendant accused of an interracial crime is entitled to have
      prospective jurors informed of the race of the victim and questioned on the issue of racial bias”); Sumner, 483 U.S. at
      77, 107 S.Ct. 2716 (answering question that was expressly reserved in Roberts v. Louisiana and holding that the Eighth
      Amendment prohibits a mandatory death sentence for murder in prison by an inmate serving a life sentence); Burger
      v. Kemp, 483 U.S. 776, 785, 107 S.Ct. 3114, 97 L.Ed.2d 638 (1987) (“Our duty to search for constitutional error with
      painstaking care is never more exacting than it is in a capital case.”); Mills v. Maryland, 486 U.S. 367, 377, 108 S.Ct. 1860,
      100 L.Ed.2d 384 (1988) (“In reviewing death sentences, the Court has demanded even greater certainty that the jury's
      conclusions rested on proper grounds.”); Lankford v. Idaho, 500 U.S. 110, 127, 111 S.Ct. 1723, 114 L.Ed.2d 173 (1991)
      (defendant's “lack of adequate notice that the judge was contemplating the imposition of the death sentence” violated
      the defendant's constitutional rights); Simmons v. South Carolina, 512 U.S. 154, 168–69, 114 S.Ct. 2187, 129 L.Ed.2d
      133 (1994) (when a capital defendant's future dangerousness is at issue and the only alternative sentence to death is life
      imprisonment without possibility of parole, the defendant has the right to inform the jury of her ineligibility of parole); see
      also 1 LAFAVE, ET AL., supra note 12, § 1.8(e), at 415–17; 6 LAFAVE, ET AL., supra note 12, § 26.1(b), at 673–76.
254   For an overview of how the review of capital sentences is treated differently than the review of non-capital sentences, a
      topic which the U.S. Supreme Court has not directly spoken about but which state courts have addressed, see 24 C.J.S.
      Criminal Law §§ 2374–75 Westlaw (database updated 2016); see also ARTHUR W. CAMPBELL, LAW OF SENTENCING
      § 14.4, at 579–82 (3d ed. 2004).
255   See Gillers, supra note 70, at 18 (“[E]ach of the eight states currently opting for judge sentencing made that choice after
      Furman. Each had previously embraced jury sentencing in some form. Their adoption of judge sentencing is an apparent
      attempt to meet Furman's unclear commands.”); Ritter, supra note 185, at 16 (“There is a rational argument that Apprendi
      requires jury verdicts for all aggravating circumstances because these factual findings expose a defendant to a death
      rather than a life sentence.”).
256   See Stevenson, supra note 45, at 1103 (“Looking back on the entire line of pre-Ring cases on the right to jury sentencing
      in capital cases, it is apparent that the die was indelibly cast in Proffitt [v. Florida, 428 U.S. 242, 96 S.Ct. 2960, 49 L.Ed.2d
      913 (1976) ] and Spaziano.”).
257   See David A. Strauss, Foreword: Does the Constitution Mean What It Says?, 129 HARV. L. REV. 1, 29 (2015) (“Implicit in
      all of this [discussion of constitutional interpretation] is Chief Justice Marshall's famous statement that ‘it is a constitution
      we are expounding.’ We should not expect to treat the Constitution as if it were any ordinary text. But Chief Justice
      Marshall's dictum is just the starting point. The idea is to see, as best we can, what we are doing when we ‘expound’ the
      Constitution. Expounding the U.S. Constitution means operating in a mixed system that comprises precedent as well as
      the text, and in which provisions of the Constitution often, as I have suggested, seem to function roughly in the same way



             	
 !                                                 $
            2:17-cr-20037-JES-JEH
	

             # 102       Page 112 of 122


      as precedents.” (quoting McCulloch v. Maryland, 17 U.S. (4 Wheat.) 316, 407, 4 L.Ed. 579 (1819)) (emphasis in original));
      see also Duncan, 391 U.S. at 155–56, 88 S.Ct. 1444 (“The guarantees of jury trial in the Federal and State Constitutions
      reflect a profound judgment about the way in which law should be enforced and justice administered. A right to jury trial
      is granted to criminal defendants in order to prevent oppression by the Government. Those who wrote our constitutions
      knew from history and experience that it was necessary to protect against unfounded criminal charges brought to eliminate
      enemies and against judges too responsive to the voice of higher authority. The framers of the constitutions strove to
      create an independent judiciary but insisted upon further protection against arbitrary action. Providing an accused with
      the right to be tried by a jury of his peers gave him an inestimable safeguard against the corrupt or overzealous prosecutor
      and against the compliant, biased, or eccentric judge. If the defendant preferred the common-sense judgment of a jury
      to the more tutored but perhaps less sympathetic reaction of the single judge, he was to have it. Beyond this, the jury
      trial provisions in the Federal and State Constitutions reflect a fundamental decision about the exercise of official power
      —a reluctance to entrust plenary powers over the life and liberty of the citizen to one judge or to a group of judges.”).
258   See Douglass, supra note 6, at 1985 (“The Court's Sixth Amendment ruling is remarkable for its brevity and, I suggest, for
      its shallow analysis. The portion of the opinion dealing with the Sixth Amendment occupies only two paragraphs. It makes
      no mention of the constitutional text. It says nothing of the history, origin, and purpose of the Sixth Amendment right to
      a jury. It makes no attempt to explain, distinguish, or limit Witherspoon.... [T]he sum of Spaziano's Sixth Amendment
      analysis is merely that (a) the principal issue in capital sentencing is essentially the same as ordinary sentencing, and
      (b) there has never been a right to a jury for ordinary sentencing.”).
259   See Proffitt, 428 U.S. at 252, 96 S.Ct. 2960 (“[I]t would appear that judicial sentencing should lead, if anything, to even
      greater consistency in the imposition at the trial court level of capital punishment, since a trial judge is more experienced
      in sentencing than a jury, and therefore is better able to impose sentences similar to those imposed in analogous
      cases.” (internal citation omitted)).
260   See, e.g., Hoffman, supra note 6, at 985–90; Iontcheva, supra note 17, at 356–60. As our own state's experience since
      Furman shows, reductions in the role of the jury have not been inspired by any error-reducing motive, but instead to
      make it easier for the state to obtain a death a sentence. See supra note 143 and accompanying text. Scholars suggest
      that this has also been a factor in other states' impingement on juries' ability to make the ultimate life or death decision.
      See, e.g., Smith, supra note 48, at 294.
261   Douglass, supra note 6, at 2022.
262   See Smith, supra note 48, at 364–65 (“Theoretically, capital sentencing proceedings can be disaggregated into two
      discrete issues: whether the defendant's crime is eligible for the death penalty (aggravation) and, if so, whether the
      defendant nonetheless lacks the moral culpability necessary for the ultimate sanction (mitigation). In the real world of
      litigation, however, the two issues are not so neatly divided. Rather, the issue at any capital sentencing hearing is the
      singular one of whether or not the defendant should be put to death.”); White, supra note 13, at 30 (“[F]rom a functional
      perspective, the content of the specific aggravating circumstances enumerated in a sentencing statute is not critical.
      Regardless of the specific aggravating and mitigating circumstances to be determined, the sentencer is required to make
      an essentially moral judgment as to whether the defendant should live or die. Thus, it may be argued that the capital
      defendant's right to jury trial should not vary depending on the particular aggravating circumstances to be determined.”);
      Hoffman, supra note 6, at 982 (“The Court [in Apprendi and Ring ] seems balanced on an impossibly difficult saddlepoint:
      if the Sixth Amendment means anything, it must mean that legislatures cannot deprive criminal defendants of their right
      to a jury trial by the simple artifice of labeling elements as ‘sentencing factors’; yet there seems to be no principled basis
      upon which to truly distinguish elements from sentencing factors. This dilemma is so sharp that the slightest change of
      perspective or wording by one or two Justices seems to have a magnified effect on the outcomes in these cases.”); id.
      at 1000 (“Of course, the very reason Apprendi leads to the threshold of jury sentencing is because of the impossible
      distinctions it forces the system to make between the jury's role in deciding ‘elements’ and the judge's role in deciding
      ‘sentencing factors.’ ”).
263   See Douglass, supra note 6, at 1972–73 (“Unitary capital trials were the norm when the Sixth Amendment was created....
      Bifurcation—separating the guilt determination from the choice of an appropriate penalty—was a procedure that evolved
      after the founding, initially for noncapital sentencing. Bifurcation spread as popular resistance to the death penalty and
      the corresponding rise of a prison system gave judges new options and new powers in fixing sentences. Bifurcation came
      to capital cases quite late in our history, primarily in response to the Court's Eighth Amendment decisions in the mid–
      1970s. My point in reviewing this history is not that bifurcation is a bad idea, nor that we must try capital cases today as
      we did in 1791. My point is simply that the separation of trial from capital sentencing is a post-constitutional idea that was
      born from a movement away from capital punishment, not as a means to implement it. We cannot assume, as the Court



             	
 !                                              $"
            2:17-cr-20037-JES-JEH
	

              # 102       Page 113 of 122


      seems to have done, that separation of trial and sentencing is part of the natural order of things, or that the ‘trial rights’ of
      the Sixth Amendment were conceived with such a separation in mind.”); supra notes 52, 96, 218 and accompanying text.
264   See Eddings, 455 U.S. at 117, 102 S.Ct. 869; Gregg, 428 U.S. at 206–07, 96 S.Ct. 2909.
265   See supra note 240 and accompanying text.
266   See Furman, 408 U.S. at 449, 92 S.Ct. 2726 (Powell, J., dissenting) (quoting McGautha, 402 U.S. at 207, 91 S.Ct. 1454);
      see also Witherspoon, 391 U.S. at 518–22, 88 S.Ct. 1770 (explaining the vital role a jury plays in capital sentencing
      and holding that a jury that excludes jurors opposed to capital punishment violates the defendant's Sixth and Fourteenth
      Amendment right to an impartial sentencer); supra note 45 and accompanying text.
267   See, e.g., Bell v. Cone, 543 U.S. 447, 454 n.6, 125 S.Ct. 847, 160 L.Ed.2d 881 (2005); United States v. Gabrion, 719 F.3d
      511, 533 (6th Cir. 2013); People v. Montour, 157 P.3d 489, 498 (Colo. 2007); Brice, 815 A.2d at 322; see also Jeffrey
      Abramson, Death–Is–Different Jurisprudence and the Role of the Capital Jury OHIO ST. J. CRIM. L. 117, 121 (2004).
268   See, e.g., Mitchell v. United States, 526 U.S. 314, 327, 119 S.Ct. 1307, 143 L.Ed.2d 424 (1999) (the Fifth Amendment
      right against compelled self-incrimination extends to sentencing); McConnell v. Rhay, 393 U.S. 2, 3–4, 89 S.Ct. 32, 21
      L.Ed.2d 2 (1968) (“[The Sixth Amendment right to counsel extends through sentencing and] must ... be treated like the
      right to counsel at other stages of adjudication.”).
269   See Woodward, 134 S.Ct. at 411 (Sotomayor, dissenting from denial of cert.); Blystone v. Pennsylvania, 494 U.S. 299,
      322 n.15, 110 S.Ct. 1078, 108 L.Ed.2d 255 (1990) (Brennan, J., dissenting); see also Douglass, supra note 6, at 2004;
      Criminal Procedure—Confrontation Clause—Fourth Circuit Finds No Right to Confrontation During Sentence Selection
      Phase of Capital Trial, 128 HARV. L. REV. 1027, 1032 (2015); Margery Malkin Koosed, Averting Mistaken Executions
      by Adopting the Model Penal Code's Exclusion of Death in the Presence of Lingering Doubt, 21 N. ILL. U. L. REV. 41,
      101 (2001).
270   See Apprendi, 530 U.S. at 475–76, 120 S.Ct. 2348.
271   Compare Harris, 536 U.S. at 565–66, 122 S.Ct. 2406 (finding that juries need only determine any fact that increases a
      maximum authorized sentence, and not a fact that increases a minimum sentence), with id. at 577–78, 122 S.Ct. 2406
      (Thomas, J., dissenting) (arguing that juries must also determine any fact that increases a minimum sentence).
272   ––– U.S. ––––, 133 S.Ct. 2151, 186 L.Ed.2d 314 (2013) (overruling Harris, 536 U.S. 545, 122 S.Ct. 2406).
273   See id. at 2158.
274   See id. at 2161.
275   See Hurst, 136 S.Ct. at 621–24; Ring, 536 U.S. at 597–609, 122 S.Ct. 2428.
276   In concluding this for myself, I again acknowledge that Hurst can be read in different ways, and respect that one of
      my learned colleagues who concurs in part in the result we reach views Hurst as extending only to those findings that
      aggravate in favor of a death sentence, and not to those that mitigate against them. Our difference in this respect is not
      as important as the effect of our shared agreement, which is that findings beyond the mere eligibility stage are necessary
      before a defendant can be sentenced to death under our statute, and that those findings must be made by a jury under
      the logic of Hurst. My principle disagreement with my colleague is that I believe that the role of the jury in the death penalty
      process has long encompassed all the factors bearing on the appropriate punishment, and that frequent references to the
      role of the jury in exercising its conscience and sense of mercy cannot be explained solely by the jury's role in deciding
      facts in the strict sense of how a crime was committed. Instead, I believe it extended to all factors, including those personal
      to the defendant, bearing on the jury's sense of the blame-worthiness of the crime and the fitting punishment for it. See,
      e.g., Winston, 172 U.S. at 310–12, 19 S.Ct. 212; Witherspoon, 391 U.S. at 528, 88 S.Ct. 1770.
277   Blakely, 542 U.S. at 303, 124 S.Ct. 2531 (emphasis in original).
278   For example, it is possible to form this gotcha syllogism that has the effect of grounding a holding that a unanimous jury
      verdict must buttress any death penalty judgment. That would go like this. States cannot make the death penalty the
      mandatory punishment for any crime. See Woodson, 428 U.S. at 303, 96 S.Ct. 2978. Nor can a state execute a defendant
      before both the aggravating and mitigating factors are fairly considered, and rationally weighed against each other and
      the factors that weigh in favor of death are found to outweigh those mitigating against it. See id. at 303–04, 96 S.Ct.
      2978; Jurek, 428 U.S. at 271, 96 S.Ct. 2950. As a result, the default penalty will always be life imprisonment, absent a
      specific fact intensive inquiry beyond the stage where guilt and even death eligibility is the sole factor. See Marsh, 548
      U.S. at 179, 126 S.Ct. 2516. Thus, as this would go, when you put together all the Supreme Court cases, a jury must
      now determine whether any defendant should get the death penalty.
279   See, e.g., Hoffman, supra note 6; Iontcheva, supra note 17; Sam Kamin & Justin Marceau, The Facts About Ring v.
      Arizona and the Jury's Role in Capital Sentencing, 13 U. PA. J. CONST. L. 529 (2011); Betrall L. Ross II, Reconciling the




             	
 !                                                 $#
            2:17-cr-20037-JES-JEH
	

              # 102       Page 114 of 122


      Booker Conflict: A Substantive Sixth Amendment in a Real Offense Sentencing System, 4 CARDOZO PUB. L. POL'Y
      & ETHICS J. 725 (2006).
280   548 U.S. 163, 126 S.Ct. 2516.
281   Id. at 178–79, 126 S.Ct. 2516; see also Sattazahn v. Pennsylvania, 537 U.S. 101, 110, 123 S.Ct. 732, 154 L.Ed.2d 588
      (2003).
282   This, of course, is exactly why several Justices have focused on death eligibility factors being considered as an element
      of a crime, and that the jury right only extends to having the jury decide all the facts necessary to make a defendant
      eligible to be executed. They rationalize this by saying that all are on notice of the criminal laws, and if the criminal laws
      say that if you do X crime, the range of punishment is Y, then your jury trial right is fully preserved if you are not exposed to
      Y until a jury says you should be. See supra note 218 (discussing Justice Scalia's view on this point); see also Hoffman,
      supra note 6, at 976–77.
283   See, e.g., Hoffman, supra note 6, at 1009–10 (advocating for jury sentencing in capital cases without the arbitrary
      sentencing in death cases that existed before Furman ).
284   See, e.g., Ring, 536 U.S. at 610, 122 S.Ct. 2428 (Scalia, J., concurring) (“What compelled Arizona (and many other
      States) to specify particular ‘aggravating factors’ that must be found before the death penalty can be imposed was the line
      of this Court's cases beginning with Furman v. Georgia. In my view, that line of decisions had no proper foundation in the
      Constitution. I am therefore reluctant to magnify the burdens that our Furman jurisprudence imposes on the States. Better
      for the Court to have intended an evidentiary requirement that a judge can find by a preponderance of the evidence, than
      to invent one that a unanimous jury must find beyond a reasonable doubt.”); see also Lillquist, supra note 6.
285   See supra note 240 and accompanying text.
286   See, e.g., South Dakota v. Dole, 483 U.S. 203, 207–08, 107 S.Ct. 2793, 97 L.Ed.2d 171 (1987) (establishing five-part
      test for determining when Congress's conditional spending is Constitutional); Tinker v. Des Moines Indep. Sch. Dist.,
      393 U.S. 503, 509, 89 S.Ct. 733, 21 L.Ed.2d 731 (1969) (establishing “Tinker test” for determining whether a school's
      censuring speech violates the First Amendment).
287   See, e.g., Crawford v. Washington, 541 U.S. 36, 68, 124 S.Ct. 1354, 158 L.Ed.2d 177 (2004) (reformulating test for
      determining whether hearsay statements are admissible under the Sixth Amendment's Confrontation Clause); Illinois v.
      Gates, 462 U.S. 213, 230–39, 103 S.Ct. 2317, 76 L.Ed.2d 527 (1983) (establishing test for determining when probable
      cause exists under Fourth Amendment).
288   See Spaziano, 468 U.S. at 484, 104 S.Ct. 3154 (Stevens, J., dissenting) (“[T]he lesson history teaches is that the jury—
      and in particular jury sentencing—has played a critical role in ensuring that capital punishment is imposed in a manner
      consistent with evolving standards of decency. This is a lesson of constitutional magnitude, and one that was forgotten
      during the enactment of the Florida statute.”); supra note 216 and accompanying text.
289   Douglass, supra note 6, at 1974; see also id. at 2012–15; Lillquist, supra note 6, at 650; Hoffman, supra note 6, at 964.
290   Adriaan Lanni, Jury Sentencing in Noncapital Cases: An Idea Whose Time Has Come (Again)?, 108 YALE L.J. 1775,
      1800 (1999).
291   James Wilson, Lectures of James Wilson, in 2 COLLECTED WORKS OF JAMES WILSON 1008–09 (Kermit L. Hall &
      Mark David Hall, eds., 2007)
292   See Hurst, 136 S.Ct. at 624 (Breyer, J., concurring); Schriro, 542 U.S. at 360, 124 S.Ct. 2519 (Breyer, J., dissenting); Ring,
      536 U.S. at 619, 122 S.Ct. 2428 (Breyer, J., concurring); Harris, 513 U.S. at 515–16, 519–20, 115 S.Ct. 1031 (Stevens,
      J., dissenting); Patten v. Florida, 474 U.S. 876, 876, 106 S.Ct. 198, 88 L.Ed.2d 167 (1985) (Marshall, J., dissenting from
      denial of cert.); Spaziano, 468 U.S. at 477–81, 104 S.Ct. 3154 (Stevens, J., dissenting); see also Gillers, supra note
      70, at 39–74.
293   As amicus points out, the requirement of a unanimous jury was settled as of the time of our founding as a nation. See
      C. H. Houston Br. at 4–5; see also 1 JOHN ADAMS, A DEFENCE OF THE CONSTITUTIONS OF GOVERNMENT
      OF THE UNITED STATES OF AMERICA 376 (1797) (“[I]t is the unanimity of the jury that preserves the rights of
      mankind....”); JAMES WILSON, THE WORKS OF THE HONOURABLE JAMES WILSON, L.L.D. 350 (1804) (“To the
      conviction of a crime, the undoubting and the unanimous sentiment of the twelve jurors is of indispensable necessity....
      [T]he consequence unquestionably is, that a single doubt or single dissent must produce a verdict of acquittal.”); Claudio
      v. State, 585 A.2d 1278, 1301 (Del. 1991) (“[U]nanimity of the jurors is required to reach a verdict since such was the
      common law rule.”).
294   See Parker v. Dugger, 498 U.S. 308, 314, 111 S.Ct. 731, 112 L.Ed.2d 812 (1991).
295   The Delaware statute in its current form also has another potential problem, which is related to these two points. That
      is, it distances the role of the jury from the actual decision about life or death, by stating the jury only has to make



             	
 !                                                 $$
            2:17-cr-20037-JES-JEH
	

             # 102       Page 115 of 122


      a finding of whether a certain aggravator exists and whether the aggravating factors outweigh the mitigating factors,
      under a preponderance standard. An academic study of the reflections of actual jurors in eight Delaware death penalty
      cases found that Delaware's approach of having the jurors simply vote on whether the aggravating or mitigating factors
      predominate had the effect of distancing jurors from having a sense of responsibility that their vote was actually one about
      life or death. The scholars believed the data “suggest[ed] that capital jurors in Delaware are not taking their sentencing
      responsibilities seriously” and “take mental strides to effectively distance themselves as much as possible from the
      sentencing decision.” Kleinstuber, supra note 205, at 340; see also id. at 325 (“Further divesting Delaware capital jurors of
      a sense of responsibility for their decisions, they are not actually asked whether or not the defendant should be sentenced
      to death.”). For these reasons, it is arguable under the Sixth Amendment that a jury must deliver a sentencing verdict, in
      which it specifically imposes either a death sentence or the alterative prison sentence. Either that, or the jury must be told
      that it always has an option to exercise mercy and that if its sense of mercy counsels for the less harsh penalty, it may and
      should find that the mitigators outweigh the aggravators. Consistent with that, the jury should also have to be told that a
      finding that the aggravators outweigh the mitigators means the jury believes that death should be the defendant's penalty.
296   See Capano v. State, 889 A.2d 968, 978 (Del. 2006); Claudio v. State, 585 A.2d 1278, 1301 (Del. 1991).
297   See supra notes 27, 42 and accompanying text.
298   See Smith, supra note 48, at 244 (“More than four decades of social science research indicates that unanimous juries
      deliberate longer, discuss and debate the evidence more thoroughly, and are more tolerant and respectful of dissenting
      voices. Non-unanimous decision rules also tend to promote perilous racial dynamics.”); see also Zylstra, 1 S.C.L. (1 Bay)
      at 389 (“[W]hen the rights of the citizens are to be determined on by 12 men, changed at every Court, and indiscriminately
      drawn from every class of their fellow citizens, there will be a better chance generally, that the poor will receive an equal
      measure of justice with the rich, and that the decision of facts will be according to the truth of them.”).
299   The unanimity requirement has long been celebrated as an important protective safeguard for a defendant's rights,
      precisely because it makes every voice in the jury room of critical importance, and thereby has been seen as ensuring
      that the ultimate outcome is a good proxy for how the larger community would decide the matter if that were feasible. See
      Andres, 333 U.S. at 761–65, 68 S.Ct. 880 (Frankfurter, J., concurring). See generally JEFFREY ABRAMSON, WE, THE
      JURY (2004). For the obvious reason that eliminating the unanimity requirement reduces the importance of individual
      jurors and the incentive for the jury to deliberate in an inclusive manner because the agreement of every juror is no longer
      necessary to reach an outcome, it is unsurprising that scholars have developed empirical evidence that they believe
      demonstrates that non-unanimous jury statutes diminish the voice of minority jurors and produce results that seem to
      reflect greater racial bias. See, e.g., Kim Taylor–Thompson, Empty Votes in Jury Deliberations, 113 HARV. L. REV. 1261
      (2000); Robert J. Smith, The Geography of the Death Penalty and Its Ramifications, 92 B.U. L. REV. 227 (2012). Among
      those studies is one that noted that “Delaware has the highest death-sentencing rate in the country in black defendant/
      white victim cases.” Hans et al., supra note 36, at 72.
300   I acknowledge the odd cases of Apodaca v. Oregon, 406 U.S. 404, 92 S.Ct. 1628, 32 L.Ed.2d 184 (1972), and Johnson
      v. Louisiana, 406 U.S. 356, 92 S.Ct. 1620, 32 L.Ed.2d 152 (1972), in which the U.S. Supreme Court held that the Sixth
      Amendment applies differently to the federal government than to the states. That rationale, I confess, is not convincing to
      me, and I do not believe that the Supreme Court would allow a state to depart from unanimity in the death penalty context.
      See McDonald v. City of Chicago, 561 U.S. 742, 765, 130 S.Ct. 3020, 177 L.Ed.2d 894 (2010) (plurality) (“[I]ncorporated
      Bill of Rights protections ‘are all to be enforced against the States under the Fourteenth Amendment according to the
      same standards that protect those personal rights against federal enforcement.’ ”) (quoting Malloy v. Hogan, 378 U.S. 1,
      10, 84 S.Ct. 1489, 12 L.Ed.2d 653 (1964)); see also id. at 823, 130 S.Ct. 3020 (Thomas J., joining plurality opinion and
      concurring) (“Section 1 [of the Fourteenth Amendment] protects the rights of citizens ‘of the United States’ specifically.
      The evidence overwhelmingly demonstrates that the privileges and immunities of such citizens included individual rights
      enumerated in the Constitution....”).
301   See Linda E. Carter, A Beyond a Reasonable Doubt Standard in Death Penalty Proceedings: A Neglected Element of
      Fairness, 52 OHIO ST. L.J. 195, 204–05 (1991); Erik Lillquist, Absolute Certainty and the Death Penalty, 42 AM. CRIM.
      L. REV. 45, 47–53 (2005).
302   See supra notes 17–19 and accompanying text (jury's historical role in acquitting guilty defendants they believed should
      not suffer death when that was the penalty); supra notes 20–23 and accompanying text (degrees of murder and lesser
      included offenses arose in part to give the jury an option to convict a defendant of a lesser crime when guilty of a first
      degree murder for which death was the mandatory penalty, when they could not reach an agreement unanimously and
      beyond a reasonable doubt that death was the fitting punishment).




             	
 !                                              $%
            2:17-cr-20037-JES-JEH
	

             # 102       Page 116 of 122


303   See United States v. Gabrion, 648 F.3d 307, 325–26 (6th Cir. 2011), rev'd en banc, 719 F.3d 511 (6th Cir. 2013); Carter,
      supra note 301, at 215–21.
304   In so concluding, I acknowledge that post-Furman case law does not apply the beyond a reasonable doubt standard to
      the ultimate sentencing phase of a capital trial, and that this Court's own decision in State v. Cohen took that approach.
      See Cohen, 604 A.2d at 850–52. I also acknowledge that the U.S. Supreme Court has recently suggested that freighting
      a sentencing inquiry with a specific standard of review is inconsistent with the discretionary nature of sentencing. See
      Carr, 136 S.Ct. at 642. But, the reality is that American law has long required that certain decisions be made with a high
      level of confidence. In family law, for example, our state requires a determination that parental rights should be terminated
      to be made under a clear and convincing standard. See Barr v. Div. Fam. Servs., 974 A.2d 88, 94 (Del. 2009). And in
      the death penalty context itself, several states in fact sensibly direct that any death sentence be imposed only when the
      jury is convinced beyond a reasonable doubt that execution is the just sentence. See, e.g., ARK. CODE ANN. § 5–4–
      603 (West 2016); UTAH CODE ANN. § 76–3–207 (West 2016).
1     ––– U.S. ––––, 136 S.Ct. 616, 193 L.Ed.2d 504 (2016).
2     Id. at 619.
3     Rauf v. State, No. 39, 2016 (Del. Jan. 28, 2016) (ORDER).
4     Hurst, 136 S.Ct. at 619 (emphasis added).
5     530 U.S. 466, 120 S.Ct. 2348, 147 L.Ed.2d 435 (2000).
6     536 U.S. 584, 122 S.Ct. 2428, 153 L.Ed.2d 556 (2002).
7     Hurst, 136 S.Ct. at 621 (quoting Apprendi, 530 U.S. at 494, 120 S.Ct. 2348).
8     Id.
9     Id. at 622.
10    Id. (quoting Fla. Stat. § 775.082(1)).
11    ––– U.S. ––––, 136 S.Ct. 633, 193 L.Ed.2d 535 (2016).
12    Id. at 642.
13    468 U.S. 447, 104 S.Ct. 3154, 82 L.Ed.2d 340 (1984), overruled by Hurst v. Florida, ––– U.S. ––––, 136 S.Ct. 616, 193
      L.Ed.2d 504 (2016).
14    490 U.S. 638, 109 S.Ct. 2055, 104 L.Ed.2d 728 (1989), overruled by Hurst v. Florida, ––– U.S. ––––, 136 S.Ct. 616,
      193 L.Ed.2d 504 (2016).
15    Hurst, 136 S.Ct. at 624.
16    11 Del. C. § 4209(c).
17    11 Del. C. § 4209(c)(3)(b.1) (emphasis added).
18    Id. (emphasis added).
19    See id.; Hurst, 136 S.Ct. at 622.
20    11 Del. C. § 4209(d)(1).
21    Apprendi, 530 U.S. at 477, 120 S.Ct. 2348 (internal citations omitted).
22    406 U.S. 404, 92 S.Ct. 1628, 32 L.Ed.2d 184 (1972).
23    Johnson v. Louisiana, 406 U.S. 356, 369–80, 92 S.Ct. 1620, 32 L.Ed.2d 152 (1972) (Powell, J., concurring in the judgment
      in Apocada ).
24    See McDonald v. City of Chicago, 561 U.S. 742, 765–66, 766 n.14, 130 S.Ct. 3020, 177 L.Ed.2d 894 (2010).
25    Apprendi, 530 U.S. at 498, 120 S.Ct. 2348 (Scalia, J., concurring) (emphasis in original).
26    Claudio v. State, 585 A.2d 1278, 1290–1301 (Del. 1991) (discussing Delaware's history of jury trials and the requirement
      of a unanimous jury verdict pursuant to the right to a trial by jury); see also Capano v. State, 889 A.2d 968, 973 (Del. 2006)
      (vacating the defendant's death sentence because the defendant's “eligibility for the death penalty was decided by the
      sentencing judge without a unanimous jury finding,” and “[i]n Delaware, the elements of any criminal offense, including
      the greater offense of capital murder, must be found by a unanimous jury.”).
27    Hurst, 136 S.Ct. at 621 (quoting Alleyne v. United States, ––– U.S. ––––, 133 S.Ct. 2151, 186 L.Ed.2d 314 (2013)).
28    Ring, 536 U.S. at 610, 122 S.Ct. 2428 (Scalia, J., concurring).
29    Brice v. State, 815 A.2d 314, 322 (Del. 2003).
30    Id.
31    Hurst, 136 S.Ct. at 622.
32    Id. (internal quotations marks and alterations omitted). Accord 11 Del. C. § 4209(d)(1).



             	
 !                                              $&
            2:17-cr-20037-JES-JEH
	

            # 102       Page 117 of 122


33   Del. H.B. 287 syn., 142nd Gen. Assem., 74 Del. Laws ch. 174 (2003).
34   See Hurst, 136 S.Ct. at 622; 11 Del. C. § 4209.
35   815 A.2d 314 (Del. 2003).
36   Id. at 322.
37   Id.
38   Id. at 319.
39   Hurst, 136 S.Ct. at 624.
40   ––– U.S. ––––, 134 S.Ct. 405, 187 L.Ed.2d 449 (2013).
41   Id. at 406.
42   Id. at 410–11 (Sotomayor, J., dissenting).
43   Hurst, 136 S.Ct. at 619 (emphasis added).
44   Id. at 622.
1    ––– U.S. ––––, 136 S.Ct. 616, 193 L.Ed.2d 504 (2016).
2    536 U.S. 584, 122 S.Ct. 2428, 153 L.Ed.2d 556 (2002).
3    Hurst, 136 S.Ct. at 622.
4    Id. at 624.
5    Id. at 619.
6    Id. at 621–22. The Hurst Court summarized Ring as follows:
        In Ring, we concluded that Arizona's capital sentencing scheme violated Apprendi's rule because the State allowed a
        judge to find the facts necessary to sentence a defendant to death. An Arizona jury had convicted Timothy Ring of felony
        murder. Under state law, “Ring could not be sentenced to death, the statutory maximum penalty for first-degree murder,
        unless further findings were made.” Specifically, a judge could sentence Ring to death only after independently finding
        at least one aggravating circumstance. Ring's judge followed this procedure, found an aggravating circumstance, and
        sentenced Ring to death.
        The Court had little difficulty concluding that “ ‘the required finding of an aggravated circumstance exposed Ring to a
        greater punishment than that authorized by the jury's guilty verdict.’ ” Had Ring's judge not engaged in any factfinding,
        Ring would have received a life sentence. Ring's death sentence therefore violated his right to have a jury find the
        facts behind his punishment.
     Id. at 621 (internal citations omitted).
7    468 U.S. 447, 104 S.Ct. 3154, 82 L.Ed.2d 340 (1984), overruled in part by Hurst v. Florida, ––– U.S. ––––, 136 S.Ct.
     616, 193 L.Ed.2d 504 (2016).
8    490 U.S. 638, 109 S.Ct. 2055, 104 L.Ed.2d 728 (1989) (per curiam ), overruled in part by Hurst v. Florida, ––– U.S. ––––,
     136 S.Ct. 616, 193 L.Ed.2d 504 (2016).
9    Hurst, 136 S.Ct. at 623 (emphasis added).
10   Id. at 624 (emphasis added).
11   See id. at 619. The United States Supreme Court has made clear that the determination as to whether aggravating
     circumstances exist is “purely factual.” Kansas v. Carr, ––– U.S. ––––, 136 S.Ct. 633, 642, 193 L.Ed.2d 535 (2016).
12   Under 11 Del. C. § 4209, the sentencing judge cannot impose the sentence of death unless the jury “first finds unanimously
     and beyond a reasonable doubt the existence of at least 1 statutory aggravating circumstance....” 11 Del. C. § 4209(d)(1).
     However, if a jury finds unanimously and beyond a reasonable doubt the existence of at least one statutory aggravating
     circumstance, the court, “after considering the findings and recommendation of the jury and without hearing or reviewing
     any additional evidence, shall impose a sentence of death if the Court finds by a preponderance of the evidence” that
     the “aggravating circumstances found by the Court to exist outweigh the mitigating circumstances found by the Court to
     exist.” Id. (emphasis added). “Otherwise, the Court shall impose a sentence of imprisonment for the remainder of the
     defendant's natural life without benefit of probation or parole or any other reduction.” 11 Del. C. § 4209(d)(2).
13   75 A.3d 840 (Del. 2013).
14   869 A.2d 285 (Del. 2005), cert. denied, 546 U.S. 832, 126 S.Ct. 55, 163 L.Ed.2d 84 (2005).
15   See Ploof, 75 A.3d at 846 n.12 (citing Ortiz, 869 A.2d 285) (“[A] jury's lack of unanimity regarding [a] statutory aggravating
     factor ... does not preclude the sentencing judge from considering such evidence as a non[-]statutory aggravating factor
     as part of his weighing calculus.”). As recounted by the Ploof Court, Ortiz “affirmed the imposition of the death penalty
     after a jury, having considered two statutory aggravating factors, unanimously found that the defendant was previously
     convicted of a violent felony, but found only by a vote of 9–3 the circumstance of premeditation and substantial planning.


            	
 !                                              $	
            2:17-cr-20037-JES-JEH
	

              # 102      Page 118 of 122


     Although it was not entitled to qualify as a statutory aggravating factor, the trial court found that sufficient evidence existed
     of premeditation and substantial planning to warrant its use as a non[-]statutory aggravating factor.” Id. (internal citations
     omitted). The Superior Court also found seven additional non-statutory aggravating factors in Ortiz. Ortiz, 869 A.2d at
     308–09.
16   Apprendi v. New Jersey, 530 U.S. 466, 494 n.19, 120 S.Ct. 2348, 147 L.Ed.2d 435 (2000); see also Ring, 536 U.S. at
     609, 122 S.Ct. 2428 (citing Apprendi, 530 U.S. at 494 n.19, 120 S.Ct. 2348) (“Because Arizona's enumerated aggravating
     factors operate as ‘the functional equivalent of an element of a greater offense,’ the Sixth Amendment requires that they
     be found by a jury.” (internal citation omitted)).
17   Hurst, 136 S.Ct. at 621; see also Ring, 536 U.S. at 589, 122 S.Ct. 2428 (“Capital defendants, no less than noncapital
     defendants, we conclude, are entitled to a jury determination of any fact on which the legislature conditions an increase
     in their maximum punishment.”); id. at 610, 122 S.Ct. 2428 (Scalia, J., concurring) (“[T]he fundamental meaning of the
     jury-trial guarantee of the Sixth Amendment is that all facts essential to imposition of the level of punishment that the
     defendant receives—whether the statute calls them elements of the offense, sentencing factors, or Mary Jane—must be
     found by the jury beyond a reasonable doubt.”); Apprendi, 530 U.S. at 494, 120 S.Ct. 2348; id. at 499, 120 S.Ct. 2348
     (Scalia, J., concurring) (“And the guarantee that ‘[i]n all criminal prosecutions, the accused shall enjoy the right to ... trial,
     by an impartial jury,’ has no intelligible content unless it means that all the facts which must exist in order to subject the
     defendant to a legally prescribed punishment must be found by the jury.” (emphasis in original) (alterations in original)).
18   Hurst, 136 S.Ct. at 624.
19   See 11 Del. C. § 4209(d)(1)-(2).
20   Hurst, 136 S.Ct. at 619; see also id. at 624 (“The Sixth Amendment protects a defendant's right to an impartial jury.
     This right required Florida to base Timothy Hurst's death sentence on a jury's verdict, not a judge's factfinding. Florida's
     sentencing scheme, which required the judge alone to find the existence of an aggravating circumstance, is therefore
     unconstitutional.”).
21   530 U.S. 466, 120 S.Ct. 2348, 147 L.Ed.2d 435 (2000).
22   Id. at 490, 120 S.Ct. 2348.
23   542 U.S. 296, 124 S.Ct. 2531, 159 L.Ed.2d 403 (2004).
24   Id. at 303, 124 S.Ct. 2531 (citing Ring, 536 U.S. at 602, 122 S.Ct. 2428 (“ ‘[T]he maximum he would receive if punished
     according to the facts reflected in the jury verdict alone.’ ”)) (emphasis in original) (citations omitted).
25   Id. at 304, 124 S.Ct. 2531 (internal citation omitted).
26   Id.
27   ––– U.S. ––––, 133 S.Ct. 2151, 186 L.Ed.2d 314 (2013).
28   536 U.S. 545, 122 S.Ct. 2406, 153 L.Ed.2d 524 (2002). In Harris, the defendant was charged with carrying a firearm in
     the course of committing a drug trafficking crime. Under 18 U.S.C. § 924, the mandatory minimum sentence based on the
     jury's verdict alone was five years. The United States District Court for the Middle District of North Carolina nonetheless
     imposed a seven-year mandatory minimum sentence on the defendant, based on its finding that the defendant brandished
     the firearm. On appeal to the United States Supreme Court, the defendant unsuccessfully challenged the imposed
     mandatory minimum sentence as unconstitutional under Apprendi.
29   Alleyne, 133 S.Ct. at 2157 (quoting Harris, 536 U.S. at 557, 560–61, 567, 122 S.Ct. 2406) (internal citations omitted)
     (internal quotation marks omitted).
30   Id. at 2155 (quoting 18 U.S.C. § 924(c)(1)(A)) (internal quotation marks omitted).
31   The Alleyne Court was careful to point out that their ruling “does not mean that any fact that influences judicial discretion
     must be found by a jury,” since the Supreme Court has “long recognized that broad sentencing discretion, informed by
     judicial factfinding, does not violate the Sixth Amendment.” Id. at 2163 (citing Dillon v. United States, 560 U.S. 817, 828–
     29, 130 S.Ct. 2683, 177 L.Ed.2d 271 (2010) (“[W]ithin established limits[,] ... the exercise of [sentencing] discretion does
     not contravene the Sixth Amendment even if it is informed by judge-found facts.” (alterations in Alleyne )); Apprendi, 530
     U.S. at 481, 120 S.Ct. 2348 (“[N]othing in this history suggests that it is impermissible for judges to exercise discretion—
     taking into consideration various factors relating both to offense and offender—in imposing a judgment within the range
     prescribed by statute.” (alteration in Alleyne ) (emphasis in original)) (citations omitted)).
32   Id. at 2161 (internal citations omitted).
33   Id. at 2162; see also id. at 2162–63 (“The essential point is that the aggravating fact produced a higher range, which, in
     turn, conclusively indicates that the fact is an element of a distinct and aggravated crime. It must, therefore, be submitted
     to the jury and found beyond a reasonable doubt.”).




            	
 !                                                  $'
            2:17-cr-20037-JES-JEH
	

             # 102       Page 119 of 122


34   Id. at 2162 (citations omitted); see also Blakely, 542 U.S. at 303–04, 124 S.Ct. 2531 (“[T]he relevant ‘statutory maximum,’
     is not the maximum sentence a judge may impose after finding additional facts, but the maximum he may impose without
     any additional findings.” (emphasis in original)).
35   See Alleyne, 133 S.Ct. at 2165 (Sotomayor, J., concurring) (observing that Apprendi's “rule has become even more firmly
     rooted in the Court's Sixth Amendment jurisprudence in the decade since Harris”).
36   815 A.2d 314 (Del. 2003).
37   Id. at 322.
38   Hurst, 136 S.Ct. at 624; see also id. at 619 (“The Sixth Amendment requires a jury, not a judge, to find each fact necessary
     to impose a sentence of death.” (emphasis added)); id. at 622 (“Ring required a jury to find every fact necessary to render
     [a defendant] eligible for the death penalty.” (emphasis added)).
39   See supra note 12.
40   Hurst, 136 S.Ct. at 623 (observing that “in the Apprendi context, we have found that ‘stare decisis does not compel
     adherence to a decision whose “underpinnings” have been “eroded” by subsequent developments of constitutional law’
     ” (internal citations omitted)) (internal quotation marks omitted); compare id. at 624 (holding that a judge cannot find an
     aggravating circumstance, independent of a jury, that is necessary to impose the death penalty), with Brice, 815 A.2d at
     322 (“Non-statutory aggravators, if considered at all, do not enter the mix until after the jury performs its essential function
     during the narrowing phase. Accordingly, a finding of non-statutory factors does not ‘increase’ the maximum penalty that
     a defendant can receive. Rather, non-statutory aggravators are part of the total mix, including mitigating factors, when
     the sentencing judge performs his function during the weighing phase.”).
41   See Claudio v. State, 585 A.2d 1278, 1301 (Del. 1991) (citing Fountain v. State, 275 A.2d 251 (Del. 1971)) (“This Court
     has expressly held that under the Delaware Constitution, unanimity of the jurors is required to reach a verdict since such
     was the common law rule.” (footnote omitted)).
42   406 U.S. 404, 92 S.Ct. 1628, 32 L.Ed.2d 184 (1972).
43   See Johnson v. Louisiana, 406 U.S. 366, 369–75, 92 S.Ct. 1635, 32 L.Ed.2d 162 (1972) (Powell, J., concurring in the
     Apodaca judgment and concurring in Johnson); see also McDonald v. City of Chicago, 561 U.S. 742, 766 n.14, 130 S.Ct.
     3020, 177 L.Ed.2d 894 (2010) (citing Apodaca, 406 U.S. 404, 92 S.Ct. 1628, 32 L.Ed.2d 184; Johnson, 406 U.S. 356,
     92 S.Ct. 1620, 32 L.Ed.2d 152 (holding that the Due Process Clause does not require unanimous jury verdicts in state
     criminal trials)); Jordan v. Massachusetts, 225 U.S. 167, 176, 32 S.Ct. 651, 56 L.Ed. 1038 (1912) (“In criminal cases
     due process of law is not denied by a state law ... which dispenses with the necessity of a jury of twelve, or unanimity
     in the verdict.”).
44   Apodaca, 406 U.S. at 411, 92 S.Ct. 1628 (joint opinion of White, J., Burger, C.J., Blackmun and Rehnquist, JJ.).
45   Id.
46   561 U.S. 742, 130 S.Ct. 3020, 177 L.Ed.2d 894 (2010).
47   Id. at 766 n.14, 130 S.Ct. 3020 (internal citations omitted).
48   Id.; see also Richardson v. United States, 526 U.S. 813, 821, 119 S.Ct. 1707, 143 L.Ed.2d 985 (1999) (“The cases are
     not federal but state, where this Court has not held that the Constitution imposes a jury-unanimity requirement.” (citation
     omitted)).
49   See Brief for Petitioner at 45–47, Hurst v. Florida, ––– U.S. ––––, 136 S.Ct. 616, 193 L.Ed.2d 504 (2016) (No. 14–7505),
     2015 WL 3523406.
50   This Court has provided that “it is untenable to conclude that the right to trial by jury in the Delaware Constitution means
     exactly the same thing as that right in the United States Constitution.” Claudio, 585 A.2d at 1298 (citation omitted).
     Delaware law has long recognized the significance of juror unanimity in criminal proceedings. See Wilson v. Oldfield, 1
     Del.Cas. 622, 624–27 (Del. Com. Pl. 1818). This Court, in Fountain v. State, 275 A.2d 251 (Del. 1971), re-affirmed that
     it is “fundamental under our law that the verdict of a jury must be unanimous.” Id. at 251. There, we recognized that the
     requirement of juror unanimity under Delaware law follows from Article I, § 4 of the Delaware Constitution, which provides:
     “Trial by jury shall be as heretofore.” Del. Const. art. I, § 4. Fountain thus interpreted Article I, § 4 to “guarantee[ ] the
     right to trial by jury as it existed at common law.” Fountain, 275 A.2d at 251 (citing Nance v. Rees, 161 A.2d 795 (Del.
     1960)). Accordingly, “[t]his Court and the other courts of Delaware have always construed that provision in the Delaware
     Constitution as ‘guaranteeing the right to trial by jury as it existed at common law.’ ” Claudio, 585 A.2d at 1297 (quoting
     Fountain, 275 A.2d at 251) (emphasis removed). “Unanimity of the jurors is therefore required to reach a verdict since
     such was the common law rule.” Fountain, 275 A.2d at 251 (citation omitted).
51   Ring, 536 U.S. at 602, 122 S.Ct. 2428 (citing Apprendi, 530 U.S. at 482–83, 120 S.Ct. 2348).




            	
 !                                                %
            2:17-cr-20037-JES-JEH
	

             # 102      Page 120 of 122


52   Hurst, 136 S.Ct. at 621 (quoting Apprendi, 530 U.S. at 494, 120 S.Ct. 2348) (alterations in Hurst and added).
53   Carr, 136 S.Ct. at 642.
54   See Ring, 536 U.S. at 602, 122 S.Ct. 2428 (quoting Apprendi, 530 U.S. at 483, 120 S.Ct. 2348) (internal quotation marks
     omitted).
55   Spaziano, 468 U.S. at 464, 104 S.Ct. 3154.
56   Compare Hurst, 136 S.Ct. at 624 (“Time and subsequent cases have washed away the logic of Spaziano and Hildwin. The
     decisions are overruled to the extent they allow a sentencing judge to find an aggravating circumstance, independent of a
     jury's factfinding, that is necessary for imposition of the death penalty.”), with Ring, 536 U.S. at 609, 122 S.Ct. 2428 (“[W]e
     overrule Walton to the extent that it allows a sentencing judge, sitting without a jury, to find an aggravating circumstance
     necessary for imposition of the death penalty.” (citation omitted)).
57   ––– U.S. ––––, 134 S.Ct. 405, 410–11, 187 L.Ed.2d 449 (2013) (Sotomayor, J., dissenting from denial of certiorari ).
58   Id. (emphasis added) (internal citations omitted).
59   Libretti v. United States, 516 U.S. 29, 49, 116 S.Ct. 356, 133 L.Ed.2d 271 (1995) (citing Spaziano, 468 U.S. at 459, 104
     S.Ct. 3154 (no right to a jury determination as to the imposition of the death penalty)) (citations omitted); see also Morgan
     v. Illinois, 504 U.S. 719, 725–26, 112 S.Ct. 2222, 119 L.Ed.2d 492 (1992) (“We have emphasized previously that there
     is not ‘any one right way for a State to set up its capital sentencing scheme,’ and that no State is constitutionally required
     by the Sixth Amendment or otherwise to provide for jury determination of whether the death penalty shall be imposed
     on a capital defendant.” (internal citations omitted)); id. at 740, 112 S.Ct. 2222 (Scalia, J., dissenting) (citing Clemons v.
     Mississippi, 494 U.S. 738, 745–46, 110 S.Ct. 1441, 108 L.Ed.2d 725 (1990); Spaziano, 468 U.S. at 464, 104 S.Ct. 3154
     (citations omitted)) (“The Court today reaffirms our oft-repeated holding that the Sixth Amendment (which is binding on
     the States through the Fourteenth Amendment) does not require a jury trial at the sentencing phase of a capital case.”).
60   Spaziano, 468 U.S. at 459, 104 S.Ct. 3154 (citations omitted).
61   Id. at 462–63, 104 S.Ct. 3154 (footnote omitted).
62   Ring, 536 U.S. at 612–13, 122 S.Ct. 2428 (Scalia, J., concurring).
63   Various concurring and dissenting opinions have expressed support for jury sentencing in capital cases, but, to date,
     jury sentencing has not garnered majority support on the United States Supreme Court. See, e.g., Hurst, 136 S.Ct. at
     624 (Breyer, J., concurring in the judgment) (quoting Ring, 536 U.S. at 614, 122 S.Ct. 2428 (Breyer, J., concurring in
     the judgment)) (“[T]he Eighth Amendment requires that a jury, not a judge, make the decision to sentence a defendant
     to death.” (internal quotation marks omitted)); Woodward, 134 S.Ct. at 407 (Sotomayor, J., dissenting from denial of
     certiorari) (“One such safeguard, as determined by the vast majority of States, is that a jury, and not a judge, should impose
     any sentence of death.” (footnote omitted)); see also id. at 407 n.2 (“It is perhaps unsurprising that the national consensus
     has moved towards a capital sentencing scheme in which the jury is responsible for imposing capital punishment. Because
     capital punishment is an expression of society's moral outrage at particularly offensive conduct, jurors, who express
     the conscience of the community on the ultimate question of life or death, seem best-positioned to decide whether the
     need for retribution in a particular case mandates imposition of the death penalty.” (internal citations omitted) (internal
     quotation marks omitted)).
64   Hurst, 136 S.Ct. at 623–24.
65   Ring, 536 U.S. at 597 n.4, 122 S.Ct. 2428 (citing Proffitt v. Florida, 428 U.S. 242, 252, 96 S.Ct. 2960, 49 L.Ed.2d 913
     (1976) (plurality opinion) (“[I]t has never [been] suggested that jury sentencing is constitutionally required.” (alterations
     in Ring ))).
66   428 U.S. 242, 96 S.Ct. 2960, 49 L.Ed.2d 913 (1976) (plurality opinion).
67   See id. at 252, 96 S.Ct. 2960 (joint opinion of Powell, Stewart, Stevens, JJ.) (“And it would appear that judicial sentencing
     should lead, if anything, to even greater consistency in the imposition at the trial court level of capital punishment, since
     a trial judge is more experienced in sentencing than a jury, and therefore is better able to impose sentences similar to
     those imposed in analogous cases.” (citations omitted)).
68   Id. (citing Witherspoon v. Illinois, 391 U.S. 510, 519 n.15, 88 S.Ct. 1770, 20 L.Ed.2d 776 (1968)) (emphasis added).
69   See, e.g., Clemons, 494 U.S. at 745, 110 S.Ct. 1441 (“Any argument that the Constitution requires that a jury impose the
     sentence of death ... has been soundly rejected by prior decisions of this Court.”); id. (“[T]he decision whether a particular
     punishment—even the death penalty—is appropriate in any given case is not one that we have ever required to be made
     by a jury.” (citation omitted) (internal quotation marks omitted)).
70   Hurst, 136 S.Ct. at 624 (Breyer, J., concurring in the judgment) (quoting Ring, 536 U.S. at 614, 122 S.Ct. 2428 (Breyer,
     J., concurring in the judgment)) (internal citations omitted).



            	
 !                                               %
            2:17-cr-20037-JES-JEH
	

             # 102       Page 121 of 122


71   Indeed, the Supremacy Clause of Article VI of the United States Constitution makes clear that federal constitutional
     rights supersede any contrary State laws: “This Constitution, and the Laws of the United States which shall be made in
     Pursuance thereof; and all Treaties made, or which shall be made, under the Authority of the United States, shall be the
     supreme Law of the Land; and the Judges in every State shall be bound thereby, any Thing in the Constitution or Laws
     of any State to the Contrary notwithstanding.” U.S. Const. art. VI, cl. 2.
72   A requirement of such clarity before mandating State officials to alter their statutory schemes exists, relatedly, in other
     contexts, such as addressing ambiguities in federal statutes. See Bond v. United States, ––– U.S. ––––, 134 S.Ct. 2077,
     2089, 189 L.Ed.2d 1 (2014) (referring to the established principle that “it is incumbent upon the federal courts to be certain
     of Congress' intent before finding that federal law overrides the usual constitutional balance of federal and state powers,”
     and observing that “if the Federal Government would radically readjust[ ] the balance of state and national authority, those
     charged with the duty of legislating [must be] reasonably explicit” (internal citations omitted) (internal quotation marks
     omitted) (alterations in original)). Writing for the Court in Bond v. United States, Chief Justice Roberts commented that
     “[b]ecause our constitutional structure leaves local criminal activity primarily to the States, we have generally declined
     to read federal law as intruding on that responsibility, unless Congress has clearly indicated that the law should have
     such reach.” Id. at 2083; cf. Pennhurst State Sch. & Hosp. v. Halderman, 451 U.S. 1, 17, 101 S.Ct. 1531, 67 L.Ed.2d 694
     (1981) (“By insisting that Congress speak with a clear voice, we enable the States to exercise their choice knowingly,
     cognizant of the consequences of their participation [in a grant of federal funds].”). Accordingly, although it is “the province
     and duty of the judicial department to say what the law is,” Marbury v. Madison, 5 U.S. (1 Cranch) 137, 177, 2 L.Ed. 60
     (1803), I reject the more expansive interpretation of Hurst that three of my distinguished colleagues gave it.
73   S.B. 79, 136th Gen. Assemb., 2d Sp. Sess., 68 Del. Laws ch. 189 (Del. 1991) (citing Proffitt, 428 U.S. at 260, 96 S.Ct.
     2960 (White, J., concurring in the judgment) (“Under Florida law, the sentencing judge is [r]equired to impose the death
     penalty on all first-degree murderers as to whom the statutory aggravating factors outweigh the mitigating factors.”))
     (citation omitted); see also H.B. 287, 142nd Gen. Assemb., 1st Reg. Sess., 74 Del. Laws ch. 174 (Del. 2003) (“In 1991,
     the 136th General Assembly changed Delaware's death penalty statute so that the final sentencing authority in such
     cases was vested with the trial judge. [The synopsis to the 1991 amendment] clearly stated that the intent of the bill was
     to ensure that the judge would ‘make the final determination as to whether a person convicted of first degree murder
     should be sentenced to death or life imprisonment.’ ”); id. (“[This Act] will clarify that it is and has been the intent of
     the General Assembly that while the sentencing judge must consider a jury's recommended finding on the question of
     whether the aggravating circumstances found to exist outweigh the mitigating circumstances found to exist, he or she
     shall not be bound by the recommendation, but instead shall give it such weight as he or she deems appropriate under
     the circumstances present in a given case.”).
74   S.B. 449, 141st Gen. Assemb., 2d Reg. Sess., 73 Del. Laws ch. 423 (Del. 2002) (“This Act will conform Delaware's death
     penalty sentencing procedures to the new rule announced by the United States Supreme Court in Ring v. Arizona.” (italics
     added)).
75   H.B. 287, 142nd Gen. Assemb., 1st Reg. Sess., 74 Del. Laws ch. 174 (Del. 2003).
76   Id.
77   Cf. 1 Del. C. § 308 (“If any provision of this Code or amendments hereto, or the application thereof to any person, thing or
     circumstances is held invalid, such invalidity shall not affect the provisions or application of this Code or such amendments
     that can be given effect without the invalid provisions or application, and to this end the provisions of this Code and such
     amendments are declared to be severable.”).
78   ––– U.S. ––––, 135 S.Ct. 2726, 192 L.Ed.2d 761 (2015).
79   Id. at 2739 (citing Baze v. Rees, 553 U.S. 35, 47, 128 S.Ct. 1520, 170 L.Ed.2d 420 (2008); id. at 87–88, 128 S.Ct. 1520
     (Scalia, J., concurring in judgment); Gregg v. Georgia, 428 U.S. 153, 187, 96 S.Ct. 2909, 49 L.Ed.2d 859 (1976) (joint
     opinion of Stewart, Powell, and Stevens, JJ.); id. at 226, 96 S.Ct. 2909 (White, J., concurring in judgment); Louisiana ex
     rel. Francis v. Resweber, 329 U.S. 459, 464, 67 S.Ct. 374, 91 L.Ed. 422 (1947); In re Kemmler, 136 U.S. 436, 447, 10
     S.Ct. 930, 34 L.Ed. 519 (1890); Wilkerson v. Utah, 99 U.S. 130, 134–35, 25 L.Ed. 345 (1878)).
80   U.S. Const. amend. V (“No person shall ... be deprived of life ... without due process of law....”); see also Glossip, 135 S.Ct.
     at 2747 (Scalia, J., concurring) (“Mind you, not once in the history of the American Republic has this Court ever suggested
     the death penalty is categorically impermissible. The reason is obvious: It is impossible to hold unconstitutional that which
     the Constitution explicitly contemplates. The Fifth Amendment provides that ‘[n]o person shall be held to answer for a
     capital ... crime, unless on a presentment or indictment of a Grand Jury,’ and that no person shall be ‘deprived of life ...
     without due process of law.’ ” (emphasis in original) (alterations in Glossip )).
81   501 U.S. 624, 111 S.Ct. 2491, 115 L.Ed.2d 555 (1991) (plurality opinion).



            	
 !                                                %
            2:17-cr-20037-JES-JEH
	

            # 102         Page 122 of 122


82   Id. at 638, 111 S.Ct. 2491 (citation omitted) (internal quotation marks omitted).
83   Id. (quoting Patterson v. New York, 432 U.S. 197, 201, 97 S.Ct. 2319, 53 L.Ed.2d 281 (1977)) (internal quotation marks
     omitted).
84   Kirksey v. Alabama, ––– U.S. ––––, 136 S.Ct. 2409, 195 L.Ed.2d 777 (2016); Wimbley v. Alabama, ––– U.S. ––––, 136
     S.Ct. 2387, 195 L.Ed.2d 760 (2016); Johnson v. Alabama, ––– U.S. ––––, 136 S.Ct. 1837, 194 L.Ed.2d 828 (2016).
85   Glossip, 135 S.Ct. at 2749–50 (Scalia, J., concurring).
1    ––– U.S. ––––, 136 S.Ct. 616, 616, 193 L.Ed.2d 504 (Jan. 12, 2016).
2    530 U.S. 466, 466, 120 S.Ct. 2348, 147 L.Ed.2d 435 (2000).
3    536 U.S. 584, 584, 122 S.Ct. 2428, 153 L.Ed.2d 556 (2002).
4    Apprendi, 530 U.S. at 490, 120 S.Ct. 2348.
5    Ring, 536 U.S. at 596, 122 S.Ct. 2428.
6    Id. at 592, 122 S.Ct. 2428.
7    Id. at 593, 122 S.Ct. 2428 (quoting Ariz. Rev. Stat. Ann. § 13–703(F) (2001)).
8    Id. at 597, 122 S.Ct. 2428 (quoting State v. Ring, 200 Ariz. 267, 25 P.3d 1139, 1151 (2001) (en banc )).
9    Id.
10   Id. at 589, 122 S.Ct. 2428.
11   497 U.S. 639, 639, 110 S.Ct. 3047, 111 L.Ed.2d 511 (1990).
12   Ring, 536 U.S. at 609, 122 S.Ct. 2428.
13   Id. at 612, 122 S.Ct. 2428 (Scalia, J., concurring).
14   815 A.2d 314, 314 (Del. 2003).
15   Ring, 536 U.S. at 589, 122 S.Ct. 2428.
16   Hurst, 136 S.Ct. at 620.
17   490 U.S. 638, 638, 109 S.Ct. 2055, 104 L.Ed.2d 728 (1989).
18   468 U.S. 447, 447, 104 S.Ct. 3154, 82 L.Ed.2d 340 (1968).
19   Hurst, 136 S.Ct. at 619.
20   Id. at 621–22.
21   Id. at 620–21 (citations omitted).
22   Id. at 622 (internal quotation marks omitted).
23   Hurst v. Florida, ––– U.S. ––––, 135 S.Ct. 1531, 1531, 191 L.Ed.2d 558 (2015).
24   Hildwin, 490 U.S. at 640–41, 109 S.Ct. 2055.
25   Brief of Petitioner at 25, Hurst v. Florida, ––– U.S. ––––, 136 S.Ct. 616, 193 L.Ed.2d 504 (2016) (No. 14–7505), 2015
     WL 3542784 at *25.
26   Id.
27   Transcript of Oral Argument at 3, Hurst v. Florida, ––– U.S. ––––, 136 S.Ct. 616, 193 L.Ed.2d 504 (2016) (No. 14–7505),
     2015 WL 5970064, at *3.
28   Id. at *4.
29   Id. at *12.
30   See Kirksey v. Alabama, ––– U.S. ––––, 136 S.Ct. 2409, 195 L.Ed.2d 777 (2016); Wimbley v. Alabama, ––– U.S. ––––,
     136 S.Ct. 2387, 195 L.Ed.2d 760 (2016); Johnson v. Alabama, ––– U.S. ––––, 136 S.Ct. 1837, 1837, 194 L.Ed.2d 828
     (2016).
31   Ex parte McGriff, 908 So.2d 1024, 1037–39 (Ala. 2004).
32   Id. at 1038.
33   2016 WL 3364689 (Ala. Crim. App. June 17, 2016).
34   Id. at *6.
35   Id. at *13.
36   Woodward v. Alabama, ––– U.S. ––––, 134 S.Ct. 405, 410–11, 187 L.Ed.2d 449 (2013).


End of Document                                               © 2018 Thomson Reuters. No claim to original U.S. Government Works.




             	
 !                                            %"
